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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

HEALTH REPUBLIC INSURANCE
COMPANY
          Plaintiff,
          on behalf of itself and all others   No. 1:16-cv-00259-MMS
          similarly situated,                  (Judge Sweeney)
         v.
                                               ORAL ARGUMENT REQUESTED
THE UNITED STATES OF AMERICA
          Defendant.


OPPOSITION AND OBJECTION TO CLASS COUNSEL’S MOTION FOR APPROVAL
                   OF ATTORNEY’S FEE REQUEST




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         The undersigned members of the Health Republic and Common Ground classes

(“Objecting Class Members”)1 submit this opposition and objection to Quinn Emanuel’s motion

for approval of attorney’s fees.

I.       Introduction

         Objecting Class Members oppose Quinn Emanuel’s request for over $184 million in fees.

Objecting Class Members agree that Quinn Emanuel should be compensated handsomely for the

two class actions, both of which raised the issues ultimately won by other firms in the Maine

Community Health Options v. United States, 140 S. Ct. 1308 (2020) case. But the amount Quinn

Emanuel seeks—which would result in hourly rates of over $18,000 per attorney and a

multiplier of more than 18—is simply too high, not grounded in precedent, unsupported by

adequate evidence, and contrary to the representations Quinn Emanuel made to class members to

encourage them to join the class.

         First, Quinn Emanuel made important representations in the Court-approved class notice

it sent to putative class members when it sought to increase class participation. Specifically, it

stated that: (i) any fee would be constrained by a “lodestar cross-check (i.e., a limitation on class

counsel fees based on the number of hours actually worked on the case)”; (ii) the worst-case

scenario would be 5% of the total recovery; and (iii) “the fee may be substantially less than 5%

depending upon the level of class participation.” The fee motion now eschews each of these

assurances. It downplays the promised lodestar cross-check, claiming a cross-check is not really

necessary or useful and the Court should not feel constrained by one. Indeed, Quinn Emanuel

does not even provide billing records needed to calculate an appropriate lodestar. The motion

also incorrectly suggests that 5% was not just a cap but an agreed-upon rate, citing alleged side

conversations with a small and unidentified portion of the classes’ 283 members. And while it

touts the class participation as “by orders of magnitude the largest” of all risk corridors cases, it



1
  The 34 specific class members submitting this opposition/objection are identified on the
signature block.

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does not acknowledge that this is precisely the level of participation that, according to the class

notice, should result in a fee of “substantially less than 5%.”

         Second, the cases Quinn Emanuel relies on do not support its fee request. While the firm

emphasizes that some cases have approved fee awards amounting to more than 5%, it fails to

mention that the courts only made the percentage awards after performing lodestar cross-checks

and finding low lodestar multipliers—in several cases below 1. The authorities Quinn Emanuel

cites to support an unprecedented multiplier of more than 18 are similarly inapplicable. In fact,

one case did not involve a lodestar at all, but an inquiry into whether a fixed fee agreement was

unethical. Unlike the astronomical one Quinn Emanuel seeks here, lodestar multipliers are

generally below 2, even in hard-fought cases, dealing with complex subject matter, and pursued

by excellent counsel.

         Third, the fee request aggrandizes Quinn Emanuel’s role without appropriately crediting

the huge roles played by others while Health Republic and Common Ground were stayed. This

includes the six well-regarded law firms that represented the petitioners in Maine Community

Health Options, and the several dozen others that submitted amicus briefs that were potentially

helpful to the Federal Circuit and Supreme Court’s consideration and resolution of the case.

Quinn Emanuel similarly fails to acknowledge that this case turned on purely legal issues, did

not require significant fact discovery, and did not require a fight over class certification.

         Under decades of class action fee award authority, a fair, legally justifiable, and generous

fee award would be $8.828 million. This sum results from an appropriate adjustment to the

number of hours Quinn Emanuel claims to have billed to this matter (because it chose not to

provide any billing entries), reasonable hourly rates based on the Laffey matrix (which is

regularly applied to hourly rates of large law firms, including Quinn Emanuel), and a multiplier

of 2, which Quinn Emanuel’s own expert has acknowledged to be above-average. This sum

would also appropriately account for the representations Quinn Emanuel made to class members

to induce them to join the class and would richly compensate the firm for its role in the case.



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II.      Background

A.       The risk corridors program

         To induce health plans’ participation in “Health Benefit Exchanges” meant to make

health coverage more broadly available, the Affordable Care Act established the risk corridors

program, which provided for reimbursements to health plans that suffered losses in the

exchanges. 77 Fed. Reg. 17,220, 17,220 (Mar. 23, 2012); 42 U.S.C. § 18062(b). But after the

program began, Congress included an appropriations rider forbidding the Department of Health

and Human Services (HHS) from adequately funding it. See Pub. L. No. 113–235, § 227, 128

Stat. 2130, 2491 (2014). Right away, entities involved with the exchanges highlighted the

negative consequences that would come if the government did not follow through on its statutory

promise to make risk corridors payments. See, e.g., Ex. 1, Comment by America’s Health

Insurance Plans (AHIP), 5 (April 21, 2014) (explaining that changing the rules of the risk

corridors program would be unfair and could lead to market disruption).2 Thus, this concern was
central to the dispute since at least 2014—well before this case began. Prompted by comments

like these, HHS repeatedly acknowledged its statutory obligation to make full risk corridors

payments, even if it caused a program deficit. See, e.g., 78 Fed. Reg. 15,410, 15,473 (2013); 79

Fed. Reg. 30,240, 30,260 (2014). HHS never followed through on its obligation to make these

payments.

B.       History of the Health Republic and Common Ground cases

         In February 2016, Quinn Emanuel filed the complaint in Health Republic Insurance

Company v. United States, 1:16-cv-259, challenging the government’s failure to make risk

corridors payments. Other prominent law firms and health plans were also involved with the



2
   See also Ex. 2, Comment by BlueCross BlueShield Association, 21 (April 21, 2014)
(“Potential QHP issuers need to be able to evaluate the parameters of the program and have
confidence that the program will make payments and assess charges according to the published
parameters before making their decision to participate in the marketplaces. Implementing the
risk corridors program in a budget-neutral manner is a reversal from the position that CMS took
last year in the 2014 Benefit and Payment Parameter final rule.”).

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issue during the same period, and these firms brought several other separate lawsuits in early to

mid-2016 challenging the government’s nonpayment. See, e.g., First Priority Life Ins. Co. v.

United States, 1:16-cv-587; Moda Health Plan, Inc. v. United States, 1:16-cv-649; Blue Cross &

Blue Shield of N.C. v. United States, 16-cv-651; Land of Lincoln Mut. Health Ins. Co. v. United

States, 16-cv-744; Me. Cmty. Health Options v. United States, 16-cv-967. A year later, in June

2017, Quinn Emanuel filed a parallel complaint in Common Ground Healthcare Coop. v. United

States, 1:17-cv-877. The lawsuits were brought under the Tucker Act, the statute that waives

sovereign immunity for claims against the United States based on a federal statute, like the

Affordable Care Act provisions here. 28 U.S.C. § 1491(a)(1).

         After the Court denied the government’s motion to dismiss, in response to unopposed

class certification motions by Quinn Emanuel, in early 2017, the Court appointed the firm as

class counsel, appointed Health Republic as class representative, and certified the class as an opt-

in class. 1:16-cv-259, Dkt. No. 30 (Jan. 3, 2017). After certification, Quinn Emanuel sent a

notice to prospective class members. In the notice, to induce health plans to join the class, Quinn

Emanuel made several important affirmative representations. First, it represented that 5% of the

class recovery was the absolute highest it might ultimately seek. Dkt. No. 50-1. Second, it

represented that “[t]he fee may be substantially less than 5% depending upon the level of class

participation represented by the final membership of the [class].” Id. Third, Quinn Emanuel also

reassured prospective class members that its fees “will be determined by the Court subject to . . .

what is called a ‘lodestar cross-check’ (i.e., a limitation on class counsel fees based on the

number of hours actually worked on the case).” Id.

         Just a few months after class certification, the nature of Quinn Emanuel’s role

transformed because this case was stayed pending the outcome of other cases, which other

counsel pursued. The first risk corridors case to reach summary judgment was Moda Health

Plan, Inc. v. United States, 130 Fed. Cl. 436 (2017). Covington & Burling represented the

plaintiff in that case. In February 2017, the Moda Court (Judge Wheeler) granted plaintiff’s

motion for summary judgment, concluding that “[t]here is no genuine dispute that the

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Government is liable to Moda.” Id. at 466. Judge Wheeler also agreed with positions taken

early on by AHIP and others in the Affordable Care Act exchange market that the government

needed to honor its promises: “the Government made a promise in the risk corridors program

that it has yet to fulfill. Today, the Court directs the Government to fulfill that promise.” Id.

The government appealed Judge Wheeler’s summary judgment order. Pending the resolution of

that appeal, and appeals of similar rulings in other risk corridors cases, this Court stayed the

Health Republic and Common Ground cases in mid-2017—three years ago. 1:16-cv-259, Dkt.

No. 62 (July 11, 2017); 1:17-cv-877, Dkt. No. 9 (Aug. 9, 2017). Those appeals by Moda, Blue

Cross & Blue Shield of North Carolina, Land of Lincoln, and Maine Community Health Options

ultimately made their way to the Supreme Court and led to the Maine Community Health

Options decision—again, all while Health Republic and Common Ground were stayed.

C.       Quinn Emanuel’s role after the stay of Health Republic and Common Ground

         After the stay, activity in this case came to a halt. At the Federal Circuit and Supreme

Court, the petitioners in Maine Community Health Options were represented by the law firms

Kirkland & Ellis, Brown & Peisch, Barnes & Thornburg, Massey & Gail, Covington & Burling,

and Crowell & Moring. Multiple firms submitted amicus briefs, including Reed Smith, Husch

Blackwell, Akin Gump Strauss Hauer & Feld, Deutsch Hunt, Kiernan PLLC, O’Melveny &

Myers, Sidley Austin, Faegre Baker Daniels, Pepper Hamilton, McKenna Long & Aldridge, and

McDermott, Will & Emery. Twenty-four states and the District of Columbia, National

Association of Insurance Commissioners, Wisconsin Physicians Service Insurance Corporation,

and WPS Health Plan filed other amicus briefs.

         After the stay of Health Republic and Common Ground, Quinn Emanuel, too, authored

amicus briefs in support of the petitioners in Maine Community Health Options at both the

Federal Circuit and the Supreme Court. At the Federal Circuit, Quinn Emanuel represented the

following amici: Alliance of Community Health Plans; several individual economists; and

Health Republic Insurance Company. At the Supreme Court, the only amici Quinn Emanuel



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represented were the economists—not the plaintiffs or the class in Health Republic and Common

Ground.

         In its fee motion, Quinn Emanuel highlights the arguments it made in the economists’

amicus briefs: that the government needed to honor the promises it made to induce participation

in the exchanges. This argument was not unique or novel to Quinn Emanuel or the economists.

As noted above, these arguments were raised much earlier, including in 2014 comments to HHS

and in Judge Wheeler’s summary judgment order. The Maine Community Health Options

petitioners and other amici advanced identical arguments. For example, consistent with its

earlier objection, at both the Federal Circuit and the Supreme Court, AHIP—represented by Akin

Gump, Deutsch Hunt, and Kiernan PLLC—made the same point and emphasized the unfairness

of the government’s position. See Ex. 3, Brief of AHIP in Support of Rehearing En Banc, Case

17-1994, 2-11 (Fed. Cir. Aug. 10, 2018); see also Ex. 4, Supreme Court Amicus Brief of AHIP,

2 (Sept. 6, 2019) (“This Court has long recognized that no entity would partner with the

government if it did not expect the government to adhere to its commitments.”).3 AHIP’s
Federal Circuit brief was filed before the first amicus brief Quinn Emanuel filed on behalf of the

economists, which it now touts. Ex. 5, Brief of Economists in Support of Rehearing En Banc,

Case 17-1224 (Fed. Cir. Aug. 14, 2018).

         Quinn Emanuel’s Supreme Court amicus brief made the same points, as did petitioners

and other amici. Ex. 6, Supreme Court Amicus Brief of Economists, 2 (Sept. 6, 2019). And, in

its decision, the Supreme Court emphasized the unfairness of the government’s failure to honor

its obligations. Maine Community Health Options, 140 S. Ct. at 1331. Thus, while Quinn

Emanuel no doubt put effort into its amicus submissions, it is clear that several others (including

Judge Wheeler) raised the theme for which Quinn Emanuel takes credit even before the firm

submitted its first amicus brief.


3
 Quinn Emanuel states in its brief (at 7) that it submitted the AHIP brief. That is not correct.
As Mr. Swedlow’s declaration confirms, Quinn Emanuel submitted an amicus brief on behalf of
Alliance of Community Health Plans, which is not AHIP. Swedlow Dec., ¶ 22.

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III.     The percentage-of-the-fund fee award Quinn Emanuel seeks is grossly excessive and

         not supported by a lodestar cross-check

         When, as here, a class has been certified, Rule 23(h) of the United States Court of Federal

Claims authorizes the Court to award “reasonable attorneys’ fees.” Courts recognize two

methods for calculating fees: the lodestar method and the percentage-of-the-fund method.

Haggart v. Woodley, 809 F.3d 1336, 1355 (Fed. Cir. 2016); Stetson v. Grissom, 821 F.3d 1157,

1165 (9th Cir. 2016). A lodestar multiplies the number of hours reasonably spent by a

reasonable hourly billing rate. See, e.g., Kane Cty., Utah v. United States, 145 Fed. Cl. 15, 18

(2019). Courts also commonly apply an appropriate multiplier, id., though “[t]here is a strong

presumption that the lodestar is sufficient . . . without an enhancement multiplier.” In re

Petrobras Sec. Litig., 317 F. Supp. 3d 858, 876 (S.D.N.Y. 2018) (quoting Perdue v. Kenny A.,

559 U.S. 542, 546 (2010)). The percentage-of-recovery method applies a certain percentage to

the settlement fund. Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980).

         “Ultimately controlling is the requirement that the award of attorneys’ fees be

reasonable.” Moore v. United States, 63 Fed. Cl. 781, 786 (2005). In pursuit of the goal of

reasonableness, courts of appeal have recommended use of the lodestar method “to confirm that

a percentage of recovery amount does not award counsel an exorbitant hourly rate.” In re Gen.

Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 821 n.40 (3d Cir.

1995); In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 945 (9th Cir. 2011). Thus,

under this authority, whether the Court uses the lodestar as the starting point or as a cross-check,

it is a critical aspect to calculating a fee award. As discussed below, the lodestar cross-check

shows that an award of $8.828 million would be generous.

A.       The lodestar shows that a fee award of $8.828 million would be generous

         The $184 million Quinn Emanuel seeks would award the firm over $18,000 per hour for

each attorney who worked on the matter. This can be described only as an exorbitant hourly

rate. Quinn Emanuel can only reach this inflated sum by relying on select portions of inapposite

cases. $8.828 million, on the other hand, would represent a generous and legally defensible fee.

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         1.       Hours worked: Because Quinn Emanuel has provided no bills or records of

                  the time the firm purportedly billed, the Court should reduce its hours by at

                  least 35%

         The party seeking fees bears the burden of establishing that the fees and costs were

reasonably necessary to achieve the results obtained. Hensley v. Eckerhart, 461 U.S. 424, 437

(1983). Quinn Emanuel claims that its “attorneys have worked almost 10,000 hours,” and its

paralegals, support staff, and summer associates “worked over 400 hours” on the Health

Republic and Common Ground cases. See Swedlow Dec., ¶ 23. Based on these hours, Quinn

Emanuel contends that its lodestar is $10 million. Id. But Quinn Emanuel has provided no records
of the time its attorneys and staff purportedly billed. All the Court has as evidence of these alleged

hours is one paragraph in a declaration in support of the fee motion. Id. This lone paragraph is not

enough to meet Quinn Emanuel’s burden, especially since 10,000 hours would be an extraordinary

amount of work for a case that has been stayed for the last 3 years. The lack of detailed billing

records is particularly puzzling since the class notice promised that a lodestar cross-check would

apply.

         A fee applicant must provide time records documenting the tasks completed and the time

spent. Hensley, 461 U.S. at 437. “Sufficient documentation requires contemporaneous records

of exact time spent on the case, by whom, their status and usual billing rates, as well as a

breakdown of expenses such as the amounts spent copying documents, telephone bills, mail costs

and other expenditures related to the case.” Sabo v. United States, 127 Fed. Cl. 606, 634 (2016)

(Sweeney, J.). “If proper records are not submitted, the court may deny fees altogether or it may

reduce the award.” Estrada v. Bruno’s Best Pizza, Inc., 2016 WL 3683186, at *2 (S.D.N.Y. June

20, 2016) (internal quotation marks omitted).

         American Rena International Corporation v. Sis-Joyce International Co., 2015 WL

12732433 (C.D. Cal. Dec. 14, 2015), which involved a request for fees by Quinn Emanuel,

highlights this principle. There, Quinn Emanuel submitted contemporaneous time records in

connection with its request for attorney’s fees. Id. at *42. The court found that many of the

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firm’s time entries included block billing (i.e., lumping together multiple tasks in a single billing

entry) and that other entries were “completely redacted.” Id. at *42-44. The court reduced the

hours in block-billed entries by 10%, explaining that “[b]lock billing frustrates the ability of a

court to evaluate the reasonableness of the time spent on each task.” Id. at *43-44. The court’s

cuts to the redacted entries were even more severe. Id. at *44. Noting that the party seeking fees

is responsible for accurate and specific accounting, the court excluded all hours where the firm

had redacted the billing descriptions. Id. (“It is unclear how the court can evaluate the

reasonableness of such entries when the entire subject matter is concealed.”).

         Consistent with Sabo and American Rena, countless common fund cases have reduced

hours in a lodestar cross-check based on insufficient billing records. See, e.g., Park v. Thomson

Corp., 633 F. Supp. 2d 8, 13 (S.D.N.Y. 2009) (describing a 35% reduction in a common fund

case as “modest” because counsel listed tasks performed, but did not supply billing records);

Bentley v. United of Omaha Life Ins. Co., 2020 WL 3978090 (C.D. Cal. Mar. 13, 2020)

(applying a 30% reduction in a common fund case because task descriptions were vague); Il

Fornaio (Am.) Corp. v. Lazzari Fuel Co., LLC, 2015 WL 2406966, at *4 (N.D. Cal. May 20,

2015) (criticizing counsel in a common fund case for spending “2,681.05 hours of work on a

case which never reached summary judgment or trial,” finding the amount “overstated” and “not

justified,” and reducing it by more than 40% on the cross-check); see also Lahiri v. Universal

Music & Video Distrib. Corp., 606 F.3d 1216, 1222-23 (9th Cir. 2010) (affirming 30% reduction

of block-billed hours).

         Quinn Emanuel’s evidentiary support for its fee application here is even more deficient

than in the foregoing cases. Indeed, Quinn Emanuel does not submit any time records at all. Not

even redacted ones. Because Quinn Emanuel did not support the request with the documents

required by Hensley, neither class members, nor the Court, can evaluate whether it was

appropriate to spend almost 10,000 hours on two cases that did not involve disputed issues of

fact and that were stayed well before significant discovery or trial preparation. No one can tell

what work Quinn Emanuel did or why the work was necessary.

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         Quinn Emanuel argues that it need not supply time records, but the cases it cites do not

support this point. In Kane, 145 Fed. Cl. 15, unlike here, counsel did provide timesheets, and the

court reviewed them and found the entries “reasonable and commensurate with the work

required.” Id. at 20. In re Rite Aid Corp. Sec. Litig., 396 F.3d 294 (3d Cir. 2005) also does not

suggest that plaintiffs’ counsel could simply assert ballpark hours figures like Quinn Emanuel

has done here. In reversing the district court for incorrect calculation of the lodestar, the Third

Circuit implied that any acceptable summary would need to be detailed, emphasizing “that

lawyers have an incentive to increase their hours for cross-check purposes.” Id. at 307 n.16.

Geneva Rock Prods., Inc. v. United States, 119 Fed. Cl. 581 (2015), is similarly unhelpful to

Quinn Emanuel. There, the court was able to determine that 2,600 hours was “reasonably

expended” over the course of 5 years in that case, which required counsel to “work[] steadily on

voluminous discovery.” Id. at 590-91. The same cannot be said here, where Quinn Emanuel

asserts it spent 4 times as many hours on cases that were stayed for years and that involved no

discovery. Moreover, even in cases that have calculated the lodestar without timesheets and

billing statements, plaintiffs’ counsel nonetheless provided the court with a lawyer-by-lawyer

breakdown of the lodestar by task. See, e.g., Perkins v. Linkedin Corp., 2016 WL 613255, at *17

(N.D. Cal. Feb. 16, 2016) (relying on sworn declarations that, unlike here, included “detailed

summaries of their time, demonstrating both the number of hours spent by specific individuals

on the necessary work, and the nature of the work performed”).

         Without the billing records, the Court is simply unable to perform a cross-check. The

above authorities make clear that this Court should reduce the hours Quinn Emanuel claims to

have billed. As for how much, if no reimbursement was warranted for redacted entries in

American Rena,4 and if a 35% reduction was “modest” in Park, where the claimant at least

provided a break out of the tasks it performed, there can be no question that a reduction of only


4
 Despite the result in American Rena, Objecting Class Members do not seek a denial of Quinn
Emanuel’s fee application in its entirety.


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35% would be generous here, where Quinn Emanuel has supplied no documentation for its

claimed hours. Without such a reduction, firms will have no incentive to follow the dictate of

Hensley. Thus, the Court can and should reduce the “almost 10,000 hours” of alleged attorney

time to 6,500 or fewer hours, and the “over 400 hours” of support time to 260 or fewer hours.5

         2.       Appropriate billable rate: The Court should reduce Quinn Emanuel’s hourly

                  rates based on the Laffey matrix

         “[T]he burden is on the fee applicant to produce satisfactory evidence—in addition to the

attorney’s own affidavits—that the requested rates are in line with those prevailing in the

community for similar services by lawyers of reasonably comparable skill, experience and

reputation.” Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984). Quinn Emanuel does not satisfy

this burden. Nor can it: the hourly rates it seeks are staggeringly high.

         To determine an appropriate hourly rate for use in the lodestar cross-check, courts

routinely refer to one of two Laffey matrices. See Kane, 145 Fed. Cl. at 19; see also In re Chiron

Corp. Sec. Litig., 2007 WL 4249902, at *6 (N.D. Cal. Nov. 30, 2007) (“A widely recognized

compilation of attorney and paralegal rate data is the so-called Laffey matrix, so named because

of the case that generated the index.”). One Laffey matrix is for “sophisticated federal-court

practitioners in the District of Columbia,” and the second—maintained by the U.S. Attorney’s

Office for the District of Columbia—is for “all types of lawyers” in the metropolitan area. DL v.

D.C., 924 F.3d 585, 587 (D.C. Cir. 2019). Laffey rates are regularly used to calculate fee awards

for work by big-name firms—including Quinn Emanuel—on complex cases. See, e.g., Am.

Rena, 2015 WL 12732433, at *41 (applying the U.S. Attorney’s Office’s Laffey matrix rates to

Quinn Emanuel and adjusting the Laffey rates downwards after finding that Washington D.C.

legal professionals have a higher hourly rate when compared to Los Angeles legal professionals);

U.S. ex rel. Baker v. Cmty. Health Sys., Inc., 2013 WL 10914086, at *22 (D.N.M. Aug. 9, 2013)

(applying Laffey matrix in award for the firm Skadden Arps Slate Meagher & Flom LLP in a

5
 Indeed, based on the complete absence of billing records, it is impossible for the Court to
determine whether the claimed “support” time is even compensable.

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complex healthcare False Claims Act suit); Hernandez v. Chipotle Mexican Grill, Inc., 257 F.

Supp. 3d 100, 116 (D.D.C. 2017) (Arnold & Porter LLP); IMS Health Corp. v. Schneider, 901 F.

Supp. 2d 172, 195-96 (D. Me. 2012) (applying Laffey matrix rates to Thomas C. Goldstein, then

of Akin Gump).

         Moreover, even the lower U.S. Attorney’s Office Laffey rates have been found to be too

high for cases, like this one, with no significant discovery disputes and no jury trial. Rodriguez

v. Sec’y of Health & Human Servs., 91 Fed. Cl. 453, 465 (2010) (Sweeney, J.) aff’d, 632 F.3d

1381 (Fed. Cir. 2011); cf. Georgia State Conference of the NAACP v. Kemp for Georgia, 2018

WL 2271244, at *3 (N.D. Ga. Apr. 11, 2018) (refusing to pay Hogan Lovells based on Laffey

matrix and instead paying rates below the Laffey ones).

         The Laffey matrices make clear that the rates Quinn Emanuel seeks are too high. See

Swedlow Dec., ¶ 23 (seeking hourly rates of $325 per hour for support staff, $600 to $905 for

associates, and $870 to $1,250 for partners). For the years relevant here, the Laffey matrix rates

for sophisticated work are between $331 an hour for a junior attorney and $899 an hour for a

senior attorney with over 20 years of experience and $180 to $203 an hour for support staff.

Laffey Matrix, available at http://www.laffeymatrix.com/see.html. The U.S. Attorney’s Office

Laffey rates for the same period are between $291 and $637 an hour for attorneys and $157 to

$173 an hour for support staff. USAO Attorney’s Fees Matrix - 2015-2020, available at

https://www.justice.gov/usao-dc/page/file/1189846/download.

         Thus, applying even the most favorable Laffey matrix—and ignoring that Quinn Emanuel

avoided rigorous discovery, any fight on class certification, and trial—the rates it seeks are 30 to

45% too high. It would therefore be reasonable for the Court to reduce the rates by at least 35%

from an unspecified blended rate of $1,033 to a blended rate of $671. It would likewise be

reasonable to reduce support staff time—if included at all—to a rate that falls within the Laffey

range, with a maximum of $203 an hour.




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         3.       Appropriate multiplier: The 18-19x multiplier Quinn Emanuel seeks is

                  grossly excessive and unjustified

         Quinn Emanuel seeks a multiplier over 18. This is simply not appropriate, and any fee

award close to what Quinn Emanuel seeks would be unprecedented.

         “Although the range of multipliers used by district courts in common-fund cases varies

widely, an overwhelming majority of district courts have used between 1.0-4.0 as the multiplier.”

Ibarra v. Wells Fargo Bank, N.A., 2018 WL 5276295, at *5 (C.D. Cal. Sept. 28, 2018) (internal

quotation marks omitted); Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1051 n.6 (9th Cir. 2002)

(charting multipliers in common fund cases). As even Quinn Emanuel’s fee expert Brian T.

Fitzpatrick has conceded, most multipliers are well below 2, and the average multiplier is 1.62.

In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 2013 WL 12387371, at *13

(N.D. Cal. Nov. 5, 2013) (noting that Fitzpatrick “reported that of the 192 fee awards studied

where ‘a lodestar cross-check and the lodestar multiplier was ascertainable, the mean and median

multipliers were 1.62 and 1.30.’”)6; Gattinella v. Kors, 2016 WL 690877, at *2 (S.D.N.Y. Feb. 9,
2016) (reducing award by using a 1.94 multiplier, and explaining that the lodestar multiplier of

2.4 sought there was “higher than what other courts, including this one, have typically

awarded.”). Significantly, multipliers tend to be low when the common fund is large, since large


6
  There is no need for either of Quinn Emanuel’s two “fee experts” here because the Court can
assess the legal and factual questions at issue and their declarations do little more than repeat
Quinn Emanuel’s arguments. This Court should therefore join the other courts that have rejected
the opinions of both Fitzpatrick and Charles Silver. See, e.g., Brundle on behalf of Constellis
Employee Stock Ownership Plan v. Wilmington Tr., N.A., 258 F. Supp. 3d 647, 665 (E.D. Va.
2017), aff’d, 919 F.3d 763 (4th Cir. 2019) (rejecting similar declaration by Silver in support of a
class action fee award and noting that “there is no evidence that Silver has ever tried a case in
this district, or anywhere else for that matter”); In re Volkswagen “Clean Diesel” Mktg., Sales
Practices & Prods. Liab. Litig., 2017 WL 1352859, at *3 (N.D. Cal. Apr. 12, 2017) (declining to
follow Fitzpatrick’s recommendation for the court to award $28.56 million in fees under the
percentage method where it would have led to a 19x lodestar multiplier on cross-check).
Fitzpatrick and Silver are particularly objectionable because they routinely provide testimony
across the nation favorable to class counsel in support of attorney’s fees. See, e.g., id. To our
knowledge, they have never testified that any class counsel should be paid a dollar less than they
requested.

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funds lead to large fee awards even without a multiplier, and because it is the reasonableness of

the absolute size of the fee award (rather than the amount of the multiplier) that is the true focus

of the court’s inquiry. In re Citigroup Inc. Bond Litig., 988 F. Supp. 2d 371, 376 (S.D.N.Y.

2013) (“[C]ourts in this Circuit have trended toward awarding . . . lower multipliers for awards

from extremely large common funds.”).

         When, unlike here, a case requires several depositions, extensive written discovery, and

disputes over class certification, those factors can serve as bases for a reasonable increase to the

multiplier. Retta v. Millennium Prods., Inc., 2017 WL 5479637, at *12 (C.D. Cal. Aug. 22,

2017) (citing extensive discovery and motion practice as basis to increase multiplier); Moore v.

Verizon Commc'ns Inc., 2014 WL 588035, at *7 (N.D. Cal. Feb. 14, 2014) (justifying multiplier

on “substantial risk that Plaintiffs would not succeed at the class certification or merits stage of

the litigation”). On the other hand, the lack of this kind of extensive discovery or motion

practice weighs against a substantial multiplier. Rodriguez v. Farmers Ins. Co. of Arizona, 2014

WL 12544829, at *5 (C.D. Cal. Mar. 13, 2014) (explaining that lack of discovery or contested

class certification weighed against a substantial multiplier).

         Courts regularly apply multipliers between 1 and 2 in complex cases brought by

exceptional counsel, who assumed significant risks, and expended substantial resources in

pursuing the case. Clean Diesel, 2017 WL 1352859, is directly on point. There, as here, the

plaintiffs’ counsel sought a multiplier in the “mid to high teens.” Id. at *3. Citing other

sophisticated common fund cases, the court rejected this request as “simply not appropriate.” Id.

Instead, the court applied a multiplier of 2 to compute the fee award for the well-known class

action lawyers who pursued that case. Id. at *6. As the Court explained, this multiplier was

“comparable to multiples applied in other complex class actions.” Id. at *3; Ibarra, 2018 WL

5276295, at *6 (explaining that a multiplier of 2 “is within the range most commonly applied in

class actions resulting in common fund judgments.”); see also Gattinella, 2016 WL 690877, at

*1-2 (S.D.N.Y. Feb. 9, 2016) (emphasizing “complex issues of liability and damages,”

“significant risks,” “substantial resources” expended, and “exceptional work” and awarding 1.94

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multiplier); In re Citigroup Inc. Bond Litig., 988 F. Supp. 2d at 376, 379 (awarding 1.34

multiplier where “litigation was both broad in scope and complex,” the case involved “risk of an

unfavorable outcome brought on by changes in applicable case law,” “the applicable law [wa]s

far from simple,” and the quality of counsel was “deserving of a substantial award”); In re Cook

Med., Inc., Pelvic Repair Sys. Prods. Liab. Litig., 365 F. Supp. 3d 685, 701 (S.D.W. Va. 2019)

(1.8 multiplier). Notably, even these decisions reflect a multiplier that is skewed upwards when

compared to what would be appropriate here, because the courts applied these multipliers to

hourly rates far below even the Laffey rates. See, e.g., Clean Diesel, 2017 WL 1352859, at *4

($502 average rate).

         Courts reserve multipliers above this range for the most trend-setting cases, pursued by

plaintiff’s counsel “efficiently,” and with virtually no help from other firms. In re Enron Corp.

Sec., Derivative & ERISA Litig., 586 F. Supp. 2d 732, 787-803 (2008). Enron shows how

extraordinary a case must be to warrant a high multiplier of 5.2, and why this case does not come

close. That case posed “extraordinary complexity and risk” as well as a “substantial financial

burden.” Id. at 790. Since every obvious culpable party had been shuttered, class counsel

needed to pioneer a “a novel theory of scheme liability” to recover and as a result there was a

substantial risk of “little or no recovery.” Id. at 791-93, 797. Nonetheless, class counsel made

what was likely “the largest investment ever made in a single securities class action.” Id. at 791.

The case, already “extremely complex,” was made more complex because “in the course of th[e]

litigation, various binding, higher-court decisions” made recovery “increasingly difficult.” Id. at

788. The 6-year case involved “several hundred” fact depositions, “numerous” dispositive

motions, “enormous energy and effort” on class certification issues, and pursuit through the

district court, Fifth Circuit, and Supreme Court. Id. at 786-87. The case was also pursued

leanly; indeed, an independent federal judge assigned to review the firm’s billing records

commented that he “would have expected the lodestar amount to be significantly higher,” which

showed that class counsel “was extremely efficient.” Id. at 788. Finally, the court found it

highly notable that counsel acted virtually alone, distinguishing another case in which “three

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firms” had been involved. Id. at 803. In fact, counsel’s efforts were thwarted by separate

criminal and bankruptcy matters that eroded time and assets, and complicated discovery. Id. at

772, 791-92. None of the extraordinary circumstances that drove the Enron multiplier are

present here. Quinn Emanuel did not make “the largest investment ever made,” an independent

judge did not declare that it was “extremely efficient,” it did not pursue a dwindling pool of

funds, it was not thwarted by separate bankruptcies and criminal actions, and it had considerable

support from other firms.

         Given this authority, the multiplier sought by Quinn Emanuel is astronomical and

unjustified. The cases Quinn Emanuel cites are outliers, and do not support the fee request. In

re Merry-Go-Round Enterprises, Inc., 244 B.R. 327 (Bankr. D. Md. 2000), was not a class action

but an adversary proceeding brought under a set contingency fee agreement that—unlike here—

the client had approved in advance. Id. at 330. As a result, the court declined to use a lodestar

analysis at all. Id. at 335. The question in Merry-Go-Round was whether the contingency fee

was so high that it was unethical under the Rules of Professional Conduct. Id. at 338. After

much consternation, the court found that the award did not violate that different test. Id. at 341.

         Likewise, the suggestion in Beckman v. KeyBank, N.A., 293 F.R.D. 467 (S.D.N.Y. 2013),

that a lodestar multiplier of 8 is common has been rejected as outright false. Sakiko Fujiwara v.

Sushi Yasuda Ltd., 58 F. Supp. 3d 424, 437 (S.D.N.Y. 2014). Citing Beckman, the court in

Sakiko explained that “[t]his exact sentence, with the same case citations in support of it, has

made its way into many court ‘decisions’ in this circuit via proposed orders drafted by plaintiffs’

attorneys.” Id. The court dismissed it as inaccurate posturing by opportunistic plaintiff’s

counsel and instead applied a 1.75 multiplier. Id. The other cases that Quinn Emanuel cites also

do not support its sky-high multiplier. Stop & Shop Supermarket Co. v. SmithKline Beecham

Corp., 2005 WL 1213926, at *16-18 (E.D. Pa. May 19, 2005) (agreeing to a 15.6 multiplier after

making clear that the vast majority of megafund multipliers are between 1 and 2.95, and

emphasizing the “extraordinary support Plaintiffs have shown for counsel’s request for fees,”

including that the general counsel of one class member submitted a declaration advocating for an

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even higher fee); Americas Mining Corp. v. Theriault, 51 A.3d 1213, 1257 (Del. 2012) (a case in

which, unlike here, a lodestar cross-check was neither promised, nor applied).

         Based on this authority, a multiplier between 1 and 2 would be appropriate here and

would more than adequately compensate Quinn Emanuel for its role in the case. This is in line

with what courts have rewarded excellent counsel in complex cases, especially in view of the

size of the fund here, and the amount the multiplier would be applied to.

         4.       Lodestar calculation: Based on the application of a reasonable multiplier to

                  reasonable hours and rates, the lodestar cross-check results in a fee award of

                  $8.828 million

         Applying a multiplier of 2 (which Quinn Emanuel’s own expert has testified is well

above average) to a reasonable hourly rate (a blended rate of $671 for attorney time and,

potentially, $203 for support time), and a reasonable number of hours (6,500 hours for attorneys;

260 for others), a reasonable fee award would be $8.828 million or lower.

         Unlike Quinn Emanuel’s requested fee, $8.828 million represents a reasonable fee under

settled common fund precedent. Indeed, if a class member wished to be a hard-nosed adversary

on these issues, it could ask the Court to award far below $8 million. It could emphasize the

countless courts that have applied multipliers between 0.07 and 1. See, e.g., Good v. W.

Virginia-Am. Water Co., 2017 WL 2884535, at *27 (S.D.W. Va. July 6, 2017) (explaining that

Fitzpatrick’s research revealed cross-check multipliers as low as 0.07). It could contend that

Quinn Emanuel’s purported hours billed should be reduced by far more than 35% since the firm

chose not provide billing records. Estrada, 2016 WL 3683186, at *2 (“If proper records are not

submitted, the court may deny fees altogether.”); Il Fornaio (Am.) Corp., 2015 WL 2406966, at

*4 (40% reduction in common fund case). It could also contend that Quinn Emanuel should

receive no credit for hours spent on amicus briefs at all. Catskill Mountains Chapter of Trout

Unlimited, Inc. v. City of New York, 2008 WL 2371975, at *5 (N.D.N.Y. June 9, 2008) (rejecting

the argument that filing an amicus brief in a separate case was “absolutely necessary to ensure

[plaintiffs’] victory,” and therefore concluding that fees for amicus brief were not recoverable).

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And it could seek rates based on the lower U.S. Attorney’s Office’s Laffey matrix rates and

reduced to account for lower hourly rates in Quinn Emanuel’s Los Angeles hub. Am. Rena, 2015

WL 12732433, at *41. But Objecting Class Members do not wish to pick these fights and do not

wish to rely on cherry-picked data points and cases. Instead, as partners in the risk corridors

effort, they seek a fair reward for Quinn Emanuel. A fair, reasonable, and legally defensible fee

award would be $8.828 million.

         But even if the Court were to give Quinn Emanuel every benefit of doubt, the award

should not exceed $20 million. To get there, the Court would need to ignore the firm’s failure to

provide time records, accept the purported hours billed without question or documentation,

accept the blended hourly rates with no reduction, and apply a multiplier of around 2, which

according to Quinn Emanuel’s own expert, is well above average. Swedlow Dec., ¶ 23

(asserting Quinn Emanuel’s lodestar is about $10 million); DRAM, 2013 WL 12387371, at *13.

Thus, $20 million is the highest award that could be even arguably tethered to an appropriate

lodestar here, and represents an absolute cap on fees—and it is still unreasonable under the

circumstances.

B.       The lodestar method is more appropriate than the percentage-of-the-fund method

         for determining the fee award

         As is common in high dollar value cases, the lodestar method supplies the appropriate fee

award. Thus, the Court should simply apply the lodestar. None of the arguments Quinn

Emanuel makes to justify application of a 5% fee have merit.

         1.       The lodestar is the appropriate method to calculate Quinn Emanuel’s fee

         When a case involves a large fund, “picking a percentage without reference to all the

circumstances of the case, including the size of the fund, would be like picking a number out of

the air.” In re Washington Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291, 1297 (9th Cir.

1994). As a result, “in megafund cases, the lodestar cross-check assumes particular importance.”

Alexander v. FedEx Ground Package Sys., Inc., 2016 WL 3351017, at *2-3 (N.D. Cal. June 15,



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2016). When a lodestar shows that a percentage method would create an outsized reward, courts

appropriately adopt the lodestar. Clean Diesel, 2017 WL 1352859, at *2-3.

         Clean Diesel is again directly on point. Analogous to the progress attributable to lead

counsel in Maine Community Health Options, “much of the groundwork” for the settlement in

Clean Diesel had been laid through a separate settlement. 2017 WL 1352859, at *2. And

analogous to the large sums that the government failed to pay class members here, the high

settlement value in Clean Diesel “resulted substantially from the nature and value of the assets at

issue.” Id. Thus, the court explained, “because the Settlement was substantial . . . even a modest

percentage of the Settlement would generate an outsized award of attorneys’ fees.” Id. The

court therefore held that the percentage method would overcompensate the class attorneys and

violate the ultimate goal of reasonableness. Id. at *2-3.

         The result of Clean Diesel, Alexander, and Washington Public Power is warranted here.

The judgment was high here because the amount in controversy was high. The case was stayed

while other capable counsel pursued Maine Community Health Options, reducing Quinn

Emanuel’s burden, its risk, and its contribution to the ultimate result. Using a percentage-of-the-

fund approach here would not produce a reasonable fee but would be like “picking a number out

of the air.” In re Washington Pub. Power Supply Sys. Sec. Litig., 19 F.3d at 1297. Thus, just

like many other cases, and consistent with Quinn Emanuel’s representations to class members

when it sought their participation in the class, the lodestar method produces the appropriate fee

award.

         2.       The cases Quinn Emanuel cites to support a 5% fee do not help it

         Quinn Emanuel cites several cases for the proposition that the Court should apply a 5%

fee. In full context, none of the cases support Quinn Emanuel’s request. For example, the

request cites In re Ins. Brokerage Antitrust Litig., 282 F.R.D. 92, 124 (D.N.J. 2012) and Acevedo

v. Brightview Landscapes, LLC, 2017 WL 4354809, at *19 (M.D. Pa. Oct. 2, 2017) for the

proposition that 30% to 40% is a reasonable contingent fee, but it fails to mention that the courts

only awarded fees there after performing a lodestar cross-check and finding a multiplier of 0.34

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and 1.3 respectively. It cites Raulerson v. United States, 108 Fed. Cl. 675, 679 (2013) for the

proposition that a 33% award is reasonable, but it does not acknowledge that the court only

reached its fee award after determining that the lodestar cross-check was below 1. Quinn

Emanuel also emphasizes the 33.33% fee in Neurontin Antitrust Litig., 2:02-cv-01830, Dkt. 114

(D.N.J. Aug. 6, 2014) and In re Skelaxin, 12-md-2343, Dkt. 747 (E.D. Tenn. June 30, 2014), but

it again leaves out the fact that the courts so concluded only after determining that it would

“equate to a lodestar multiplier of approximately 1.99” in Neurontin and “a lodestar multiplier

between 2.1 and 2.5” in Skelaxin. This pattern continues throughout Quinn Emanuel’s brief.

Mot. at 26 (touting the percentage fee but failing to mention that the courts made the awards only

after performing a cross-check and finding lodestars well below 4 in In re Tyco Int'l, Ltd.

Multidistrict Litig., 535 F. Supp. 2d 249, 271 (D.N.H. 2007), In re NASDAQ Mkt.-Makers

Antitrust Litig., 187 F.R.D. 465, 489 (S.D.N.Y. 1998), In re Payment Card Interchange Fee &

Merch. Disc. Antitrust Litig., 991 F. Supp. 2d 437, 448 (E.D.N.Y. 2014), and In re Visa

Check/Mastermoney Antitrust Litig., 297 F. Supp. 2d 503, 524 (E.D.N.Y. 2003)).

         If anything, the cases confirm that the lodestar method is appropriate here. Indeed, the

low lodestars found in the cases show that a multiplier of 2 would be generous.

         3.       There was no advance agreement between Quinn Emanuel and the class

                  about a 5% fee and set fee cases Quinn Emanuel relies on do not help it

         Seeking to analogize this case to ones where clients agreed to a set fee in advance, Quinn

Emanuel implies that class members have already agreed to a set 5% fee. Specifically, Quinn

Emanuel claims that, even though the notice it sent to class members informed them that 5% was

the absolute cap, could be substantially reduced based on class participation, and would be

subject to a lodestar cross-check, nevertheless, in side conversations with “dozens” of

unidentified class members Quinn Emanuel asked them to assume the firm would seek 5%.

Swedlow Dec., ¶¶ 15, 21.

         These statements are pure inadmissible hearsay and the Court should disregard them.

The Court should also reject Quinn Emanuel’s reliance on these purported statements because

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they contradict the court-approved notice all class members received and relied upon. Retiree

Support Grp. of Contra Costa Cnty. v. Contra Costa Cnty., 2016 WL 4080294, at *6 (N.D. Cal.

July 29, 2016) (class counsel are prohibited from making representations that undermine or

contradict the class notice); Quern v. Jordan, 440 U.S. 332, 335 n.3 (1979) (class notices are

meant “for the protection of the members of the class”).

         Moreover, these conversations, even if they took place, would not be enforceable

because, as the court held in one of the two cases cited by Quinn Emanuel in the class notice, any

such fee arrangement must be in writing. Geneva Rock, 119 Fed. Cl. at 593 (“[T]he fee

arrangement negotiated by class counsel fails to adhere to the law governing contingent fee

agreements requiring them to be in writing.”); Foodtown, Inc. of Jacksonville v. Argonaut Ins.

Co., 102 F.3d 483, 485 (11th Cir. 1996) (same). And it certainly goes without saying that

conversations with a few unidentified class members would not bind all 283 class members.

         In sum, there was no agreement setting a 5% fee. Thus, it does not help Quinn Emanuel

that class members agreed to a set fee provision in Quimby v. United States, 107 Fed. Cl. 126

(2012) and Thomas v. United States, 121 Fed. Cl. 524 (2015), because that’s simply not what

happened here.

C.       $8.828 million represents an appropriate fee award under any method

         Quinn Emanuel’s main role here was to wait while other good firms won Maine

Community Health Options. This was the appropriate legal strategy; there was no need for

Quinn Emanuel to invest substantial hours once Health Republic and Common Ground were

stayed. But this fact impacts every one of the factors considered in making a common fund fee

award, and makes clear that an award of $8.828 million or below is generous and appropriate,

and anything approaching or over $20 million would be patently unreasonable.

        The Court regularly considers cases brought under the Tucker Act, and involving the

         Affordable Care Act, and is able to evaluate the complexity of those statutes. But even

         accepting those statutes as incomprehensively complex, counsel other than Quinn

         Emanuel largely argued and resolved any complexities.

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         The substantive participation of many qualified firms tempered the risk of non-recovery,

          and a fee of $8.828 fully compensates for the risk. Moreover, since the defendant in this

          case is the government, it is unlike other cases in which litigation risk is high based on

          “risks that the defendant may be unable to pay any ultimate award.” In re BioScrip, Inc.

          Sec. Litig., 273 F. Supp. 3d 474, 498 (S.D.N.Y. 2017).

         As Quinn Emanuel concedes, the Health Republic and Common Ground class members

          comprise “one-third of the total value of all risk corridors claims,” representing “by

          orders of magnitude the largest contingent . . . represented by any law firm in risk

          corridors litigation.” Swedlow Dec., ¶ 17 (emphasis added). According to the class

          notice, and consistent with the lodestar, this type of class participation is precisely the

          circumstance that should send the fee plunging to “substantially less than 5%.” Dkt. No.

          50-1 (emphasis added).

         Other class actions have made awards well below 5%. See, e.g., Clean Diesel, 2017 WL

          1352859, at *6 (0.24%). Moreover, we can find no case that has applied such a high fee

          percentage where the case was stayed and ultimately won as the result of a decision

          rendered in a separate case pursued by separate counsel.

IV.       Conclusion

          The Supreme Court correctly held that the government should stand by its word. The

same premise applies to Quinn Emanuel. Quinn Emanuel touted the 5% as a ceiling, which

could be “substantially reduced” depending on class participation, and that would be subject to a

lodestar cross-check. Considering those factors, the Court should award $8.828 million or less

because that huge sum is the amount Quinn Emanuel is due.




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 Dated: August 20, 2020   Respectfully submitted,

                          SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

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                          Community Plan, Inc., UnitedHealthcare Insurance Company,
                          UnitedHealthcare Life Insurance Company UnitedHealthcare of
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                          UnitedHealthcare of the Midlands, Inc., UnitedHealthcare of the
                          Midwest, Inc., UnitedHealthcare of Utah, Inc., UnitedHealthcare
                          of Washington, Inc., UnitedHealthcare of Ohio, Inc., Rocky
                          Mountain HealthCare Options, Inc., All Savers Insurance
                          Company, UnitedHealthcare Insurance Company Inc., and
                          CareConnect Insurance Company, Inc. fka North Shore-LIJ
                          Insurance Company Inc.




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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

HEALTH REPUBLIC INSURANCE
COMPANY
          Plaintiff,
          on behalf of itself and all others
          similarly situated,                  No. 1:16-cv-00259-MMS
                                               (Judge Sweeney)
         v.

THE UNITED STATES OF AMERICA
          Defendant.


   DECLARATION OF MOE KESHAVARZI IN SUPPORT OF OPPOSITION AND
 OBJECTION TO CLASS COUNSEL’S MOTION FOR APPROVAL OF ATTORNEY’S
                          FEE REQUEST




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         I, Moe Keshavarzi, declare as follows:

         1.       I am an attorney with Sheppard, Mullin, Richter & Hampton LLP. I have

personal firsthand knowledge of the facts set forth herein, except where the context indicates

otherwise.

         2.       Exhibit 1 is a true and correct copy of a comment by America’s Health Insurance

Plans (AHIP) dated April 21, 2014, which was retrieved from the government website

regulations.gov.

         3.       Exhibit 2 is a true and correct copy of a comment by BlueCross BlueShield

Association dated April 21, 2014, which was retrieved from the government website

regulations.gov.

         4.       Exhibit 3 is a true and correct copy of the brief submitted in the Federal Circuit by

AHIP in support of rehearing en banc dated August 10, 2018, which was retrieved from the court

docket in case number 17-1994.

         5.       Exhibit 4 is a true and correct copy of the Supreme Court Amicus Brief of AHIP

dated Sept. 6, 2019, which was retrieved from the Supreme Court docket in Maine Community

Health Options.

         6.       Exhibit 5 is a true and correct copy of the brief submitted in the Federal Circuit by

Quinn Emanuel on behalf of its economist clients in support of rehearing en banc dated August

14, 2018, which was retrieved from the court docket in case 17-1224.

         7.       Exhibit 6 is a true and correct copy of the Supreme Court amicus brief Quinn

Emanuel on behalf of its economist clients dated September 6, 2019, which was retrieved from

the Supreme Court docket in Maine Community Health Options.




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         I declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct, and that this declaration was executed on August

20, 2020, in Los Angeles, California.

                                         Respectfully submitted,

                                         _______________________________
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                      EXHIBIT 1
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April 21, 2014

Mandy Cohen, M.D., MPH
Deputy Administrator and Director
Center for Consumer Information and Insurance Oversight
Centers for Medicare and Medicaid Services
200 Independence Avenue SW
Washington, DC 20201

Submitted electronically: http://www.regulations.gov

Re: Patient Protection and Affordable Care Act; Exchange and Insurance Market
Standards for 2015 and Beyond (HHS-9949-P)—AHIP Comments

Dear Dr. Cohen:

We are writing on behalf of America’s Health Insurance Plans (AHIP) to offer comments in
response to the Department of Health and Human Services, Centers for Medicare and Medicaid
Services (HHS) Proposed Rule on Exchange and Insurance Market Standards for 2015 and
Beyond (HHS-9949-P).

Leading up to the launch of the 2014 open enrollment period for the 2015 plan year – and
continuing forward – AHIP and its member plans remain committed to helping ensure successful
exchange implementation. The comments here are meant to provide in depth suggestions based
upon the extensive consultation with health plan operations staff around the country. These
suggestions are focused on providing affordable coverage options for consumers – a goal as
paramount today as it was in plans’ preparations for the 2014 open enrollment period.

To that end, we continue to have serious concerns about the impact of recent transitional policies
and continue to believe that additional mitigation relief is a critical step to address the potential
for adverse selection and ensure more affordable premiums moving forward. Our detailed
suggestions that follow outline the specifics steps we believe are necessary and build on the
important policies that HHS has previously proposed.
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Please see the attachment for a detailed set of comments on the provisions of the proposed rule.
Thank you in advance for your consideration of these comments, and we look forward to
continued dialogue around these and other issues.


Sincerely,




Dan Durham
Executive Vice President
Policy and Regulatory Affairs




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                             Attachment
AHIP’s Detailed Comments on the Proposed Rule for the 2015 Exchange and
                    Insurance Market Standards


Standards Related to Reinsurance, Risk Corridors, and Risk Adjustment (Part 153)

The proposed rule considers making changes to the Affordable Care Act (ACA)’s premium
stabilization programs—specifically reinsurance and risk corridors—in order to address
“uncertainties around operations and the risk pool and to stabilize the market as it continues to
transition to full compliance with the ACA provisions.” Specifically, the proposed rule would
allow for the prioritization of reinsurance funds toward requests for reinsurance payments in the
event that reinsurance collections fall short of estimates. The proposed rule would also make
adjustments to an issuer’s risk corridors calculation by raising the ceiling on administrative costs
and the floor on margins by two percentage points (to 22% and 5%, respectively). This
adjustment would apply to issuers of qualified health plans (QHPs) in all States and would not be
included in the issuer’s Medical Loss Ratio (MLR) calculation.

Recommendations:

We appreciate efforts by the Department of Health and Human Services (HHS) to provide
additional mitigation relief through the risk corridors program in order to address “additional
administrative costs, risk pool effects, and uncertainty…related to State extensions of renewals”
and related challenges. Specifically, we strongly support the proposal to provide a uniform,
nation-wide adjustment to the risk corridors calculation in 2015. However, as we discuss below,
we are concerned that the Department may not have the resources to support these mitigation
relief policies if budget neutrality is imposed on the risk corridors program. We also strongly
support the proposal to prioritize reinsurance payments to the extent contributions are lower than
estimated. This change will provide health plans the assurance that reinsurance funds will first be
available to support the reinsurance program and not for other purposes.

At the same time, we continue to have serious concerns about the unintended consequences of
the transitional policy, which allows for the existence of non-ACA compliant plans until as late
as October 2017. This will likely result in lower exchange enrollment than would otherwise
result without this policy and could create problems with adverse selection—as those most likely
to remain in their current plans are widely expected to be younger and healthier than the
population enrolling in the exchange. We believe that additional mitigation relief should be
paired with the Administration’s transitional policy in order to promote a balanced and
affordable insurance marketplace in future years.

This heightened risk of adverse selection may cause higher premiums in the Exchanges – as
recognized by experts such as the American Academy of Actuaries and the National Association
of Insurance Commissioners (NAIC). As the NAIC has cautioned, allowing non-ACA compliant
plans to be renewed past 2016 “allows different rules for different policies which threaten to
undermine the new marketplace. Creating two tiers of plans—the compliant and non-



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compliant—could result in higher premiums overall and market disruptions in 2015 and
beyond.” 1

Moreover, a recent analysis by Milliman found that—as a result of recent policy changes and
related factors:

        “…the ACA individual medical marketplace faces more serious risk pool composition
        challenges than would have been reasonably expected at the beginning of open
        enrollment…The potential for adverse selection—caused by having two parallel markets
        operating under different rules—poses a significant risk to the viability of the ACA
        individual medical marketplace.” 2

We have developed a set of recommendations intended to help provide the relief necessary to
mitigate premium increases and promote affordable coverage. This relief will, in turn, expand
participation and coverage in the reformed marketplace.

•   Risk corridors should be operated without the constraint of budget neutrality – in a
    manner consistent with the statutory requirements of the ACA and Medicare Part D. In
    both this proposed rule and the 2015 Notice, HHS has indicated its intent to operate the risk
    corridors program in a budget neutral way, and reserves the right to make additional changes
    to the program in future years to achieve this goal. This intent was mirrored in the
    Administration’s FY 2015 budget, which assumes that risk corridors payments to QHPs will
    equal payments to HHS from QHPs in 2015. Subsequent regulatory guidance—released on
    April 11, 2014, provides additional details about how HHS intends to administer the risk
    corridors program in a budget neutral manner.

    Specifically, the guidance states that HHS anticipates that risk corridor collections will be
    sufficient to pay for all risk corridor payments. In the event risk corridor collections are
    insufficient to make risk corridor payments for a year, all risk corridor payments for that year
    would be reduced on a pro rata basis to the extent of any shortfall. However, risk corridor
    collections received the next year will be used to pay off the payment reductions issuers
    experienced in the previous year in a proportional manner, up to the point where issuers are
    reimbursed in full for the previous year, and will then be used to fund current payments. In
    addition, the regulatory guidance also provides that if any risk corridor funds remain after
    prior and current year obligations have been met, they will be held to offset potential
    insufficiencies in risk corridor collections in the next year.

    We appreciate the regulatory guidance’s flexibility in administering budget neutrality –
    including providing a mechanism to reduce or offset any payment reductions health plans
    experienced in a previous year due to insufficient risk corridor collections. At the same time,

1
  NAIC Statement on Non-Compliant Plan Extensions. March 5, 2014. Available at:
http://www.naic.org/newsroom_statement_140305_hamm_non-compliant_plan_extensions.htm
2
  Milliman memorandum on “The Risk Corridor Program and Budget Neutrality. April 11, 2014. Available at:
http://www.ahip.org/MillimanReport/Risk-Corridors41114/




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      we continue to have significant concerns with the impact that such a policy would have on
      the risk corridors program’s statutory goal of stabilizing premiums in the reformed
      marketplace.

      We believe requiring budget neutrality is contrary to the statutory requirements for risk
      corridors under the ACA, which directs the Secretary to make payments to health plans with
      risk corridors ratios above certain thresholds. 3 This direction is not qualified by any
      additional language that would restrict use of these funds. Imposing budget neutrality also
      represents a reversal from the guidance provided to health plans in the final Notice of Benefit
      and Payment Parameters for 2014, which stated that the “risk corridors program is not
      statutorily required to be budget neutral” and that “regardless of the balance of payments and
      receipts, HHS will remit payments as required under Section 1342...” 4 Changing the rules of
      the risk corridors program after premiums for 2014 have been set will increase the potential
      for market disruption and may result in higher premiums for 2015 – as plans will have no
      guarantee that sufficient funding is available to lower their pricing risk and ensure more
      affordable options for consumers.

      Implementing budget neutrality would create a situation where an issuer’s payments received
      or charges remitted under the risk corridors program could be influenced not only by that
      issuer’s experience, but potentially by the experience of all other QHP issuers in the market.
      Since an issuer cannot reasonably estimate the distribution of risk corridors transfers for the
      entire market of QHPs, issuers will face considerable uncertainty about whether or not risk
      corridors will provide appropriate protection to issuers under budget neutrality. This
      constraint has the potential to adversely affect issuers in the 2014 benefit year, and may lead
      to higher premiums in future benefit years since issuers would not be able to factor in the
      impact of the program when setting rates.

      Budget neutrality also works at cross-purposes with the risk mitigation policies that have
      already been finalized (in the 2015 Notice) as well as the additional risk mitigation
      contemplated under the proposed rule. By limiting the pool of funds to make risk corridors
      payments, budget neutrality could dampen the impact of the transitional relief the
      Department seeks to provide.

      For these reasons, we strongly recommend HHS adhere to its original guidance.

•     Adjust the risk corridors calculations for reinsurance payments to enhance the
      program’s protections and promote stability in the marketplace. Under the current
      methodology, payments a QHP receives from the transitional reinsurance program are
      deducted from “allowable costs” in the numerator of the risk corridors calculation. We
      recommend that a plan’s allowable costs not be reduced by any payments received under the
      reinsurance program. Implementing this recommendation would substantially enhance the
      protection provided for under the risk corridors program and help mitigate premium increases
      in 2015 – consistent with the Administration’s goal to stabilize the market and address risk
      pool challenges.
3
    42 USC §18062 (b)(1)
4
    78 Fed. Reg.15473.


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•     We support the framework for adjusting the risk corridors calculation across all States
      to ameliorate adverse selection in 2015. While we support the transitional relief through
      adjustments to risk corridors, we also encourage HHS to raise these thresholds above the
      proposed 22% and 5% levels. An upward adjustment in the thresholds would provide
      transitional relief that is commensurate with the significant operations and risk pool
      challenges ahead for the 2015 benefit year.

•     Lower the reinsurance attachment point for 2015 to $45,000. Similar to the change made
      to the 2014 reinsurance parameters, lowering the attachment point for 2015 will help
      moderate premium increases and promote market stability. Lowering the attachment point
      will help offset more high-cost claims and thus help reduce premiums and promote
      affordability in 2015. We anticipate that lowering the attachment point could be
      accomplished without changing the contribution rate, but also recognize the need to assure
      funding for the program (in the event that requests for reinsurance are higher than expected).
      Support for lowering the attachment point for 2015 can be found in the statutory provision
      regarding reinsurance which clearly allows for flexibility in the use of contribution amounts
      collected for any calendar year in regard to their use and allocation in any of the three years
      in which reinsurance amounts are collected. 5

•     Support the prioritization of reinsurance payments in the event that contributions are
      lower than estimated. We strongly support the proposal to prioritize reinsurance payments –
      as included in the proposed rule – as a way to help assure that the reinsurance payment pool
      is sufficient and provides the premium mitigation relief necessary to promote a stable market.

•     Remove risk corridors and reinsurance transfers from the MLR calculation. In this
      regard, we encourage HHS to refrain from adjusting incurred claims in the MLR calculation
      based on risk corridors and reinsurance transfers. Specifically, we recommend that payments
      an issuer receives from the transitional reinsurance program as well as net receipts under the
      risk corridors program not be deducted from “incurred claims” in the numerator of the MLR
      calculation. As HHS recognized in the preamble to the proposed rule, issuers have faced a
      range of “special circumstances” as part of ACA implementation. Removing net receipts
      under the risk corridors and reinsurance payments from the MLR calculation as described
      would more accurately reflect the “special circumstances” that issuers have faced during the
      initial open enrollment period – including higher-than-anticipated spending on administrative
      costs.

In addition to these recommendations, we encourage the Department to finalize details of any
additional transitional relief as soon as possible. Issuers will soon be submitting rates for the
2015 benefit year and will need adequate time to incorporate any changes to the premium
stabilization programs into 2015 rates.




5
    42 USC §18061 (b)(4)


                                                   6
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Sequestration
The proposed rule notes that, per the Administration’s sequestration report, risk adjustment and
reinsurance will be subject to 7.3 percent sequestration in FY 2014. This amounts to sequestered
funds totaling $247 million for the risk adjustment program and $731 million for the reinsurance
program.

In consultation with the Office of Management and Budget (OMB), HHS has determined that
while these programs are subject to the sequester, any sequestered funds can be made available
to plans at the beginning of FY 2016 (i.e., beginning in October 2015). HHS has indicated that
additional details on how this process will work are forthcoming.

While we appreciate HHS’s commitment to ensuring that full payments are made as soon as
possible, delaying the full payment of risk adjustment and reinsurance funds raises significant
timing and operational concerns. We urge the Department to outline the details of this process as
soon as possible so that issuers can make necessary adjustments to appropriately account for this
delay. In addition, while we appreciate the commitment regarding the making of full payments,
as part of outlining the details of implementation for sequestration, we think it is important that
HHS provide further mitigations related to sequestration as part of implementation. For example,
HHS should clarify that its proposal to prioritize reinsurance payments should contributions be
lower than estimated would apply in the case where sequestration is the cause of such a shortfall,
even given HHS’s commitment that such a shortfall is only temporary in nature.

Extension of Good Faith Safe Harbor to 2015

AHIP, and its members, appreciated the recognition in the Exchange, SHOP, and Eligibility
Appeals Final Rule (“Exchange Rule”) that 2014 was a transition year warranting a decision not
to impose civil monetary penalties (CMPs) or decertification for non-compliance with certain
Exchange requirements if a QHP issuer has made good faith compliance efforts. A parallel safe
harbor was later provided for enforcement actions related to risk adjustment and reinsurance.
HHS acknowledged that, at the appropriate time, it would consider an extension of this approach.

2015 remains a transition year because of the number of operational processes and policies that
remain outstanding. HHS is still working on processes for back-end FFM functionality,
processes for SHOP, automated change of circumstances processes, the distributed data model
for risk adjustment, processes for reinsurance, automated payment systems for health plans, and
a host of other projects and processes. While QHP Issuers are actively monitoring their own
compliance with current applicable FFM standards and guidance, the sheer volume and
magnitude of new technology, processes, and procedures to come will result in 2015 remaining a
transitional year. An extension of the good faith safe harbors through 2015 would reinforce
HHS’ commitment to an effective partnership between the Marketplace and FFM issuers that
recognizes the joint efforts to promote an effective consumer-oriented Marketplace of affordable
quality choices. This approach also sends a positive signal to issuers considering entering the
FFM in 2015 or expanding their QHP offerings.




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Recommendations:

In order to promote stability of the program and a focus on a successful 2015 enrollment season,
we urge HHS to extend this good faith compliance approach by regulation through the end of
2015 for both Exchange standards and for risk adjustment and reinsurance. Additionally, we urge
HHS to reinforce its commitment to this policy of good faith compliance throughout the 2015
application process, including attestations, and within the 2015 QHP issuer agreements.

We also ask for an addition to the regulatory language to clarify that the good faith safe harbors
apply for conduct related to the 2014 and 2015 benefit years. This clarification would make
clear, for example, that: (1) conduct that occurs before or after these years, but relates to these
years is covered by the safe harbor (e.g., a QHP Issuer’s good faith conduct during open
enrollment beginning October 1, 2013) and (2) the safe harbor applies to enforcement actions
initiated after these benefit years (e.g., in 2016 for conduct occurring in good faith in 2015).

Market Wide Standards (Parts 146, 147 and 148)

Guaranteed Availability (§147.104) and Guaranteed Renewability (§147.106) Amended for
Certain Coverage
These rules clarify that nothing in the guaranteed availability or renewability requirements
requires an issuer to renew or continue coverage if providing that coverage is prohibited under
applicable Federal law.

Recommendations:

We do appreciate the clarification that guaranteed availability and renewability provisions are
subordinate in situations where there is specific conflicting statutory language in Federal law.
This clarification is helpful, and we believe it should be finalized with some additional
clarifications. We suggest that the final rule include a full list of current Federal prohibitions on
the sale of coverage that would over-ride the guaranteed availability and renewability rules. The
added clarity is needed for issuers to ensure compliance with this rule and so that issuers,
Exchanges, State regulators, and HHS can effectively manage any complaints or appeals from
consumers who were denied coverage due to one of the cited Federal prohibitions. If this
clarification only applies to Medicare enrollees, that should be clearly stated. We also seek
clarification on situations where the Exchange sold coverage to individuals who are also enrolled
in Medicare and recommend HHS consider adding additional questions within the eligibility
application to prevent individuals from receiving subsidies who are also enrolled in Medicare.

We also appreciate the example provided regarding section 1302(e) catastrophic plans, which
confirms that once an individual fails to meet the eligibility criteria at the time of renewal he or
she is no longer eligible to purchase that particular product. It would appear that the same logic
would apply to non-SHOP (outside the SHOP) group business in situations where the employer
no longer meets the eligibility requirements because of a change in group size from the original
effective date and renewal. Inclusion of this clarification would address one area of misalignment
related to group size in the SHOP versus non-SHOP marketplace where carriers are required to
renew existing policy forms irrespective of the employer group’s size at the time of renewal but



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simultaneously apply accurate group size for purposes of other Public Health Service (PHS) Act
and the ACA provisions. In such situations, employers in the non-SHOP marketplace would
continue to have coverage options on a guaranteed available basis but it would be aligned with
their group size definition.

Product Withdrawal and Uniform Modification of Coverage (§§146.152, 147.106 and
148.122)
The rule includes new standards regarding certain modifications and what would constitute
uniform modifications or the withdrawal of the existing product and creation of a new product.
Modification made solely pursuant to Federal or State law requirements — such as increases in
annual limits on cost-sharing — would be considered modifications rather than product
withdrawals. Modifications not required by law would be considered modifications of coverage
if they met all of the following criteria:

   •   the product is offered by the same insurer;
   •   the product is the same product type (e.g., Preferred Provider Organization or Health
       Maintenance Organizations);
   •   the product covers the majority of the same counties in its service area;
   •   the product has the same cost-sharing structure, except for variations in cost-sharing
       related solely to the utilization or cost of medical care or necessary to maintain the same
       metal level of coverage; and
   •   the product provides the same level of covered benefits, except for changes in benefits,
       not attributable to legal requirements that cumulatively affect the rate for the product by
       no more than 2%.

Recommendations:

Product vs. Plan – While the proposed criteria provide health plans with the needed flexibility to
make necessary changes to plans based on the early experience of 2014 enrollees, we
recommend HHS provide several clarifications. While generally throughout the market rules
HHS refers to products when talking about packages of benefits offered to consumers, in this
case we recommend that the references to “product” under this section are changed to “plan.” A
product is a package of benefits that is reported to State regulators in an insurance filing and
constitutes many unique plans with different cost sharing structures. A plan is the discrete
pairing of a package of benefits and cost sharing. Referring to plans is more appropriate given
the focus on unique plans including QHPs. An unintended consequence of leaving the reference
to products is that issuers would not have the flexibility to modify single health insurance plans
within a product family and thus would be required to withdraw entire sets of plans that
constitute a product. This may have the unintended consequence of a significant number of
product discontinuations, contrary to the proposal’s stated intent.

Changes Pursuant to Federal and State Law – In the proposed rule, modifications made solely
pursuant to Federal or State law requirements — such as increases in annual limits on cost-
sharing — would be considered modifications rather than product withdrawals. As HHS defines
the impact of State and Federal law on 2014 plans, health insurance issuers may have to make
broad changes to the design of the plan, depending on the Federal or State law. We recommend


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that these changes are considered appropriate so long as the modification is being made in
response to Federal or State regulatory requirements. For example, increases due to Essential
Health Benefits (EHB) modifications (such as adding in the pediatric dental EHB on-exchange),
State-mandated benefits, or to ensure benefits continue to fall within the same metal tier due to
changes in the Actuarial Value (AV) Calculator should be excluded from the 2% rate increase
threshold.

With regard to Stand-Alone Pediatric Dental (SADP) benefits, we recommend that HHS clarify
the requirements for recertification. In the preamble, HHS indicates that the guaranteed
renewability requirements do apply to SADP plans. While HHS states that issuer modifications
made solely pursuant to Federal or State law requirements would be considered modifications
rather than product withdrawals, the changes prescribed in the 2015 Payment Notice and the
resulting AV calculation will move plans from what HHS considers to be a low percentage in
2014 to a high percentage in 2015. After taking into account the 2015 out-of-pocket maximums
for SAPD and tweaking deductibles, this will impact the AV calculation even though consumers
will likely want to remain enrolled in the same plan. We recommend that these changes are
viewed as a plan renewal and not a discontinuation.

Service Area - HHS has proposed that, in order for a product to have uniform modification of
coverage, the product would have to cover a majority of the same counties in the service area.
We recommend that HHS only focus on reductions in service area, not expansions. For changes
in service area that qualify as a uniform modification, some consumers who live in the impacted
service area will be unable to renew their plan. As discussed below, we recommend these
consumers be afforded the option to automatically migrate to a similar plan to ensure continuity.
These transitions are common in the commercial market and Medicare Advantage today and will
ensure an optimal consumer experience.

Because network rating is not permitted in 2015, QHP issuers may be required to discontinue a
QHP in order to develop plans that reflect the network relativity for a particular service area,
even though the same service areas are covered. In other words, one QHP in 2014 may be
multiple QHPs in 2015 due to the elimination of pricing for network by service area. As a result,
QHP issuers will be required to send discontinuation letters and consumers will have to re-enroll
in ‘new’ QHPs even though the benefit plan and network of their 2014 QHP may not have
changed, and in total, the same service areas are covered. We recommend that HHS recognize
the impact of these changes – at least in 2015 – both in policy and operational ability by
implementing a cross-walk approach by which one 2014 QHP may be linked to multiple 2015
QHPs. The service area evaluation should then be made in total and not by evaluating single
QHPs created for this purpose. Even if a uniform modification approach is used, the QHP
templates will have to include a cross-walk in order to ‘renew’ members into the same plan
without requiring a new enrollment. Additionally, in the case of current plans that use one or
more networks which are now required to be re-filed as separate plan identifiers (IDs) for each
plan network, we ask that those be treated as uniform modification and not as plan withdrawals,
which would have unintended adverse affect on consumers.

State Preemption - In §146.152(f)(3) HHS proposes that States may establish criteria that only
broaden – but not restrict – the definition of uniform modification of coverage. We support this



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provision so that the Federal requirements will serve as the most restrictive and States could
allow for additional flexibility so that plans could make additional modifications to the plans.

In addition, we recommend that HHS clarify that preemption of State law means that issuers are
allowed to make additional changes to plans that are not pursuant to Federal or State law or are
necessary to maintain AV values. Issuers routinely evaluate their benefits offered and make
modifications based on consumer requests or new medical evidence. For example, in some States
issuers are allowed to modify individual policies to the extent required by State or Federal law or
to stay in step with EHB requirements. However, those issuers are not allowed to add additional
benefits or remove benefits (for example, if a treatment is no longer recognized as medically
appropriate). Thus, such policies cannot be updated. Instead, issuers must create another plan just
like the first one, build the change into that second plan, and then maintain both plans going
forward. Such an approach is not practical and would not seem to be in keeping with the
guidance. We recommend that benefit updates not contrary to EHB requirements should be
specifically identified as permissible under the uniform modification requirements. As a result, in
States where the withdrawal of a plan is presently prohibited in all circumstances, the issuer
would not have to keep offering the obsolete plan in the future.

Required Notices - We have provided separate comments on the content of the draft “Notices
When Discontinuing or Renewing a Product in the Group or Individual Market,” and we strongly
recommend that HHS revisit its approach. The requirements have the potential to significantly
confuse consumers, as they would potentially receive multiple, uncoordinated notices generated
as a result of Federal or State requirements, in addition to the notices that will be sent by the
Exchange. We therefore recommend that any new Federal notice requirements for plan
discontinuation or renewal should take effect for plan years that end on or after December 31,
2014.

We are also concerned that requiring a standard notice form for plan renewals and withdrawals
interferes with effective communication methods already developed by many issuers and
regulated by States’ Departments of Insurance or Managed Health Care. Currently, plans have
the flexibility to design notices that are appropriate based on the specific scenario facing each
individual enrollee and thus provide actionable steps in plain language. In contrast, the
standardized notices proposed by HHS are overly prescriptive and do not provide plans the
flexibility to include additional language and tailor to specific circumstances. For example, the
notices don’t currently include member specific actionable dates, allow for enrollee migration to
a similar plan, or consumer-specific information on how to get help – including, but not limited
to, issuer phone number, website or email address and State-based exchange contact information.
Allowing issuers to modify dates and to tailor notices will allow issuers to reflect applicable
deadlines for the market (on or off exchange) and State and to the timing of discontinuation. It is
important to note that open enrollment deadlines and interpretations of special enrollment period
effective dates fluctuated a great deal in 2014. Issuers are best positioned to understand how
various deadlines relate to a specific member, and State regulators are best positioned to provide
oversight to make sure appropriate dates are communicated to consumers. Thus, an approach that
allows for flexibility in the consumer notices – versus fixed dates – will best serve consumers.




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Standardized notices cannot be updated quickly enough to reflect changes in the Exchanges or
include specific, actionable information for enrollees. With regard to Exchange enrollees, as
discussed in our comments on §155.410 regarding Initial and Annual Open Enrollment Periods,
we have concerns about notices being sent to QHP enrollees advising of plan changes
independent of the required notices that the Exchange will be sending all enrollees. Such
multiple notices have the effect of confusing—rather than assisting – consumers.

Thus, we strongly recommend that HHS continue to allow issuers – working with States – to
develop and issue these notices as is done today. However, if HHS requires standardized notices,
we ask that HHS make the following changes to the requirements:

•   HHS should clarify to whom the notices must be distributed. We recommend they are
    provided only to primary policyholders in the individual market and plan sponsors (i.e.,
    employers) in the group market. State regulators generally allow one notice to be addressed
    to a family, and we recommend that HHS align its requirements with current practice. In the
    group market, employers (not issuers) should be responsible for notifying their employees as
    they are in the best position to explain the changes and the impact on them (i.e., the employer
    may be selecting a new plan with the same or different issuer that offers the same benefits).

•   HHS should provide model language rather than standardized language for the entire
    notice. We recommend that HHS provide model language on the general types of
    information that must be included, similar to how the process works in Medicare Advantage.
    This will minimize unnecessary health plan call volume when consumers receive notices that
    are unclear and uncoordinated with other notices and ensure they include actionable
    information.

•   HHS should defer adoption of Federal notice requirements for plan discontinuation or
    renewal until plan years that end on or after December 31, 2014. Any new notice
    requirements require considerable lead-time so that health plans can complete their IT
    requirements. As such, any new notice requirements must be finalized as soon as possible.

Continuity for Consumers - In the case where an issuer is withdrawing a plan or making
reductions to a plan’s service area, we recommend that the consumers have the option of being
automatically migrated to a similar plan. The health plan would include information about this
option in their notice to the policyholder or plan sponsor and would “auto-map” the terminating
plan to the similar plan. While this option would require additional work by both issuers (and in
the case of QHPs the Exchange), this would be an ideal process for the consumer who would
have to take no affirmative action to remain covered. Auto-migration would also aid the
transition of individuals between plans (that are the same) even if the plan has a different HIOS
ID due to technical reasons. In these scenarios, we recommend that issuers have the option to
link existing HIOS IDs to new HIOS IDs. Operational considerations warrant further discussions
as part of a larger discussion regarding the global redetermination/renewal process. One potential
model is the Medicare Advantage redetermination program to the extent it is applicable to the
commercial market. We would welcome clarification on the methodology behind “auto-map” for
the enrollee, (e.g., the plan closest based on price or based on set of benefits most akin to the
plan that is no longer available).


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Finally, it is critical that HHS finalize the guaranteed renewability requirements as soon as
possible given many State 2015 filing deadlines may pass prior to the publishing of the Final
Rule. Additional flexibility should be afforded in these situations so plans do not have to re-file
plans or make major changes at a later date.

Fixed Indemnity Insurance in the Individual Health Insurance Market (§148.220)
The Proposed Rule revises the current regulatory criteria regarding when an individual fixed
indemnity insurance product may be considered a HIPAA excepted benefit by (1) eliminating the
current requirement that payment be made on a per-period basis and not on a per-service basis,
(2) imposing a new requirement that fixed indemnity insurance be sold only as secondary to
other health coverage that meets the definition of “minimum essential coverage” (MEC), and (3)
requiring a disclosure that the coverage is not a substitute for MEC and that lack of MEC may
result in an additional tax payment. The requirements would become effective for policy years
beginning on or after January 1, 2015. In other parts of this comment letter, we have raised the
broad concern about HHS and other agencies issuing guidance and then subsequently changing
articulated policies. We note that this proposed rule is such an example as it would supersede
HHS policy released in the form of a “frequently asked question” in January of 2013 and
modified in January of 2014.

AHIP appreciates the opportunity to respond to several of the important questions posed in the
preamble. Additionally, while AHIP is not expressing a position for or against the requirement
that fixed indemnity be sold only as supplemental to MEC, there are several policy and
operational issues that the industry agrees are important for HHS to take into account as the
Department considers this proposed rule.

Recommendations:

   •   We support the concept of clear disclosure to potential purchasers of individual
       fixed indemnity coverage that such coverage is not MEC. We suggest flexibility with
       respect to conveying this information. The proposed rule prescribes the following
       disclosure language in plan materials: “This is a supplement to health insurance and is not
       a substitute for major medical coverage. Lack of major medical coverage (or other
       minimum essential coverage) may result in an additional payment with your taxes.” We
       believe this language may be confusing to consumers since it could imply that the
       purchase of the fixed indemnity product could affect their tax status. Given the fact that
       there have been several policy changes in the past year related to extension of non-ACA
       compliant policies and hardship exceptions, we believe that disclosures that specify when
       a person might or might not be subject to a tax penalty may be inaccurate. Ideally we
       would prefer that the rule allow for flexibility on the part of the insurer as to how the
       disclosure may be worded.

       Alternatively, we suggest that the required language be modified to more clearly convey
       that the purchase of the fixed indemnity coverage is not MEC as required under the



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    Affordable Care Act as follows: “This is a supplement to health insurance and is not a
    substitute for major medical coverage. It does not count as Minimum Essential Coverage
    under the Affordable Care Act.”

•   Essential Health Benefit (EHB) coverage should not be the standard for fixed
    indemnity product sales. In the preamble, HHS seeks comments on whether the
    requirement for individuals to have MEC in order to be sold fixed indemnity insurance
    should be further limited only to those that have essential health benefit (EHB) coverage.
    We strongly believe that the MEC standard should not be narrowed further because the
    individual mandate to secure minimum essential coverage is the standard that is being
    applied across all health insurance markets. The requirement for EHB does not currently
    extend to large or midsize groups, self-funded plans, grandfathered plans or non-ACA
    compliant transitional coverage that is allowed in many States to continue through 2016
    and beyond. To limit the sale of individual fixed indemnity policies only to those that
    have secured insurance that contains the ACA-required EHBs severely limits the number
    of people to whom these products may be sold, and deprives a large majority of
    Americans of access to the important financial protection offered by fixed indemnity
    products.


•   We support adoption of an applicant attestation as the method by which an insurer
    is reasonably assured that potential purchasers have MEC. In the preamble, HHS
    seeks comments on the extent of verification issuers should require from applicants to be
    “reasonably assured” that they have minimum essential coverage, including whether an
    attestation in the application is sufficient. We note that HHS has found attestation to be
    appropriate and sufficient in a number of instances in which consumers must prove their
    eligibility for programs or exemptions from ACA requirements. Examples include
    individual income level reporting for purposes of seeking subsidies, qualification for a
    hardship exemption from the individual mandate requirement, and State flexibility to
    allow individuals to attest that they have purchased pediatric dental coverage.

    The method by which issuers may be "reasonably assured" of existing coverage must be
    flexible enough to recognize the difficulty that an issuer will face in gaining knowledge
    of the insured status of each individual, as well as the variation in how products are sold
    and delivered, in order to not unduly hinder or delay product availability or policy
    issuance. AHIP requests that HHS require a self-attestation above the signature line of the
    fixed indemnity product application. We also request that it be clearly conveyed in the
    final rule that the insurer is not to be held responsible for ongoing monitoring or
    verification of the insured status of each customer.

•   We recommend that the language of the regulation reflect the decision to allow for
    attestation as the method of reasonable assurance of MEC coverage status. Section
    “(4)(i)” of the proposed rule provides that supplemental benefits are “provided only to


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       individuals who have other health insurance coverage that is minimum essential coverage
       within the meaning of section 5000A(f) of the Internal Revenue Code.” If this rule is
       finalized, we request that this language be changed to reflect that attestation is the method
       by which the customer assures that they have MEC. We suggest that the rule language be
       amended as follows: “... provided only to individuals that attest that they who have other
       health insurance coverage that is minimum essential coverage within the meaning of
       section 5000A(f) of the Internal Revenue Code.”

   •   We request that HHS allow for adequate time for insurers and State regulators to
       implement this regulatory change. HHS asks for comments on whether the effective
       date of “policy years beginning on or after January 1, 2015” gives enough time for
       transition. We appreciate HHS's recognition of the time and effort that will be required of
       issuers and State regulators for the filing and review of all individual fixed indemnity
       products. We are concerned that a January 1, 2015 effective date is unrealistic in light of
       the time needed for filing new products and applications, as well as the regulatory load
       for State insurance departments in the coming months as they are also reviewing filings
       and rates for qualified health plans, non-Exchange major medical products and all other
       insurance products to be sold in 2015. We therefore request that the effective date be
       changed to “one year from the date this rule is finalized,” to allow both issuers and
       regulators sufficient time to complete these processes.

       In order to allow consumers to keep current coverage without requiring insurers to cancel
       policies, the proposed regulation correctly applies only to sales after a certain date. Such
       an approach also recognizes that current customers have purchased their coverage on a
       guaranteed renewable basis. We are concerned that describing the effective date using the
       words “policy years on or after” could be interpreted to mandate that carriers ask current
       policy holders whether they have a plan that meets MEC. We suggest that the effective
       date of this provision of the rule be “for policies issued after the one year anniversary of
       the date this rule is finalized.”


Exchange Establishment Standards (Part 155)

Payment of Premiums (§155.240)
With respect to enrollments lasting less than a full month, in order to provide flexibility for
Exchanges to establish a standard methodology for partial month premiums or for issuers to
prorate premiums in accordance with State law, the proposed rule would allow Exchanges to
establish one or more standard processes for premium calculation. Although we support this
flexibility, each different methodology will require differing system updates.

Recommendations:

We recommend the final rule clarify whether the proration of premium would apply to the first
month’s premium (in the case of a newborn). If plans are permitted or required to accept prorated


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premium payments for partial first months, we recommend that this prorated payment satisfy the
“one month’s premium” requirement under the three month grace period.

For the FFE, HHS proposes that the premium for coverage lasting less than a full month must
equal the product of the premium for one month of coverage divided by the number of days in
the month and the number of days for which coverage is being provided, the same method that
was adopted for the FF-SHOP in the Payment Notice as well as the Internal Revenue Service
Proposed Rule on the Minimum Value of Employer-Sponsored Plans. 6 HHS has indicated that it
intends to work closely with QHP issuers to implement this provision as soon as is reasonably
possible. Partial coverage months have been occurring since early February when the voluntary
termination and “Report a Life Event” functionality was implemented at the FFM. Issuers have
already invoiced members for subsequent months based on current guidance and it would be not
practicable to implement this policy on a retroactive basis. Implementing new proration
methodologies will result in changes to billing systems that will take considerable lead-time to
implement. We recommend that this new methodology take effect for the 2015 benefit year and
that for months prior to 2015 issuers continue to have the flexibility to use their own proration
methodology or not prorate payments.

Initial and Annual Open Enrollment Periods (§155.410)
Due to the delay in the start of open enrollment period (OEP) from October to November, in the
preamble at 79 FR 15838, HHS solicits comments on a revised schedule for sending consumers
written notice of the annual OEP and annual redetermination of coverage. The two options
currently being considered include: (1) shifting the period during which the notice would be sent
by a month, so it would be sent no earlier than October 1 and no later than October 31; and (2)
extending the period during which the notice would be sent out so that the notice would be sent
no earlier than October 1 and no later than November 15, provided electronic notices are
available for any consumer who contacts the Exchange on November 15.

Recommendations:

The design of a consumer friendly process for the 2015 open enrollment process is critical. The
OEP will introduce new complexity including redeterminations of eligibility, auto-renewals, as
well as continued support for special enrollment periods throughout the OEP. We look forward to
working with HHS as it begins its design and implementation of these processes.

Need to Reconsider Overall Timeframes for Notices
It is very important that enrollees have access to their redetermination amounts well before the
start of 2015 open enrollment. We recommend that HHS not alter the time frames for the notice
of annual OEP redetermination timeframes and keep the September 1 – September 30 dates as
specified in §§155.335 and 155.410. Following the Exchange notice in late September informing
them of the upcoming OEP, enrollees have 30 days to report additional information that may
affect their eligibility status. Then HHS has to calculate and notify consumers of the
redeterminations in a timely fashion which we recommend should happen prior to the start of the
open enrollment period on November 15, 2014.


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As HHS considers regulatory changes for the timing of the Exchange provided notices, it is
important to coordinate their release with the notices health insurance issuers will be required to
send around the same time. Existing Federal and State laws require health insurance issuers to
send a notice of discontinuation 90 calendar days prior to the discontinuation. Health plan
notices will be going out around October 1, 2014 for changes that take effect on January 1, 2015.
In §§146.152, 147.106 and 148.122, HHS proposes that issuers send notices of renewal of
coverage. Given that these provisions apply to QHPs, if the Exchange notices are pushed back to
late October or early November and the Exchange’s redetermination process will not yet be
complete (which will include changes to Advance Payment Tax Credit (APTC) amount and Cost
Sharing Reduction (CSR) level), enrollees will not understand the combined impact of the plan’s
proposed changes along with their new subsidy amount. Health plan notices will not provide the
full information to the consumer about their options because the information will not be
available. As a result, there will be major consumer confusion and calls to both the Exchange and
health plan prior to and during the open enrollment period.
We are also concerned about the delay in the release of final rate information. This delay in the
release of the cost of the individual market second lowest cost silver plan will require many
APTC recipients to have a change in tax credit amount even if their income did not change. For
the FFM, while the Final 2015 Issuer letter indicates in Table 1.1 that, “all dates are subject to
change,” we would recommend that the final QHP agreement timeframes are pushed forward
closer to the data lockdown date (September 22) in order to provide HHS with more time to
determine the second lowest cost silver plan and run the eligibility redeterminations required by
existing regulation.

Additional Consumer Challenges
Finally, additional challenges may be posed by having the open enrollment period extend the
beginning of the coverage year until February 15 which emphasizes the importance of starting
the notice process as soon as possible. To minimize gaps in coverage for existing enrollees it will
be important for them to make any new plan selections by December 15 to ensure their new
coverage is effective on January 1. Thus for existing enrollees the OEP is essentially one month.
The Exchange should avoid situations where an enrollee’s existing coverage renews in January
(with any impacted changes to APTC and CSR reflected in January 2015), and then the enrollee
makes a plan selection on February 15 that is effective on March 1. We note that all individual
market plans currently end on December 31st and restart on January 1st and we recommend
existing enrollees not have the option of changing their plan after the effective date of January
1st.
As HHS begins planning for 2015, it will be important to both balance its operational and system
functionality surrounding the redetermination calculations and any associated notice
requirements with the overlapping Federal and State notice requirements. We are also concerned
about reports from some State-based Exchanges that the FFM will not have the capability to
conduct a bulk redetermination of eligibility for existing enrollees in order to create notices. We
understand that HHS is considering an approach where each individual must log-on to their
account separately to learn their new APTC amount.

We look forward to working with HHS on alternative designs of the redetermination process that
makes it as easy as possible for consumers to get their new subsidy amounts and remain in their


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current plan if they choose to do so and have the updates communicated to the issuer in a
streamlined manner. We also ask that the FFM consider the ability to support plan migration that
was discussed earlier in our comment letter. In the case where an issuer is withdrawing a plan or
making reductions to a plan’s service area, we recommend that the consumers have the option of
being automatically migrated to a similar plan to ensure continuity.

Special Enrollment Periods (§155.420)

Birth /Adoption SEP (155.420(b)(2)(i))
With regard to special enrollment periods (SEPs), HHS proposes flexibility with respect to
coverage effective dates in the case of birth, adoption, or placement for foster care. While the
proposed rule would maintain the requirement that the Exchange ensure coverage is effective for
a qualified individual or enrollee on the date of birth, adoption, or placement for foster care,
Exchanges would be permitted to allow the qualified individual or enrollee to elect a later
coverage effective date.
Recommendations:

As part of any regulatory changes to the SEPs included in the Exchange regulation it is
extremely important that the FFM implement the full functionality to support SEPs. The current
interim approach is a manual process and, as a result, error-prone, labor intensive and has
negatively impacted consumers. For example, the interim process does not support accurate
premium calculations in the case of a recent birthday, cost sharing plan variation changes,
proration of premium and APTC for newborns and deaths, removal of an individual from a
dental but not the medical policy and vice versa, as well as support for dependents who are aging
off their parent’s policy. It is critical that HHS make this functionality available prior to the next
open enrollment period.

With regard to the birth/adoption SEP, we support additional options for the effective date of
coverage, so long as the effective date for this later election is no later than the first of the month
following the occurrence of the qualifying event. We also seek clarification regarding the
intersection of the birth/adoption SEP and State laws where issuers are required to cover the first
30 days of enrollment.

We also recommend that HHS revise the APTC effective dates when a newborn is being added to
the policy. Currently, the APTC is effective on the first of the next month which is consistent
with current IRS regulations. The IRS has proposed changing this practice by “providing that a
child enrolled in a qualified health plan in the month of the child’s birth, adoption or placement
with the tax payer for adoption or in foster care is treated as enrolled as of the first day of the
month” and thus would be able to receive APTC this first month. 7 While IRS has not yet
finalized this rule, the preamble to the proposed rule did note that “(t)hese regulations are
proposed to apply for taxable years ending after Dec 31, 2013. Taxpayers may apply the
proposed regulations for taxable years ending before January 1, 2015.” 8 We urge HHS to provide
clarification on this issue in the Final Rule.

7
    78 Fed. Reg. 78913
8
    Ibid.


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Individual Market Policy (§155.420(d)(1))
The rule proposes to expand the SEP for loss of minimum essential coverage to permit qualified
individuals and dependents enrolled in a non-calendar year individual insurance policy in 2014
to enroll in an Exchange plan, even if their existing policy is renewing. As a result, individuals
enrolled in such policies would be allowed to switch directly to Exchange coverage rather than
renewing the current policies.

Recommendations:

HHS has the authority under the final Market Rules to implement this SEP for Exchange
enrollees without any additional regulatory changes. By creating a separate Exchange specific
SEP, there will be a disparity between the on-Exchange and off-Exchange markets for 2014. The
final Market Rule at §147.104(b)(2) provides a limited open enrollment period for individuals
enrolled in non-calendar year individual health beginning on the date that begins 30 calendar
days prior to the date the policy year ends in 2014 for a total of 60 days. Under the new
Exchange-specific SEP, individuals would have 60 days to enroll in an Exchange plan prior to
renewal, but only 30 days prior to enroll in an off-exchange plan. More simply stated, we
understand that both on and off exchange plans are supposed to have the same SEP windows and
effective dates, and the proposed rule creates conflict because the SEP window and effective
dating rules in proposed §155.420 conflict with those specified in §147.104(b)(2) that pertain to
this SEP. This would be extremely challenging for health insurance issuers to provide clear
guidance to their enrollees who may be interested in comparing Exchange and non-Exchange
options. We recommend that HHS instead implement this existing market-wide SEP and modify
the existing eligibility application by revising the question related to the loss of minimum
essential coverage. The new question(s) should capture those individuals who have an individual
market policy that is being renewed, in addition to those that are losing coverage to ensure both
categories of individuals can qualify for a SEP.
Loss of Eligibility for Pregnancy Related Services
The proposed rule would allow women who lose eligibility for coverage of pregnancy-related
Medicaid services and their eligible dependents to enroll in a new QHP. While most scenarios
would be addressed by the existing newborn SEP, we recognize there are situations where this
scenario would occur and impacted individual should be granted an SEP.

Loss of Minimum Essential Coverage (§155.420(d)(1))
The rule provides eligibility for an SEP up to 60 days prior to the end of a qualified individuals
or his or her dependent’s existing coverage. Under this proposed change the total length of the
SEP would be 120 days (60 days prior, 60 days post). We recommend that HHS emphasize the
importance of electing the SEP prior to the loss of coverage to minimize any gaps in coverage so
the Exchange coverage is effective the day following the lost of MEC. However, we recognize
that there are situations where individuals will not have sufficient advance notice to make the
change in advance.

SEP Effective Dates
The existing regulations provide that certain SEPs (marketplace error, QHP issuer contract
violation, exceptional circumstances) can have effective dates based on an “appropriate date


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based on the circumstances of the SEP in accordance with Guidance issued by HHS.” 9 In the
proposed rule, HHS proposes to add the existing SEP related to “errors, contract violations and
exceptional circumstances and misconduct by a non-Exchange entity providing enrollment
assistance.”

Recommendations:

Within the FFM, the variations in effective dates (both prospective and retroactive) have caused
significant operational challenges and manual work for health plans and confusion for
consumers. Often consumers are granted any effective date they request with a corresponding
SEP that permits such a change. In addition, consumers who are granted retroactive SEPs related
to errors often don’t want retroactive coverage given the premium implications. We ask that HHS
define and consistently apply effective dates and lengths of SEPs, rather than leaving it up to the
discretion of individual case managers, which is likely to result in inconsistent and even arbitrary
application across enrollees. Further, we recommend that the list of specific SEPs defined in the
March 26, 2014 “Guidance for Issuers on Special Enrollment Periods for Complex Cases in the
Federally-facilitated Marketplace after the Initial Open Enrollment Period” under paragraphs
(d)(4), (d)(9), and (d)(10) of §155.420 is limited to the first year of Exchange operation and not
continued in future years. 10 The need for several of these SEPs will be negated by improvements
in the Exchange functionality.

Voluntary Termination
The rule clarifies that voluntary termination does not qualify an individual for a loss of coverage.
The preamble notes this clarification is to prevent people from using voluntary termination as a
way to switch from one plan to another without an SEP. We support this change.

Termination of Coverage (§155.430)
The proposed rule clarifies the difference between terminations, cancellations, and
reinstatements. For retroactive terminations of coverage, HHS would adjust any applicable
payments to the original QHP issuer to recoup any APTC and CSR payments made to the issuer
and ensure the former issuer refunds or credits any premium paid by the enrollee, reversing claim
payments, and ensuring refunds for out-of-pocket payments. For retroactive effective dates, HHS
will provide the new issuer any applicable APTC or CSR payments based on the retroactive
effective date.

Recommendations:

We support the new definitions for terminations and cancellations to codify the existing practices
included in the enrollment standards. We also support the inclusion of a definition for
reinstatement. There were numerous technical issues during open enrollment (e.g., incorrectly
applied premium payments) that could have been quickly addressed if health plans had the
option to do reinstatements. Given the limited nature of retroactive effective dates that result in a

9
 45 CFR §155.420(b)(2)(iii)
10
  CMS Affordable Exchange Guidance for Issuers on Special Enrollment Periods for Complex Cases in the
Federally-facilitated Marketplace after the Initial Open Enrollment Period. March 26, 2014. Available at:
http://www.cms.gov/CCIIO/Resources/Regulations-and-Guidance/Downloads/complex-cases-SEP-3-26-2014.pdf


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termination, we recommend HHS not include specific guidance for issuers in Part 156. In
addition, the current language referring to “premiums and claims” is too vague and could be
misinterpreted.

Navigator Program Standards (§155.210) and Certified Application Counselors (§155.225)
HHS specifically requests comments on alternative compensation approaches for Navigators and
Certified Application Counselors that build in rewards for performance without risk of
unintended consequences and improper conduct.

Recommendations:

AHIP supports the proposed prohibition of compensating Navigators and Certified Application
Counselors on a per-application, per-individual assisted, or per-enrollment basis. Such a
compensation approach, while used in the first year in some States, could have unintended
consequences or opportunity for improper conduct, and should not be permitted moving forward.
Other alternative compensation approaches that reward performance could be team – based
initiatives to meet goals that focus on increasing the number of client visits scheduled and
completed in a given week, especially those that are focused on meeting with or increasing
enrollment of uninsured populations or other unique demographics.

AHIP also supports the prohibition on Navigators and Certified Application Counselors charging
for services performed in connection with their navigator or application duties. We also support
the restriction on providing gifts unless they are of nominal value, and strongly recommend that
gift cards or cash should be prohibited, regardless of the amount.

In addition, with regard to soliciting consumers for application or enrollment through direct
contact (e.g., going door-to-door), we suggest that is generally an ineffective approach that
should be discontinued. Finally, having Navigators maintain a physical presence in the Exchange
service area to provide face-to-face assistance to consumers is also preferred.

Privacy and Security of Personally Identifiable Information (§ 155.260) and Bases and
Process for Imposing Civil Money Penalties for Provision of False or Fraudulent
Information to an Exchange or Improper Use or Disclosure of Information (§155.285)
The preamble of the final 2015 Notice of Benefit and Payment Parameters explained that HHS
would not exclude QHP Issuers from the definition of non-Exchange entities for purposes of
§155.260, but would instead provide that any entity that gains access to personally identifiable
information (PII) submitted to an Exchange or accesses PII directly from individuals should be
considered a non-Exchange entity. An Exchange, however, has the flexibility to tailor privacy
and security standards to non-Exchange entities so long as those standards remain in compliance
with §155.260, including deeming these entities to be in compliance by virtue of adherence to
the HIPAA Privacy Security and Breach Notification rules (the “HIPAA rules”) if the Exchange
determines that these rules meet a threshold level, outlined in the preamble. HHS notes that it
“intends to issue guidance that will address in greater detail the applicability of the HIPAA
Privacy, Security, and Breach Notification Rules and the additional limitations on use and
disclosure of PII in section 1411(g) of the Social Security Act.”




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The Proposed Rule sets out the process for applying penalties under section 1411 of ACA. This
penalty process is different than the existing enforcement process under the HIPAA rules. Unless
the HIPAA enforcement and penalty process is primary and deemed to satisfy the requirements
of §1411(g), QHP Issuers are potentially subject to dual enforcement and penalty structures
arising from the same violations. The HHS Office for Civil Rights enforces the HIPAA rules
while the proposed regulation at §156.285 designates the HHS and Office of Inspector General
with enforcement authority for “knowing and willful” violations involving Exchange PII. This
structure has the potential for concurrent investigations and enforcement actions that will cause
confusion, duplication, and inefficient use of the valued resources within HHS. We also note our
concern that without this coordination for substantive enforcement standards, issuers that offer
QHPIs as well as other health plans that are not QHPIs could be subject to different technical
standards and enforcement processes which could create confusion for consumers as well as
issuers.

Recommendations:

AHIP and its members support building on the strong and established framework for the HIPAA
rules and appreciate that the Notice of Benefit and Payment Parameters sets forth a process for
providing this flexibility. We recommend that: (1) HHS’ future guidance make clear that the
FFM will deem QHP issuers, and their business associates, to be in compliance with section
1411(g) requirements based on compliance with the HIPAA Rules; (2) HHS issue guidance that
recommends a similar approach to State Exchanges; and (3) in the case of QHP Issuers, provide
that the enforcement processes and penalties of the Office for Civil Rights are the exclusive set
of processes and penalties for both Federal and State exchanges in order to prevent confusion,
disruption, and potentially duplicative penalties.

If HHS rejects the above recommendations and moves forward with establishing additional
requirements under section 1411 applicable to QHP issuers in addition to the strong consumer
protections and enforcement processes available under the HIPAA Rules applicable to Exchange
and non-Exchange health plans, it would not be appropriate to assess any penalties under
§155.285 in the absence of clear guidance. As a result, we would recommend that no penalties be
assessed under §155.285 for QHP issuers until such time as HHS issues such clarifying guidance
clearly outlining such requirements.

Subpart F - Appeals of Eligibility Determinations for Exchange Participation and
Insurance Affordability Programs

Dismissals (§ 155.530(a)(1) and 155.740 (i)(1))
We support the proposal to accept telephonic withdrawals of an appeal request if an entity
(Exchange or SHOP) is capable of accepting telephonic withdrawals, providing the
entity records the statement and appellants telephonic signature, and provides written
confirmation to the appellant.




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Subpart H—Exchange Functions: Small Business Health Options Program, Functions of a
SHOP (§ 155.705) etc.

We urge that HHS continue to focus on improving the experience and operations of the
individual FFM. Despite significant improvements on the consumer-facing side of
Healthcare.gov, the FFM still faces significant challenges with back-end data errors, significant
manual workarounds, delayed functionalities, and improvements for the 2015 plan year. We urge
that these issues be resolved as the FF-SHOP capability is developed and tested. Implementation
of the proposed SHOP program will be complex and is untested. Therefore, we recommend that
issuer testing should begin as early as May of this year to ensure that the FF-SHOP can deliver
the types of premium aggregation services it is proposing to offer. In addition testing must be
comprehensive and address a broad array of test cases, including both positive scenarios and
scenarios where there are negative outcomes. Testing should include a maximum number of test
cases that not only address eligibility, but also enrollment and maintenance scenarios (e.g.,
reporting a life event) so that issuers and the FF-SHOP can fully support employers and enrollees
once coverage begins.

Subpart K – Exchange Functions: Certification of Qualified Health Plans

Network Adequacy (§155.1050, 156.230)
HHS did not propose any new regulatory requirements related to network adequacy or essential
community providers (ECPs) in the Proposed Rule. However, we would like to reiterate our
concerns regarding HHS intent to require FFM issuers to submit networks to review whether
they meet a “reasonable access” standard and to increase the ECP threshold policies as outlined
in the final Letter to Issuers. First, this proposed change is a significant and unnecessary
departure from how network adequacy is reviewed today. Second, we are very concerned about
the FFM’s review of networks and the impact on plan certification when there will be little time
for issuers to respond to any concerns raised about their plan networks. Network development –
from creation of the network model to the discussion and negotiation with providers and signing
of contracts – is a complex and critical function in the design of any health plan that can take
upward of a year or more to complete. Finally, we are concerned that the approach appears
grounded in out-dated models of assessing network adequacy without a necessary focus on
quality.

Recommendations:

For all of these reasons, we recommend that HHS not collect lists of in-network providers from
issuers for purposes of reviewing for network adequacy. State insurance departments are well
positioned to continue their historical oversight role in this regard, as they also have substantial
expertise of local health care markets to inform their evaluation and are in a better position than
HHS to understand a State’s unique challenges that may impact network access standards.

We urge that implementation of any new policies regarding network adequacy are developed
through rulemaking and are effective no earlier than for coverage offered in the 2016 benefit
year. This will allow additional experience on both consumer needs and utilization across health
plan networks that will allow a thoughtful, data driven examination to what (if any) regulatory



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changes are necessary. We also believe that HHS should retain the 2014 ECP thresholds and
polices for 2015.

Health Insurance Issuer Standards (Part 156)

Prescription Drug Benefits (§156.122)
The preamble indicates that HHS is considering amending the formulary exceptions standards to
require processes for accessing drugs, including combination drugs, in an expedited manner
when necessary. HHS believes that some enrollees are currently having trouble accessing
appropriate prescription drugs in a timely manner and seeks comment on what specific standards
would be appropriate for defining an expedited exceptions process.

Recommendation:

We note that health plans routinely make non-formulary drugs available to their enrollees—if the
patient’s physician believes it’s medically necessary. Before HHS moves forward with more
specific guidance in this area, we would like to better understand the access issues HHS believes
are occurring, which will in turn help enable development of an appropriate policy strategy. We
would also note that as HHS considers additional policy in the future, it should look to build on
existing guidance where appropriate to ensure a consistent, streamlined regulatory approach
(e.g., the 72-hour Department of Labor standard for coverage determinations in the individual
and small group market). We look forward to continued dialogue with HHS on this important
issue.

Cost-Sharing Limits (§156.140(d))
In light of the repeal of small group deductible limits, we recommend that §156.130(d) not be
finalized.

Enrollment Processes for Qualified Individuals (§156.265)
HHS proposes that the Exchange would provide instructions to issuers regarding the payment of
the first month’s premium for enrollments and that the FFM will establish the day by which a
qualified individual that selected a QHP within the open enrollment period (OEP) described at
§155.410(b) must make a premium payment. The payment date is no later than the day before
the coverage effective date and the payment date policy is applied consistently to all applicants
in a non-discriminatory manner.

Recommendations:

While generally establishing a payment due date the day before coverage is effective is a
workable solution for the FFM, there are several scenarios that commonly occur today that
makes this approach challenging to implement. First, in the case of families that have a newborn
and are enrolling during the OEP, coverage for the entire family is often effective on the date of
birth of the newborn, resulting in a retroactive effective date. Second, the FFM does not always
apply the normal effective dates (i.e., enrollments before the 15th of the month are effective on
the 1st of the next month and enrollments after the 15th are effective on the 1st of the second
following month) when an SEP is triggered even if the enrollment occurs during the OEP. For



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example, during the recent OEP, individuals who answered the SEP-related questions (e.g., are
you loosing MEC?) often received an accelerated effective date. Thus it was very common for
issuers to receive enrollments on March 31st with an April 1st effective date. In these two
scenarios it is not possible to collect premium payment before the effective date. As a result, we
recommend that HHS not codify the requirement that premium payment must be received before
the coverage effective date and instead require issuers to set a premium policy due date (e.g.,
premium payment must be received X days after receipt of the enrollment) and apply it
consistently to their enrollees in a non-discriminatory manner.

Notice of Non-compliance (§156.806)
We appreciate HHS has proposed that a written notice providing basic information about a
potential violation be provided to an issuer after HHS learns of or is informed by a State
regarding a potential violation. Such a notice requirement will provide issuers an opportunity to
review the matter internally and respond to HHS with new factual information. As proposed,
issuers will have 30 days to respond to such a notice. While 30 days may be sufficient in many
instances, the nature of the alleged violation and the facts involved may require a longer time to
appropriately respond.

Recommendation:

We recommend that HHS retain the standard 30 day response time, but allow for the issuer to
receive an additional 15 day extension of time to respond if the issuer requests additional time to
allow additional investigation and review

Decertification (§156.810)
HHS proposes to add two bases on which HHS may decertify a QHP: (1) the QHP issuer
substantially fails to meet the requirements outlined in Subpart K related to the cases forwarded
to the QHP issuer and (2) the QHP issuer substantially fails to meet the QHP issuer requirements
in Subpart M (e.g., related to confirmation of enrollment and payment reports, direct enrollment,
the enrollment process for qualified individuals, and acceptance of third party payments).

Recommendations:

As discussed earlier in this letter, we recommend that HHS extend the 2014 good faith
enforcement safe harbor to the 2015 Plan Year and, specifically, that compliance with Subparts
K and M not be grounds for decertification or imposing civil monetary penalties for 2015.

The Health Insurance Casework System (HICS), established under Subpart K of this regulation
was established as a way for HHS to forward consumer complaints to issuers. However, because
of the many technical issues related to enrollment in the FFM during open enrollment for the
2014 plan year, HICS has been used extensively as a way for the FFM to send enrollment
requests to issuers for the issuer to manually enroll a consumer or make changes to an existing
enrollment. The parameters for using HICS to support enrollment were not clearly defined, and
issuers often received cases that they could not resolve either because they were not permitted
under HHS policy to make the requested change or because the case did not include sufficient
supporting information. More fundamentally, these HICS “cases” did not represent health plan



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customer service issues; instead, they were simply a means for the Exchange to communicate
enrollment exceptions necessitated by the Exchange’s functional limitations. In addition, issuers
received extremely high volumes of cases – many of which were duplicates or changed from
Level 1 to Level 2 (impacting the required resolution time) without notice to the issuer. Because
of the myriad issues related to HICS cases to date, we strongly recommend that issuers not be
subject to decertification for non-compliance with HICS standards for the 2014 and 2015 Plan
Years until the system stabilizes and is used for its stated purpose. As a result, the HICS system
is currently not a valid measure of health plan customer service performance, and should not be
used for that purpose until the Exchange is no longer using it to communicate anything other
than the customer services cases for which it was originally intended.

Similarly, issuers should not be subject to decertification for the 2014 and 2015 Plan Years for
non-compliance with the requirements under Subpart M. Subpart M includes requirements
related to the payment and collections report, which have yet to be finalized or implemented. It
also includes requirements related to direct enrollment and payment methods for enrollees,
which were both impacted by last minute policy changes, guidance and bulletins and technical
issues during open enrollment and will likely undergo substantive changes in 2015.

Quality Rating System (QRS)

We offer the following set of comments in response to HHS’s proposals regarding the Quality
Rating System specifically addressing: (1) the calculation and display of quality ratings and (2)
implementation and reporting.

Calculation and Display of Quality Ratings (§155.1400)
HHS has proposed standards for QHP data collection and public reporting of quality related
information by Exchanges. Specifically, both the FFM and State Exchanges must prominently
display quality rating information assigned for each QHP as calculated by HHS and in a form
and manner specified by HHS beginning in 2016. Thus, HHS will be calculating quality ratings
for each QHP regardless of the Exchange type. We are supportive of this approach as it promotes
harmonization and standardization across the FFM and State Exchanges and also reduces the
burden and costs for plans offering QHPs in multiple States.

HHS is considering allowing State Exchanges the flexibility to display additional QHP-quality
related information. We support HHS adopting a core set of quality measures, as well as a
standardized scoring methodology that will be used uniformly across both the FFM and State
Exchanges. We recognize that States may wish to report additional QHP quality-related
information that addresses the specific needs of their enrolled population. Any mechanism that
allows for State flexibility should be reserved for future iterations of reporting and later plan
years than is proposed here. In addition, Federal measures and rating should be clearly separated
from State measures and all Federal measures should be displayed in a consistent format.
However, State Exchanges, such as California, that have implemented their own quality ratings
for QHP issuers can be used to inform quality reporting on the FFM.




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If HHS chooses to allow States to display additional QHP-quality related information, these
States should clearly articulate a justification for these additions. HHS should develop and use
criteria to assess introduction of additional measures by States. Such criteria could include:

    •   Ensuring measure harmonization and minimizing burden to plans and enabling
        comparisons and benchmarking across States;
    •   Additional quality measures should address disease states or populations that are not
        captured in the QRS reporting system (e.g., HIV/AIDS);
    •   States must demonstrate a specific need for displaying additional quality measures that
        are not met by the standard set of QRS measures;
    •   The additional quality information and measures displayed should not conflict with
        current accreditation measures; and
    •   The additional quality information must be displayed consistently and in the same format
        across all State Exchanges.

We also recommend that HHS create a consumer friendly method through which individuals can
easily locate quality information and is not overburdened by searching for QHP quality
information in multiple locations or websites.

HHS has released the proposed methodology for calculating quality rating information as well as
technical guidance related to the display of QHP rating information, which HHS proposes to do
in a manner consistent with existing HHS programs (e.g., five star scale similar to Medicare
Advantage and Prescription Drug Ratings). We are supportive of HHS’s proposal to build upon
the Medicare Advantage and Part D rating methodology to capture and display quality
information. Building upon an existing rating methodology promotes consistency and offers
consumers the ability to view data in an understandable and meaningful manner.

We appreciate HHS’s intention to publish for review and comment technical guidance on
calculating rating information. As HHS is developing detailed specifications for this rating
methodology we offer several recommendations for reliable and meaningful QRS ratings.

   •    HHS should establish a minimum sample size requirement for QRS reporting. To align
        with the current requirements for commercial Consumer Assessment of Healthcare
        Providers and Systems (CAHPS) methodology, we recommend that QHPs have a
        minimum sample size of 1,000 members to ensure a sufficient number of completed
        surveys per QHP and thus, statistically valid measurement rates.
   •    If a QHP cannot meet the minimum sample size threshold, a QHP should be regarded as
        not having reportable rates.
   •    At least in the initial years, measures selected for the QRS should be used by at least one
        qualified health plan accrediting body in order to provide consistency and reduce the
        burden associated with data collection.
   •    Enrollee responses to the QRS CAHPS measures should be case-mix adjusted to provide
        more valid comparisons across QHPs than unadjusted surveys by controlling for factors
        related to response bias such as satisfaction differences among previously uninsured
        enrollees, metal levels, and recipients of the APTC.



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   •   The elements of the five star rating methodology should not conflict with what is used by
       QHP accrediting organizations, such as NCQA. The requirements for QHP accreditation
       and the QRS should coincide.
   •   HHS should publish in the Federal Register for review and comment all technical
       guidance and specifications relating to the QRS rather than use a call notice approach.

We also encourage HHS to offer at least a three month plan review period (similar to what will
be offered to FFM QHPs) to allow all issuers to review their quality rating information before the
data become public. A plan review period will provide QHPs the opportunity to identify any
potential calculation errors or data discrepancies at the macro level. In addition, the QRS review
period should be conducted at a different time than the Medicare Advantage Stars review. Given
that HHS is calculating the quality ratings for each QHP regardless of the type of Exchange,
HHS must coordinate with the States to ensure QHPs offered in State-based Exchanges also have
the same opportunity to review the QRS rating data before public display given Exchanges may
be on different timelines.

Quality Rating System Implementation & Reporting (§156.1120)
In addition to standards for Exchanges to oversee the display of quality rating information, HHS
also proposes standards for QHP issuers to collect and report the necessary information to
calculate QHP-specific ratings. HHS has suggested a QRS measure set for family and adult self-
only coverage and a measure set for child-only coverage. HHS intends to publish measure
specifications in future technical guidance in 2014 for the 2015 beta test. Additionally, HHS
proposes that QHP issuers submit data necessary to calculate the QHP ratings to HHS. We
support HHS’s initial focus of the QRS for family and adult self-only coverage. Quality rating
and measurement for child-only and stand alone dental plans will need to be significantly
different than that family and adult self-only coverage QRS, thus requiring additional time for
implementation.

To ensure that health plans and providers have sufficient time to establish an infrastructure for
data collection, it is critical that QHP issuers have the final list of measures and measure
specifications no later than May 2014 for the 2015 Beta testing. If QHP issuers have not received
final measure specifications by May 2014, we recommend delaying both beta testing and
reporting for one year with the beta testing to occur in 2016 and public reporting in 2017. QHP
issuers need time to implement data collection systems and processes, which is particularly
important for non-claims based hybrid measures, as well as measures that are not a part of the
Healthcare Effectiveness Data Information Set (HEDIS). In addition, given that many of the
QRS measures are HEDIS, and health plans report HEDIS data for the Quality Compass in June,
measure specifications are needed by the end of May to allow health plans to avoid duplicative
processes. We also recommend that HHS commit to a standard measure set that is consistent
over time so that QHPs and their providers can focus their quality improvement efforts and
costly data collection infrastructure is not continually modified.

HHS is also proposing that QHP Issuers submit data that has been validated in a form and
manner to be specified by HHS, however, no additional details about systems or processes for
submitting data are known at this time. Issuers must have sufficient lead time to know what
systems will be in place for reporting data to HHS. HHS should consider aligning its data


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submission process with the approach used in Medicare Advantage. For example, HHS can
obtain quality data directly from accrediting organizations such as NCQA or URAC, or from
survey vendors for CAHPS. Given that there are likely to be numerous operational issues
associated with the reporting mechanism, we recommend leveraging existing systems already in
use and allowing sufficient time to test the system before it becomes fully operational.

In order to ensure that only valid and appropriate data are used to calculate quality rating
information, HHS is proposing that an independent third party review and validate the quality
measure data. We are concerned that the requirement for QHP issuers to contract with an
independent third party will result in a duplicative process, given that HEDIS measures are
validated through the NCQA compliance audit. An add-on validation process that would need to
be applied to the non-HEDIS measures will create significant administrative expenses for plans.
To reduce the administrative burden and expenses of data validation, we recommend measures
subject to URAC validation or the NCQA compliance audit be deemed validated for QRS
purposes. We also recommend that vendors currently providing such auditing and validating
services be deemed to meet the third party validator requirements adopted by HHS.

HHS is also proposing that issuers must collect and submit data at the product level (e.g., HMO,
PPO, POS) in every State in which the QHP operates. HHS intends to allow issuers to collect
data based on enrollees of QHPs offered on- and off-Exchange as long as they are considered the
same plan. HHS also proposes to allow for the option of reporting data on enrollees of QHPs
offered on- and off-Exchange to address possible small sample size issues in the initial years of
reporting until more is known about the Exchange population. However, challenges exist with
respect to this approach. Some QHPs may only offer on-Exchange products and therefore will
not have the ability to report combined on-and off-Exchange data. Additionally, the
characteristics of the on-Exchange and off-Exchange populations may be different. For example,
many individuals on the Exchange may be accessing health care for the first time and their needs
may not be well understood. Given the potential differences in the populations that may be
reflected in quality, we recommend that HHS further study this issue to determine if the
combined on-Exchange and off-Exchange populations are the same as the QHP issuers reporting
data for the on-Exchange population only. If these populations are different, HHS can consider
alternative approaches such as comparison within a peer group, e.g. an on-Exchange plan is
compared to other plans who also only report quality data for the exchange population. As more
experience is gained with the Exchange population, we will have a better foundation from which
to report and compare data from QHPs only offering on-Exchange products with QHPs offering
combined on-and off-Exchange products. We also recommend that HHS clarify the parameters
for determining if an off-Exchange plan is the same as an on-Exchange plan as well as the
process and entity responsible for making this determination. We also encourage HHS to allow
more flexibility in defining what constitutes a “same plan” instead of relying on the set of rigid
criteria outlined in the rule.

Provisions Related to Enrollee Satisfaction Survey (ESS)

Display of the Enrollee Satisfaction Survey (§155.1405)
Similar to the display requirement for the QRS, HHS is proposing display requirements for the
Enrollee Satisfaction Survey (ESS) to implement section 1311(c)(4) of the Affordable Care Act.



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HHS is proposing that Exchanges must prominently display results from the ESS on its Web site,
as calculated by HHS and in a form and manner specified by HHS, starting in 2016. As
mentioned above, if QHP issuers have not received the final QRS measure specifications by May
2014, we recommend delaying both beta testing and reporting of the ESS for one year with the
beta testing to occur in 2016 and public reporting in 2017.

HHS is also proposing that State Exchanges have the flexibility to display all ESS results,
including those scores not used as a part of the QRS. We are concerned with this approach and
would like to reiterate several related comments from our letters dated August 27, 2013 and
December 2, 2013 regarding ESS instruments and data collection, as these comments continue to
represent areas of significant concern.

   •   It is critical that the survey instruments be designed such that responsibility is allocated to
       the entity (e.g., Marketplace, QHP Issuer, etc.) that has control over what is being
       assessed.
   •   To be truly reflective of a QHP’s performance, we support inclusion of questions that
       capture information about the quality of the plan’s provider network that are applicable to
       areas that health plans can directly influence.
   •   A health plan’s ability to influence clinicians can vary by provider type. For example,
       the ACA requires that health plans include specific providers in their network (i.e.,
       essential community providers) who may not have previously contracted with private
       health insurers and been part of performance reporting and consumer reviews.
       Additionally, such providers may not initially have the capacity to undertake quality
       improvement efforts needed to promote quality and patient satisfaction. We recommend
       that HHS: (1) segregate ESS questions that are only applicable to Exchange and/or
       provider responsibility as described above and (2) develop criteria for the display of all
       ESS results in order to provide for standardization and across States.

HHS is also considering allowing State Exchanges to display ESS 2015 beta test results prior to
the display of the Federal ESS in 2016. We do not support this proposal because use of test data
for public reporting purposes can result in unreliable and questionable information being
conveyed to consumers. Although the format and language of the ESS drew from existing
CAHPS items to the extent possible, beta tests are needed to further refine the questionnaire and
sampling design, and provide Exchanges with the first annual scores. HHS should use beta test
information as it is intended -- to test the survey and vendor operations systems.

Enrollee Satisfaction Survey Administration (§156.1125)
HHS is proposing that the ESS be used to evaluate the level of enrollee satisfaction of members
in each QHP with more than 500 enrollees. HHS has proposed standards for a QHP issuer to
collect and submit validated enrollee experience data from QHPs. Specifically, HHS directs QHP
issuers to contract with an HHS-approved ESS vendor to administer the ESS to QHP enrollees.
ESS vendors will report survey results to the Exchange on the QHP’s behalf so that HHS can
calculate the ESS scores and benchmarks. To align with the current requirements for commercial
CAHPS, we recommend that the minimum sample size for the ESS be 1,000 members to ensure
an adequate number of responses and thus, statistically valid measurement rates.




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Similar to the plan review period allowing issuers to review their quality rating information
before the data become public, we also recommend that QHP issuers be able to review ESS data
before public reporting to identify any potential calculation errors or data discrepancies. Given
that HHS is calculating the ESS results for each QHP regardless of the type of Exchange, we
encourage HHS to coordinate with the States to ensure issuers of QHPs in State exchanges also
have the same opportunity to review the ESS results before public display.

HHS is also proposing to collect ESS data at the metal level and aggregate the ESS data from the
QHP metal level to the QHP product level (e.g., the QHP issuer’s HMO silver and HMO bronze
would aggregate into one HMO level score) for public reporting purposes to provide consistency
with the product-level data that would be submitted for the QRS. This approach could result in
sample size issues and therefore we recommend that ESS data collection follow the same
approach as the QRS data collection and occur at the product level. HHS should consider
collecting and reporting data at the metal level for future years only if sample size issues are
avoided and it provides meaningful, additional information for consumers. Additionally, HHS
should clarify how it intends on using metal-level data as it relates to member experience with
plans charging different premiums. For example, HHS could use data collected at the metal
level to examine if there are material differences across tiers and evaluate such differences.

Similar to HHS’s proposed approach for the QRS, HHS also intends to allow issuers to collect
ESS data based on enrollees of QHPs offered on- and off-Exchange as long as they are
considered the same plan. However, challenges exist with respect to this approach. Some QHPs
may only offer on-Exchange products and therefore will not have the ability to report combined
on-and off-Exchange data. Additionally, the characteristics of the on-Exchange and off-
Exchange populations may be different. For example, many individuals on the Exchange may be
accessing health care for the first time and their needs may not be well understood. Given the
potential differences in the populations that may be reflected in quality, we recommend that HHS
further study this issue to determine if the combined on-Exchange and off-Exchange populations
are the same as the QHP issuers reporting data for the on-Exchange population only. If these
populations are different, HHS can consider alternative approaches such as comparison within a
peer group, e.g. an on-Exchange plan is compared to other plans who also only report quality
data for the exchange population. As more experience is gained with the Exchange population,
we will have a better foundation from which to report and compare data from QHPs only
offering on-Exchange products with QHPs offering combined on-and off-Exchange products.
We also recommend that HHS clarify the parameters for determining if an off-Exchange plan is
the same as an on-Exchange plan as well as the process and entity responsible for making this
determination. We also encourage HHS to allow more flexibility in defining what constitutes a
“same plan” instead of relying on the set of rigid criteria outlined in the rule.

HHS is also proposing that data for a sample of eligible enrollees that a QHP issuer provides to
their contracted ESS vendor must be validated in a manner consistent with data validated for
other clinical measures that are part of the QRS. Our understanding of HHS” proposal is that if a
QHP issuer submits data collected for a HEDIS quality measure that is validated through the
NCQA audit process, that data must be shared with the ESS vendor. Currently HEDIS and
CAHPS are validated and implemented as separate processes and combining the two processes
can cause problems with coordination across vendors, unnecessary delays and added burden.



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MLR Considerations - Issuer Use of Premium Revenue; Reporting and Rebate
Requirements (Part 158)

Formula for calculating an Issuers Medical Loss Ratio (§158.221)
We appreciate the recognition of accounting for some of the exceptional circumstances insurers
have faced in building interfaces and new, unplanned, and unbudgeted workarounds for
Exchange implementation, as well as additional requirements when offering the transitional
policies. However, there are a number of items that were not addressed in the preamble, and
which we strongly urge be included in the regulation or other guidance.

During the 2013 open enrollment period, a lack of full functionality of many exchanges placed
the onus on health plans to support systems and processes that were the original responsibility of
the Exchange. Given the current situation in advance of the 2014 open enrollment period, while
some process has been made, it is reasonable to expect that many interim processes will remain
in place. Our members have been particularly hit with higher administrative costs. In 2013 ACA
related systems and IT costs increased by 46 percent and these same costs are expected to
increase by an additional 11 percent in 2014. In addition, plans have had to delay or forgo
significant projects such as capital improvements, systems upgrades/replacements, and cost of
care and other projects. Based on member experience, here are some of the primary cost drivers
of the ACA:

•   Technology infrastructure and maintenance costs related to having to support manual
    processes for enrollment, amplified by last minute regulatory changes and a general lack of
    clarity between overlapping State and Federal rules. These included changing enrollment
    dates, support for new special enrollment periods, lack of automated processes to send
    updated enrollments for life events and demographic information changes and a need to
    manually review many enrollments to ensure they were accurate;
•   Inadequate lead time for implementing changes, unclear requirements, or provisions that
    have not been finalized, and last minute policy changes including the transitional and
    catastrophic policy changes and changes in effective dates and enrollment cut-off dates;
•   Higher than anticipated call center volumes due to unclear roles and responsibilities between
    the Exchange and the issuers, including consumers being instructed by the FFM call center to
    contact their plan to request changes that plans are not allowed to make under existing HHS
    regulations and guidance;
•   Manual workarounds due to unanticipated problems with FFM and SBM exchange
    functionality such as adding newborns to the policy and manual processing of life event
    changes; and
•   Hiring additional support staff to handle the increased workload.

Thus, the factors offered (1.0001 for transitional policies, and 1.0004 for Exchange
implementation costs), and the impact of the MLR rounding, could fail to provide desired relief
for insurers most affected by participation in those programs. Insurers working with State-based
exchanges and the FFM have undertaken significant additional and unanticipated administrative
costs and functions as they partnered with States and HHS in implementing and assisting when
systems integration was not yet operational for enrollment. Currently, it is expected that many


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manual processes will remain for the bulk of 2014 including the interim payment process
(through September 2014), enrollment reconciliation and interim approaches to support special
enrollment periods. Further, the implementation of the financial management and risk mitigation
transactions will continue through 2015. The proposed factor of 1.00004 does not provide for
recognition of these significant additional costs, incurred exclusively as a result of exchange
implementation costs, and does not assist insurers that would already meet the MLR
requirements without the use of the factors.

Finally, the proposed language suggests an adjustment to the numerator for 2014 only, however
the increase in administrative costs for companies has been seen in both 2013 and 2014, as
indicated above for both the transitional and Exchange implementation, and will likely continue
into 2015 and beyond.

Recommendation:

We recommend that the timeframe for administrative costs - related to the special circumstances
of insurers offering the transitional policies in §158.221(b)(6) be extended, and the reference to
“2014” be changed to “2013 and until the year in which a State no longer permits transitional
policies or 2017, whichever occurs first.”

We recommend that insurers incurring administrative costs related to exchange implementation,
in §158.221(b)(7) - should be permitted to deduct those total costs from the denominator of the
MLR calculation not the numerator. We recommend removal of the 1.0004 factor in that section,
and those costs be treated as adjustments to the numerator. We further recommend “in 2014” be
changed to “in years 2013 – 2015”.

Activities That Improve Health Care Quality (§158.150)
ICD–10 conversion expenses are discussed in 158.150 (b)(2)(i)(A)(6). We appreciate that an
extension on the timeframe for those expenses has been added, through such time as the
Secretary requires. The recent delays, from 2013 - 2014, and now again from 2014 to an
uncertain future time mean that many conversion activities and training will need to be repeated,
updated, and maintained with any changes made in the interim until finally required. Health
Plans have been leaders in readiness, but now maintaining that conversion readiness with every
system change or update made in the interim has a significant and ongoing cost. The limit of 0.3
percent of earned premium was already low in comparison to costs, and now is less than
adequate to account for the ongoing costs of conversion readiness.

Recommendation:

AHIP recommends that the limit of 0.3 percent be moved to 0.4 percent, in recognition of these
unusual and unanticipated costs.

Distribution of de minimis Rebates (§158.243)
Currently issuers do not distribute de minimis rebates to enrollees in the policies that generated
those rebates, but instead aggregate such rebates and distribute them to other enrollees whose
rebates are not de minimis. HHS proposes amending the current handling of de minimis rebates



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in two instances: (1) where all the rebates are de-minimis, or (2) where distribution of de
minimis rebates to enrollee(s) whose rebates are not de minimis would result in an enrollee
receiving a rebate that exceeds the enrollee’s annual premium. In these two situations, the issuer
must distribute de minimis rebates to enrollees in the policies that generated the de minimis
rebates. AHIP opposes the changes to the de minimis rebate distribution provisions, as the
proposal is counter to the fair and reasonable reasons behind inclusion of the standard. Further,
the costs of the distribution, whether as a premium credit or check payment, would frequently
exceed the rebate amount, adding to the administrative costs of the current MLR year.

Recommendations:

When all rebates are de minimis: We recommend permitting insurers to include that total rebate
amount in the rate calculations for the next year, thereby allowing the rebate amount to reduce
premiums by that amount. This approach would benefit all enrollees in individual and small
group market (recognizing that the MLR calculation is based on the total of all products by
segment in that State) and has the advantage of assisting consumers in getting premium value.

Such a consideration is unnecessary for the large group segment, as large groups are not in a
single risk pool, and employer groups can determine how to utilize any rebates for the benefit for
their employees. And though it is highly unlikely there would be de minimis rebates in the large
group segment, should those occur, we recommend that they be returned to the group.

If the approach of crediting the rebate amount in the rate calculations in the next year is not
adopted, we suggest other alternatives be considered that would still reduce the administrative
cost and complexity of returning such funds.

When distribution of rebate would exceed the premium: Unfortunately, this scenario is the
result of MLRs being calculated on the total market segment, rather than on a per policy basis-
which is why the rebate might exceed the premium in a given policy. We recommend that in
these cases, any amount in excess of premiums be placed in a reserve fund and reported to HHS.
If the cost of such administration of those adjustments exceeds the rebates in the fund, the insurer
would not have to take further action. If the rebates after those adjustments are more than a
nominal amount, the issuer would be required to either credit the rebate amount in the next year
rate calculation amount as one alternative.




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                      EXHIBIT 2
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April 21, 2014


Marilyn Tavenner
Administrator
Centers for Medicare and Medicaid Services
7500 Security Blvd.
Baltimore, MD 21244

Submitted via http://www.regulations.gov

RE: Comments on NPRM on Exchange and Insurance Market Standards for 2015 and
Beyond (CMS-9949-P)


Dear Administrator Tavenner:

The Blue Cross and Blue Shield Association (“BCBSA”) appreciates the opportunity to provide
comments in response to the NPRM on Exchange and Insurance Market Standards for 2015
and Beyond (“NPRM”).

BCBSA is a national federation of 37 independent, community-based, and locally operated Blue
Cross and Blue Shield Plans (“Plans”) that collectively provide health care coverage for 100
million – one in three – Americans. Blue Cross and Blue Shield Plans offer coverage in every
market and every zip code in America. Plans also partner with the government in Medicare,
Medicaid, the Children’s Health Insurance Program, and the Federal Employees Health Benefits
Program.

Blue Cross and Blue Shield Plan participation on the exchanges is broad and deep, offering
health plan choices to consumers in almost every state and zip code across the nation. In
developing our comments, BCBSA looked at the lessons learned from the initial implementation
of exchanges and market reforms to offer recommendations that will help ensure an effective
health insurance market that provides affordability and choice for consumers. With this in mind,
BCBSA’s priority recommendations on the NPRM are as follows:

      Extend the good faith safe harbors into 2015. Last year CMS provided a good faith
       compliance safe harbor for 2014 for issuers providing qualified health plans (“QHPs”)
       through a Federally Facilitated Marketplace (“FFM”). At that time, CMS indicated it
       would consider extending this good faith compliance policy through 2015, which we urge
       CMS to do. Given that FFM standards continue to evolve (including through changes
       made in this NPRM) and enrollment and payment processes continue to rely on manual
       work-arounds that are prone to errors, a timely extension of the good faith safe harbor
       prior to the 2015 QHP application process is critically important.
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      Ensure that issuers have flexibility to revise specific cost-sharing amounts to
       avoid significant product discontinuations being mailed prior to October 1, 2014.
       For example, issuers should be able to revise cost-sharing in response to historical or
       anticipated utilization of a particular benefit and to increase or decrease some cost-
       sharing elements and not others. Such flexibility would allow issuers to stay within a
       metal level without having “odd” cost-sharing amounts (e.g., a co-pay of $26.43 instead
       of $25).

      Eliminate the requirement to mail “renewal” notices to all individuals and
       employees. Currently, individual market policyholders and employers receive
       communications from their health plans concerning renewal. Similarly, those who
       purchase coverage through the exchange will receive renewal notices from the
       exchange. Implementing the proposed new requirements would be duplicative, could
       cause consumer confusion (especially for employees in group health plans), and would
       increase the cost of health insurance.

      Do not apply the uniform modification and notice requirements to large group or
       grandfathered plans. These requirements will be of little value to large employers.
       Large group employers are sophisticated purchasers and most will have finalized their
       purchasing decisions for the next year by the time the notices are required to be issued.
       Additionally, grandfathered plans already have requirements around benefit changes
       that make these provisions unnecessary.

      Give issuers flexibility to modify notices and to provide additional information to
       help consumers make informed decisions. Issuers should be permitted to modify
       renewal language to reflect the policy renewal/termination dates, details on how to
       contact the plan to explore plan options, and to provide more information on coverage
       options to consumers. Issuers should also be permitted to provide information on such
       coverage options along with renewal notices. BCBSA has provided detailed comments
       specific to the notices in a separate comment letter submitted on April 18, 2014.

      Allow new plans that have been created to reflect network pricing to be
       considered a new plan within the same product not a new or modified product.
       The current process of creating both a new product and plan results in the old plan being
       discontinued which results in unnecessary disruption for enrollees whose plans may be
       virtually identical to the one they enrolled in last year.

      Extend into 2015 the current 2014 transitional policy for SHOPs and simplify the
       employee choice “opt out” process. A state SHOP should be able to continue
       determining the process that works best for its state. BCBSA recommends that CMS
       simplify the proposed process for states to opt out of employee choice for 2015. As
       currently proposed, this process could make it difficult for states to opt out. Given the
       significant operational challenges that still exist for implementing employee choice, we
       recommend that CMS remove the requirement to offer employee choice at a metal level
       beginning January 1, 2015.

      Implement the proposed changes to the risk corridors parameters. BCBSA
       supports the provisions in the NPRM that would increase the administrative cost ceiling
       to 22% and increase the profit margin floor to 5% for 2015. However, we would



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       recommend increasing the administrative cost ceiling to 25%. These changes are
       needed to help mitigate additional administrative costs and uncertainties.

      Continue the risk corridor program as originally intended. BCBSA opposes the
       stated intention of CMS to implement the risk corridors program in a budget-neutral
       manner. Health plans relied on the 2014 Benefit and Payment Parameter final rule,
       which indicated that the risk corridors program is not statutorily required to be budget
       neutral, in filing their rates.

      Prioritize the distribution of reinsurance contributions and enhance the
       reinsurance program. BCBSA supports the proposal to prioritize funding for the
       reinsurance payment pool over payments to the U.S. Treasury. Prioritizing reinsurance
       payments will ensure that the program operates as intended. We also recommend that
       CMS lower the attachment point and prorate up the coinsurance rate to ensure that all
       available dollars are spent in 2015.

      Remove the proposed requirement that fixed indemnity coverage cannot be sold
       by the same issuer of major medical coverage. The proposed requirement would be
       punitive to companies who currently sell both types of coverage. If an existing member
       has fixed indemnity coverage with an issuer that also sells major medical coverage, that
       issuer would not be allowed to offer the member an ACA-compliant health plan unless
       the issuer first cancelled the member’s fixed indemnity coverage.

      Allow flexibility to establish business rules regarding payment of first month’s
       premium for enrollment. Decisions regarding payment of the first month’s premium for
       enrollment have traditionally been a business decision made by issuers. BCBSA
       recommends that issuers continue to have the flexibility to establish payment guidelines
       for enrollment, provided the rules are implemented in a non-discriminatory manner. For
       example, many issuers provided great flexibility to consumers during the 2014 open
       enrollment period with respect to payment of the first month’s premium; as a result, more
       consumers’ coverage was effectuated than otherwise would have been without such
       flexibility.

      Maintain existing flexibility for issuers to implement premium proration rules, in
       accordance with state laws. BCBSA strongly recommends that the FF-SHOP premium
       proration rule be limited to SHOP. All exchanges, including FFMs, should continue to
       rely on issuers to prorate premiums in accordance with state law and issuer policies as
       they currently do for the 2014 benefit year.

      Clarify the application of civil monetary penalties (“CMP”). Clarify that the CMP for
       providing false or fraudulent application information apply only to persons that provided
       the application information to CMS, and that nothing in the CMP provision is intended to
       suggest that QHP issuers have an obligation to verify application information. In
       addition, BCBSA recommends that CMS provide a safe harbor for all QHP issuers under
       the proposed requirement to impose penalties for false or fraudulent information.

      Ensure the appropriate use of special enrollment periods (“SEPs”). The NPRM
       would give exchanges broad authority to establish SEPs and retroactive effective dates
       without specifying in detail the circumstances that would trigger such SEPs. Absent
       clear and generally applicable guidelines and processes, the availability of SEPs may


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       vary by case managers, exchange and potentially by issuer. Having clear guidelines,
       effective dates and lengths of SEPs is essential to prevent gaming and to ensure
       affordable health plan choices.

      Make it easier for issuers and consumers to reconcile a retroactive termination
       and effective date on deductibles and accumulators, and the treatment of
       prescription drugs reimbursed at the point of sale. The proposed process should
       ensure that consumers receive the benefit of the advance payments of the tax credits
       (“APTCs”) and cost-sharing reductions (“CSRs”) to which they are entitled, while also
       ensuring that the retroactive SEPs do not require issuer-to-issuer data transfers. If a
       consumer enrolls in a different QHP with the same issuer, the issuer should not be
       required to follow the proposed retroactive SEP issuer change process, as it would not
       be necessary. In that case, the QHP issuer will reconcile premiums paid by the enrollee
       (as necessary), but should not be required to reverse claim payments. Similarly, the
       QHP should not be required to refund out-of-pocket (“OOP”) payments, but could apply
       any cost-sharing paid to the new QHP’s OOP maximums.

      Clarify the bases and process for decertification of a QHP offered by an issuer
       through a FFM. The Final Rule should clarify that expedited decertification is reserved
       for violations that put QHP enrollees’ ability to access necessary medical items or
       services at risk or substantially compromise the operation of the exchange.

      Ensure greater transparency and stability in the Quality Rating System (“QRS”)
       program. We generally support modeling the QHP quality rating program on the
       Medicare Advantage program’s Stars rating system. However, we urge CMS to use the
       formal notice and comment rulemaking process to announce and implement changes to
       the QRS, and to stress timeliness and stability.

      Establish consistency in quality measurement and reporting as an overarching
       goal to lower administrative burden and avoid consumer confusion. To achieve
       this goal, BCBSA recommends that for a range of proposed requirements CMS should
       level the playing field between federally-facilitated and state marketplaces, and between
       competing QHP issuers, as much as possible. Furthermore, CMS should use only
       evidence-based, administratively feasible quality measures for the QRS and require that
       accrediting entities use the same quality measures to align with the QRS.

                                             ******




Our detailed comments on the NPRM follow.


We appreciate your consideration of our comments. Please let us know if you have any
questions or would like additional information.

Sincerely,


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/s/

Kris Haltmeyer
Vice President, Health Policy and Analysis
Blue Cross and Blue Shield Association




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BCBSA Detailed Comments and Recommendations on the NPRM on Exchange and
Insurance Market Standards for 2015 and Beyond


1. Continuing the Good Faith Compliance Safe Harbors

   Issue:

   CMS provided a good faith safe harbor for 2014 in the Code of Federal Regulations, 45 CFR
   156.800(c). See 78 Fed. Reg. 54070, 54121 (Aug. 30, 2013). CMS subsequently adopted
   a parallel safe harbor for enforcement actions related to risk adjustment and reinsurance.
   45 CFR 153.740; 78 Fed. Reg. 65046, 65061 (October 30, 2013).

   BCBSA believes that the good faith compliance safe harbors issued by CMS provided
   important assurances to health plans that they would not face civil monetary penalties or
   decertification if they made good faith efforts to comply with relevant requirements. These
   assurances were an important factor for some of our members in determining whether to
   participate on marketplaces for 2014 at a time when technology and requirements were still
   evolving.

   Although CMS provided the good faith compliance safe harbors only for 2014, it stated “At
   the appropriate time we will consider extending this good-faith compliance through 2015.”
   78 Fed. Reg. at 54121. BCBSA believes CMS should extend the safe harbors, as issuers
   (including current Federally Facilitated Marketplace (FFM) issuers and issuers that did not
   participate in the FFM in 2015) are in the process of making determinations about 2015. We
   believe that extension of the good faith compliance standard for QHP certification for 2015 is
   critical given the following factors:

           Many 2014 processes have yet to be automated or assumed by the FFM. No
            roadmap has been provided to issuers for this transition to backend FFM
            functionality.
           The transition to a new vendor (Accenture) creates additional uncertainties for 2015.
           New processes will come on line for 2015 that have yet to be tested or detailed (e.g.,
            SHOP, distributed data model for 3Rs, and new 2015 enrollment features).
           Standards continue to evolve (e.g., numerous last-minute changes on Special
            Enrollment Periods) which create continued uncertainty, and changes proposed in
            this NPRM, including changes to criteria for uniform modification, when notices are to
            be sent to consumers, how risk corridors are calculated, and requirements for
            providing retroactive coverage in certain circumstances.
           CMS has recently expanded the scope of standards or requirements that are
            grounds for civil monetary penalties, see the Interim Final Rule at 45 CFR
            156.805(a)(1), and proposes additional CMPs in this Rule, such as 45 CFR 155.285.

   Recommendation #1: Extend the good faith safe harbors for 2015 and to new CMPs.

   In light of the uncertainties above, BCBSA requests that CMS extend the good faith safe
   harbors in the Code of Federal Regulations, 45 CFR 156.800(c), and 45 CFR 153.740(a).
   See 78 Fed. Reg. 54070, 54121 (Aug. 30, 2013) and 78 Fed. Reg. 65046, 65061 (October
   30, 2013) and extend a safe harbor for the new proposed CMPs contained in 45 CFR
   155.285.

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   Rationale:

   This extension would promote an effective partnership between issuers and marketplaces
   as this new program continues to evolve in 2015. A timely extension prior to the 2015
   application process would recognize the efforts issuers have made to promote an effective
   consumer-oriented marketplace that provides affordable quality choices.

   The Annual Letter for QHP issuers on the FFM notes that, while CMS agreed not to impose
   civil penalties or decertification for non-compliance with certain marketplace requirements in
   2014, CMS expects that by 2015 issuers will have gained more experience operating in the
   FFM. While issuers are actively monitoring their compliance with applicable FFM standards
   and guidance, the sheer volume and magnitude of changes to regulations, technology,
   processes, and procedures, has resulted in 2015 remaining a transitional year.

   In order to promote stability and a successful 2015 enrollment season, we urge CMS to
   extend this good faith compliance approach through the end of 2015. In light of these
   factors, BCBSA requests an extension of the good faith safe harbors in the Code of Federal
   Regulations, 45 CFR 156.800(c), and 45 CFR 153.740(a). See 78 Fed. Reg. 54070, 54121
   (Aug. 30, 2013) and 78 Fed. Reg. 65046, 65061 (October 30, 2013).

   BCBSA believes that CMS may amend the current regulations in response to comments we
   will be submitting on the CMP provisions in the recently issued Interim Final Rule (CMS-
   9943-IFC) or this Proposed Rule, both of which include changes to CMP provisions to which
   the good faith standard applies.

   Recommendation #2: Clarify that the Good Faith Safe Harbor is for Conduct Relating
   to the Benefit Year.

   BCBSA requests that CMS clarify that the safe harbors are for conduct relating to the
   specified benefit year, and not just for: (a) enforcement actions brought during those years
   or (b) conduct that occurs during those years.

   BCBSA recommends the following amendments to the existing good faith compliance
   language (suggested additions are underlined; deletions are shown in strikethrough text:

          157.800(c) Compliance standard. For conduct relating to benefit years 2014 and
          2015, sanctions under this subpart will not be imposed if the QHP issuer has made
          good faith efforts to comply with applicable requirements.

          153,740(a) Enforcement actions. If an issuer of a risk adjustment covered plan or
          reinsurance-eligible plan fails to establish a dedicated distributed data environment in
          a manner and timeframe specified by CMS; fails to provide CMS with access to the
          required data in such environment in accordance with § 153.700(a) or otherwise fails
          to comply with the requirements of §§ 153.700 through 153.730; fails to adhere to
          the reinsurance data submission requirements set forth in § 153.420; or fails to
          adhere to the risk adjustment data submission and data storage requirements set
          forth in §§ 153.610 through 153.630, CMS may impose civil money penalties in
          accordance with the procedures set forth in § 156.805 of this subchapter. Civil
          monetary penalties will not be imposed for non-compliance with these requirements


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            during for conduct relating to benefit years 2014 and 2015 pursuant to this paragraph
            (a) if the issuer has made good faith efforts to comply with these requirements.

   A similar safe harbor should be provided for the new CMP in § 155. 285.

   Rationale:

   Issuers are working diligently and in good faith in a challenging environment that continues
   to evolve. The good faith safe harbor should apply to conduct regarding the 2014 benefit
   year, and not be limited based on whether the conduct occurred during the specified year or
   when an enforcement action is initiated.

   (a) When the enforcement action is initiated. Clarification is particularly important in light
       of a sentence in the second Program Integrity final rule adopting the safe harbor for
       enforcement actions related to risk adjustment and reinsurance. That sentence states
       that the 2014 good faith compliance safe harbor applies only to actions that CMS
       actually brings in 2014 - that “nothing in this provision prohibits CMS from imposing
       CMPs in 2015 for non-compliance that occurred in 2014.” 78 Fed. Reg. at 65061. We
       do not believe this sentence reflects CMS’ intent or the regulatory text.

      Limiting the good faith compliance safe harbors to those instances in which an
      enforcement action is initiated in the time period specified in the Rule (currently 2014)
      essentially eviscerates its protections. The purpose of the regulatory good faith
      compliance standard is to provide issuers with assurances that if they proceed in good
      faith, they will not be subject to sanctions for noncompliance that may occur in the early
      years of the program. Issuers will have no such assurance if the safe harbor provides
      only that an enforcement action cannot be initiated in 2014 (or 2015, if extended) – but
      the conduct still could be subject to CMPs if the enforcement action were simply initiated
      later. The safe harbor should apply based on whether the conduct is covered, rather
      than when the enforcement action is initiated.

   (b) Conduct protected should be for the benefit year. The safe harbor’s protection
       should at a minimum extend not to any conduct that occurs during calendar years 2014
       or 2015 (regardless of when the enforcement action is initiated, as described above), but
       also should extend to conduct related to those two benefit years. For example, for
       benefit year 2014, issuers expended substantial resources in a very uncertain
       environment during 2013, and in 2015 will be implementing reconciliation procedures for
       benefit year 2014 for the first time. That conduct in 2013 and 2015 is what we
       understood to be protected by the safe harbor’s phrase “For 2014,” contained in
       156.800(c), and is the protection we sought and that we understood that CMS would
       provide. The benefit year concept should similarly be applied to conduct related to
       benefit year 2015.


PART 146 & 147: HEALTH INSURANCE REFORM REQUIREMENTS FOR THE GROUP
AND INDIVIDUAL MARKETS

2. Product Withdrawal and Uniform Modification of Coverage Exceptions to Guaranteed
   Renewability Requirements (§§ 146.152, 147.106)

   Issue:

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   The Rule proposes minimum federal standards for determining whether coverage
   modifications constitute “uniform modifications.” Under these standards, a modification
   made solely pursuant to federal or state law is considered a uniform modification of
   coverage – for example, changes based on updated ACA standards, like an increased
   annual limit on cost-sharing. Other changes would be considered uniform modifications if
   all of the following criteria are met:

      The product is offered by the same issuer.
      The same product type (e.g., PPO) is offered.
      The product covers a majority of the same counties in its service area.
      The product has the same cost-sharing structure, except for variation in cost-sharing
       solely related to changes in cost and utilization of medical care, or to maintain the same
       metal level.
      The product provides the same covered benefits, except for changes in benefits that
       cumulatively impact the rate for the product by no more than 2% (not including changes
       required by state or federal law).

   States could apply additional criteria to broaden the scope of what would be considered a
   uniform modification, but could not narrow its scope. However, the Preamble clarifies that
   the proposed definitions would preempt any conflicting state definitions – thus, state laws
   that prevent issuers from uniformly modifying coverage to comply with federal law
   requirements would be preempted.

   The provision also proposes to require issuers in the individual and group markets to
   provide standard notices to consumers in a format designated by CMS 90 days prior to
   discontinuing a product or renewing or modifying coverage, without regard to QHP filing and
   issuer agreement timelines. Such notices must be provided to each plan sponsor or
   individual provided that product (and to all participants and beneficiaries covered under such
   coverage).

   Recommendation #1: Clarify that the language related to cost-sharing allows
   changes to specific cost-sharing amounts that are in response to historical or
   anticipated utilization of a particular benefit. Additionally, permit issuers to increase
   some cost-sharing elements and not others as long as the overall changes in
   aggregate are based on changes in cost and historic or anticipated utilization. In
   addition, issuers should be allowed to enhance cost-sharing elements as long as this
   does not result in a change in metal level. Finally, the language related to pre-
   emption of conflicting state law related to changes in cost-sharing, benefits, etc.
   should appear in the actual rule in addition to the preamble.

   Rationale:

   BCBSA supports the intent of the NPRM to provide issuers in states with strict uniform
   modification requirements with the ability to make product modifications in order to keep
   their plans compliant, including changes in cost-sharing to keep them within the metal
   levels and benefits as long as they are within the parameters outlined in the NPRM. To
   ensure that this requirement is applied in all circumstances, this language should be
   included in the actual rule and not just the Preamble, so that it will be part of the U.S. Code
   and therefore a clear requirement.


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   We are concerned, however, that, as written, the language related to cost-sharing, if read
   narrowly, would allow issuers to only adjust cost-sharing at the benefit level for “changes in
   cost and utilization of medical care” for the specific benefit. While we do not believe this is
   the intent, if read literally this could mean that issuers would have to modify cost-sharing
   uniformly, which would result in odd cost-sharing levels. For example, a plan with a $25
   physician office co-pay and a $4,000 MOOP would have to increase both by trend. In the
   case of 6.5% trend, the issuer would have a $26.63 physician visit co-pay and a $4,260
   MOOP. Issuers often raise specific elements of cost-sharing in order to keep their cost-
   sharing levels logical for the consumer and this should be allowed.

   Issuers often change cost-sharing of a particular benefit in response to historic or
   anticipated utilization. Given this is a new market, issuers need the ability to modify cost-
   sharing at the benefit level such as the co-pay for a service that is experiencing higher
   utilization than others, or where they anticipate higher utilization because it is an outlier in
   the market, without this being considered a product discontinuation. If these types of
   changes are not allowed, in many instances issuers will likely have to discontinue products
   rather than have a plan that is subject to adverse selection.

   In addition, issuers need to be able to adjust the cost-sharing on some benefits and not
   others in order to stay within a metal level without having “odd” cost sharing amounts. For
   example, an issuer might not change the deductible in a particular plan, but would increase
   certain co-pays by more than the amount of trend that particular benefit is experiencing in
   order to have consumer friendly “rounded” cost-sharing amounts. Additionally, issuers often
   enhance particular cost-sharing elements in response to consumer needs and to meet
   market demands – particularly in the first few years of a new market. These changes to
   cost-sharing should be permitted if an actuary who is a member of the American Academy
   of Actuaries certifies that they are in response to changes in trend and/or historic or future
   anticipated utilization, or are an enhancement to cost-sharing that does not result in the
   product moving to a new metal level. While we believe the intent of this provision is to allow
   these types of changes, the current language is not clear. If these types of changes are not
   allowed, in many instances issuers will likely have to discontinue products rather than have
   a plan that is subject to adverse selection or that is not competitive in the marketplace.

   Additionally, in a guaranteed availability environment, there is not a need for overly
   restrictive limitations on what changes can be made by uniform modification, as the
   consumer has the ability to move to any other available plan in the marketplace.
   Historically, some states have placed limitations on uniform modifications because some
   consumers would be unable to move to a new product if they were not able to pass medical
   underwriting.

   If the intent of the language in the NPRM is indeed to not allow these types of changes,
   BCBSA recommends that a third category of notices be created for “Minor Modifications.”
   These notices would be sent when a modification does not meet the criteria to be a uniform
   modification and the product remains in the same metal level. The notice would provide a
   comparison between the old and new benefits so the consumer could understand what is
   changing and make an informed decision of whether to stay in his or her current plan or
   select a new plan.

   Recommendation #2: Release the final rule as soon as possible due to the impact this
   rule will have on the QHP filing timeline.

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   Rationale:

   We are concerned with the timing of the issuance of the final rule and notice requirements.
   If CMS operates on a traditional timeline, issuers will be in the position of having to
   discontinue products for 2015, since 2015 products will have already been filed before
   uniform modification standards are finalized. Further, the notice requirements place a
   significant burden on issuers, who will need to build programming and operational support
   for these new requirements. We ask that CMS also consider the time a state may need to
   write and receive approval of state-developed discontinuation and renewal notices.

   Recommendation #3: Do not apply the uniform modification and notice requirements
   to large group, grandfathered plans and transitional plans and stand-alone dental
   plans.

   These provisions should not apply to plans in the large group market, grandfathered plans,
   transitional plans or stand-alone dental plans.

   Rationale:

   Large group employers are sophisticated purchasers and therefore these provisions and
   notices are unnecessary. In addition, the majority of large employers will have finalized their
   purchase decisions for their next plan year by the time the notices are required to be issued.
   Therefore, the notices will be of little value to large employers and will be an unnecessary
   burden for issuers.

   Under the ACA, grandfathered plans have a separate set of rules that regulate how they
   may be modified without losing their grandfathered status. Grandfathered plans are not
   available on the marketplace, and are subject to existing modification and renewal
   processes. If CMS decides to include grandfathered plans in this provision, it should be
   limited to situations in which a grandfathered plan is being modified in a manner that it is
   losing its grandfathered status and a specific notice should be developed.

   The transitional guidance could require issuers to maintain three times the numbers of
   products they did prior to the ACA: grandfathered plans; transitional plans; and ACA
   compliant plans. To reduce the administrative burden associated with maintaining
   transitional plans, issuers need the ability to uniformly modify the benefits of similar plans to
   create a single transitional plan. This will increase the likelihood that issuers maintain
   transitional plans as long as allowed.

   Finally, stand-alone dental plans are an “excepted benefit” under the Public Health Service
   Act, not health insurance coverage, and, therefore, they are not subject to guaranteed
   renewability provisions. Additionally, new notices would need to be developed applicable to
   stand-alone dental plans, as the current notices are not worded in a manner that is
   appropriate.

   Recommendation #4: Eliminate the requirement to mail notices for “renewals.”

   Rationale:



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   Issuers already clearly communicate to their customers at renewal and those who purchase
   through the marketplace will also receive a notice from the marketplace. This additional
   renewal notice would serve no value and only drive up the cost of health insurance.

   Recommendation #5: Modify the notices to inform consumers that the coverage
   options available to them will not be displayed on the marketplace until the beginning
   of open enrollment.

   Rationale:

   The NPRM states that issuers must send uniform modification or renewal notices to
   enrollees 90 days before the date the coverage will be discontinued. Issuers will not finalize
   QHP agreements with marketplaces until November 3, 2014, and plans will not be displayed
   on marketplaces until November 15, 2014. This means that notices directing enrollees to
   the marketplace will be sent at least 45 days before the enrollee is able to access their plan
   options on the marketplace. This also means that for small groups operating on a calendar
   renewal or a January or February renewal, notices will direct groups to the SHOP prior to
   plan options being made available for small groups. Modifying the notice requirements to
   coincide with the open enrollment period would also provide continuity in future years when
   open enrollment period dates may change. Additionally, under current regulations, a
   summary of benefits and coverage must be sent to enrollees 60 days in advance of making
   a material modification to a plan. We ask that HHS also consider aligning the renewal
   notices with the summary of benefits and coverage timelines.

   Recommendation #6: Clarify that changes in benefits that impact rates for the
   product by no more than 2% also include changes as a result of federal or state
   guidance or regulations (not just state or federal law).

   Rationale:

   The provision as it is written only references changes in federal or state laws as being
   excepted from the 2% limit on benefit changes, and does not include changes as a result of
   regulations or guidance. Given the variety of mechanisms used to provide new
   requirements to issuers, we ask CMS to include federal and state regulations and guidance
   in addition to federal and state laws.

   For example, California’s marketplace will require through its standard plan designs that all
   marketplace plans embed the pediatric dental benefit (whereas last year the pediatric
   benefit was required to be offered as a stand-alone benefit). If only changes by state or
   federal “law” (as opposed to regulation) are permitted, everyone receiving a marketplace
   plan in California could be required to receive a discontinuation notice in 2015 to
   accommodate the standard plan design changes, which clearly would not be the intent of
   these rules.

   Recommendation #7: Defer to state regulators to develop expectations for the
   notification and closure of non-modified products moving forward.

   Rationale:

   Most state DOIs have established requirements for product discontinuation, including
   reviewing issuer communications. BCBSA encourages CMS to defer to existing state

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   requirements, and permit states to be able to develop either one standard notice as the
   NPRM proposes without federal review or to develop custom notices as they deem
   necessary to clearly communicate the changes to their citizens. If CMS maintains the
   requirement to review all notices, this review should be expedited.

   Recommendation #8: Give issuers flexibility to modify notices and provide
   additional information to help consumers make informed decisions.

   Rationale:

   Issuers should have the option to make modifications to the model language to: reflect the
   actual policy year of the group or enrollee; to direct them to the appropriate enrollment
   timeframes; to include the company name instead of terms like “we” and “us;” and to speak
   to consumers in a customer-friendly voice, such as being able to thank them for being their
   customer in order to make the notice more readable and consumer-friendly.

   Recommendation #9: Clarify that notices should only be sent to the primary
   policyholder in the individual market and only to plan sponsors (i.e., employers) in
   the group market.

   Rationale:

   It would be administratively burdensome for issuers to distribute these notices to all
   members, including dependents, in the individual market when the policyholder is the
   primary decision maker. For example, what is a child going to do with a notice?

   In group situations, employees could be confused, alarmed and/or misled by the notice
   since they are not involved in the initial purchase decision.

          o     Employees receiving discontinuation notices may think they need to do
                something, even though their employer handles the purchase of employer-
                provided insurance.

          o     Employees receiving the renewal notice may be misled into thinking their current
                coverage is not changing, even though the employer may be planning to change
                their plan and/or issuer or even discontinue offering employer-provided
                insurance.

   Recommendation #10: Increases in service area should not constitute a change that
   would result in plan cancelation.

   Rationale:

   As written, a significant area expansion would be viewed as a discontinuation, which we
   believe is not the intent.

   Recommendation #11: Allow new plans that have been created to reflect network
   pricing to be considered a new plan within the same product, not a new or modified
   product.

   Rationale:

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   Under previous guidance from CMS, issuers were notified that in 2015 that they would be
   restricted from differentiating pricing based on network as they did in 2014. For 2015,
   issuers that want to vary pricing relativities by network within a service area have been
   instructed to create both a new “product” and “plan” that are service area-specific.
   However, this modification is now being viewed as a discontinuation. If HHS does not allow
   for issuers to consider new “plans” that have been created to reflect network pricing to be
   considered a “plan” within the same “product,” enrollees in those “plans” will receive a
   discontinuation notice, will not be able to be auto-renewed, and will be forced to revisit the
   marketplace purchasing process.

   To illustrate the disruption that will occur, one of our Plans has 52% of individual market
   enrollment in Network A and 48% enrolled in Network B. If this continues to be considered
   a discontinuation, over 35,000 members will be in discontinued exchange products and will
   have to re-enroll for 2015. It is important to note that this is just one issuer in a single state.

   Both the current language in § 147.106, guaranteed renewability of coverage, and the
   proposed changes in the NPRM reference “product” as opposed to “plan” in relation to
   guaranteed renewability, uniform modification and discontinuation. “Product” is also used in
   § 2703 of the Public Health Service Act where the requirements for guaranteed renewability
   are contained. We recommend that in order to differentiate pricing between two networks,
   issuers be permitted to create a new “plan” within the same “product” in order to use network
   as a plan-level modifier to reflect the difference in price. Therefore, changing the “plan”
   number so that an issuer can administratively continue to vary the cost between two
   different networks in a service area should not require a discontinuation as long as it
   remains in the same “product” and there are other plans in the service area for the person to
   enroll in. This policy will avoid such changes being viewed as a discontinuation and enable
   persons enrolled in these plans to be eligible for auto-reenrollment, eliminating potentially
   significant market disruption.

   Additionally, CMS needs to ensure that it is prepared operationally to handle the
   exponential volume of “new plans” as a result of this change. For example, the Plan
   referenced above will have three plans for every one plan it offered in the four rating areas
   with multiple networks, and many of our other Plans have multiple statewide networks.
   CMS should implement an operational crosswalk to maintain enrollment from the 2014 plan
   into the 2015 plans to avoid disruption.

   Recommendation #12: Allow issuers to “map” members whose coverage is being
   discontinued to a new product that most closely resembles their old product on the
   marketplace.

   Rationale:

   Allowing “mapping” to the closest product would reduce the number of people who would be
   forced to go through the shopping and enrollment process on the marketplace, and thereby
   would reduce the number of people who go uninsured because they do not want to shop for
   insurance again. "Mapping" occurs when an insurer automatically enrolls a policyholder in a
   plan with benefits closely aligned with the discontinued plan. During the discontinuation and
   replacement process, the insurer will notify impacted policyholders of their right to choose
   any other product offered by the insurer. The notice letter will state that if the policyholder
   does not elect a new product, the policyholder will be enrolled in a plan with benefits most

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   closely aligned with the discontinued plan ("mapped" to a new plan). Mapping has been
   used for years in Medicare Advantage and Part D.

   Recommendation #13: Provide clarification as to how the uniform modification policy
   will interact with the HIOS ID requirements.

   Rationale:

   Issuers must have different HIOS IDs for each plan. For plans with rolling renewal, it
   appears that issuers need to have two separate HIOS IDs for one plan – one HIOS ID for
   the plan with uniform modifications and one HIOS ID for the plan without the uniform
   modifications. Issuers need clarification on this issue as soon as possible in order to
   request enough IDs for the filing process.

   Recommendation #14: Clarify that changes to care management, network tiering
   structures, the addition of a network tier and formulary are outside the scope of
   product discontinuation rules.

   Rationale:

   Issuers must have the flexibility to make changes to care management, network tiering
   structures and formulary to reflect the evolving nature of these key plan features.

   Recommendation #15: Add the following language on page 15817 of the Preamble:
   “States would have the flexibility to apply additional criteria that broaden the scope of
   what would be considered a uniform modification, but not narrow its scope,” and
   provide additional clarity about what this language means.

   Rationale:

   To ensure states are comfortable that they have the authority to broaden the scope of the
   definition of uniform modification, this language should be included in the Final Rule itself
   and not just the Preamble and additional clarity should be added so the intent of the
   language is better understood. Additionally, states that historically have allowed for a
   broader uniform modification standard under their existing laws and regulations should be
   allowed to continue that without any modification to their laws and regulations.

   Recommendation #16: Limit the restrictions on product type to plans transitioning to
   or from an HMO.

   Rationale:

   While the NPRM only mentions HMO and PPO as product types, there are other types such
   as EPO, POS, etc. We believe it would be clearer if the requirement only applied when a
   plan either becomes an HMO or is no longer an HMO. For example, a plan might be
   considered a PPO/EPO plan where the only EPO benefit is a single benefit to
   accommodate a vendor arrangement and the issuer later wants to discontinue the vendor
   arrangement and contract directly with providers. By limiting the restrictions on product
   type to plans transitioning to or from an HMO, the Final Rule would clarify that such
   changes would not be considered as product discontinuations.


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3. Relation of Rate Review and Product Discontinuance (Preamble)

   The Preamble notes that some issuers could try to avoid rate review by withdrawing
   products and refiling them as “new” products. CMS intends to apply the criteria for product
   discontinuation and renewal to determine whether the rate filing is subject to review.
   Specifically, if an issuer withdraws a product in a market and, within a 12-month period,
   reintroduces a product in that market with modifications of the discontinued product that do
   not differ from the above criteria, CMS would consider the issuer to be continuing to offer the
   same “product” within the meaning of that term under §154.102. As such, the rate filing for
   the product would be subject to rate review if it meets or exceeds the specified thresholds.

   Recommendation:

   BCBSA supports the proposed provision but recommends that CMS clarify that CMS or the
   state (whichever is the effective reviewer of rates) take into consideration the allowances
   under the modification guidance and the impact on rates in order to provide flexibility to
   issuers while discouraging the practice of withdrawing and refiling products.

   Rationale:

   The proposed provision appears intended to prevent gaming of the rate review
   requirements, and thus likely will result in a more level playing field.


PART 148: REQUIREMENTS FOR THE INDIVIDUAL MARKET

4. Fixed indemnity health insurance in the individual market (§ 148.220)

   Issue:

   The Rule proposes to amend the criteria for fixed indemnity insurance to be treated as an
   excepted benefit in the individual market by eliminating the requirement that fixed indemnity
   insurance must pay on a per-period basis (as opposed to a per-service basis), and instead
   requires, among other things, that it be sold only as secondary to other health coverage that
   is minimal essential coverage (“MEC”). Additionally, the fixed indemnity coverage cannot be
   sold by the same issuer that sells the major medical coverage.

   Recommendation #1: Include a separate attestation in the application to be signed or
   initialed by the enrollee verifying that the applicant has MEC.

   Rationale:

   BCBSA is supportive of CMS’ efforts to ensure that consumers have MEC when purchasing
   a fixed indemnity plan. An enrollment application with a signed and initialed attestation
   statement is a reasonable way of obtaining assurance that the enrollee has MEC.

   Recommendation #2: Add a reference to coverage that pays benefits on a per period
   basis.

   Rationale:


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   The language in the Preamble states that coverage that makes payment on a per-period
   basis is permitted; however, the language in the NPRM only references “benefits that are
   paid is a fixed dollar amount per day…”

   Recommendation #3: Remove the requirement that fixed indemnity coverage cannot
   be sold by the same issuer of major medical coverage.

   Rationale:

   The requirement that the fixed indemnity coverage cannot be sold by the same issuer is
   punitive to companies who desire to sell both types of coverage. If an existing member has
   fixed indemnity coverage with an issuer that also sells major medical coverage, that issuer
   would not be allowed to offer the member an ACA-compliant health plan unless the issuer
   first cancelled the member’s fixed indemnity coverage.


PART 153: STANDARDS RELATED TO REINSURANCE, RISK CORRIDORS AND RISK
ADJUSTMENT

5. Provisions and Parameters for the Reinsurance Program (§ 153.405)

   Issue:

   The Rule proposes to revise the allocation of reinsurance contributions so that allocations
   would go first to the reinsurance pool and administrative expenses and then to the U.S.
   Treasury (once the targets for reinsurance payments and administrative expenses are met).
   The Preamble also notes that CMS will make payments of sequestered FY 2015 funding for
   the reinsurance and risk adjustment programs, as soon as practicably possible in fiscal year
   2016, which begins on October 1, 2015.

   Recommendation:

   BCBSA supports prioritizing distribution of reinsurance contributions to the reinsurance
   payment pool over payments to the U.S. Treasury, and distributing reinsurance contribution
   funds to the U.S. Treasury once the targets for reinsurance payments are met.

   We also recommend that CMS lower the attachment point and prorate up the coinsurance
   rate to ensure that all available dollars are spent in 2015.

   Rationale:

   The transitional reinsurance program is designed to stabilize premiums during the initial
   years of the program, as state and federal high-risk pool enrollees move into the individual
   market and issuers in that market offer coverage regardless of preexisting conditions or
   health status. Prioritizing allocation of reinsurance contributions to the reinsurance payment
   pool will help moderate future premium increases.

      ACA § 1341 provides CMS with discretion to allocate reinsurance contributions as the
       Agency determines appropriate to carry out the goals of the statute.



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        ACA § 1341 calls for the establishment and administration of a transitional reinsurance
        program, pursuant to which specified “contributing entities,” for each of the three years of
        the program, contribute monies that are to be used “to make reinsurance payments to
        health insurance issuers … that cover high risk individuals” in the individual market.1
        The statute provides that the contribution amount “can” include an amount to fund
        administrative expenses, that “the aggregate contribution amounts … shall … equal”
        specified amounts to be distributed as reinsurance payments during each of the three
        years of the program, and that “in addition to the aggregate contribution amounts [for
        reinsurance payments], each [contribution amount] reflects” a proportionate amount to
        generate funds to be paid to the U.S. Treasury.2

        The statute imposes few requirements on the expenditure of reinsurance contributions.
        The funds “may be allocated and used in any of the three calendar years for which
        amounts are collected based on the reinsurance needs of a particular period or to reflect
        experience in a prior period,” and funds otherwise unexpended at the end of the program
        period “may be used to make payments under any reinsurance program” in a
        subsequent period. The statute also states that contribution amounts collected for the
        U.S. Treasury “shall be deposited into the general fund … and may not be used for the
        program established under this section.”3 Other than these limited directions, the statute
        is silent regarding the priority, method and timing of allocation of reinsurance contribution
        funds. The statute does not, for example, specify that payments must be made to
        issuers and to the U.S. Treasury simultaneously, or that the U.S. Treasury must receive
        its full funding before reinsurance pool payments are made. The statute also is silent on
        fund distribution if there are insufficient reinsurance contributions collected to satisfy the
        statutory obligations. The legislative history for ACA § 1341 similarly does not address
        these questions. Congress’ silence thus provides the flexibility for CMS, in interpreting
        and implementing the statute to decide the priority, method and timing of allocation of
        monies collected through reinsurance contributions.

        The U.S. Supreme Court has held that where a statute is silent on a particular question,
        Congress is considered to have given the executive agency the authority to resolve the
        question, and courts must uphold the agency’s reasonable resolution of it.4 The Court
        emphasized that “the principle of deference to administrative interpretations has been
        consistently followed by this Court whenever a decision as to the meaning or reach of a
        statute has involved reconciling conflicting policies, and a full understanding of the force
        of the statutory policy in the given situation has depended upon more than ordinary
        knowledge respecting the matters subjected to agency regulations.”5 That is assuredly
        the case in this instance involving the traditional reinsurance program. Moreover, it is a
        venerable principle that such judicial deference “has peculiar weight when [the issue]
        involves a contemporaneous construction of a statute by [those] charged with the
        responsibility of setting its machinery in motion; of making the parts work efficiently and




1
   ACA § 1341(b)(1).
2
  ACA § 1341(b)(3)(B).
3
  ACA § 1341(b)(4) (emphasis added).
4
  Chevron U.S.A. Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 842 (1984).
5
  Id. at 844 (interior quotation marks and citations omitted).


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        smoothly while they are yet untried and new.”6 Given the newness and enormous
        complexity of the Affordable Care Act, that principle would seem to fully apply here.

        Prioritizing distribution of funds for reinsurance payments to issuers does not conflict
        with, and is not otherwise inconsistent with, the statute, which prohibits use of funds
        collected for the U.S. Treasury for reinsurance payments but does not specify the priority
        or order of payments. In other words, the statutory prohibition set out in ACA
        §1341(b)(4) seems to suggest that funds collected for the U.S. Treasury could not be
        used to make reinsurance pool payments instead of making payments to the U.S.
        Treasury. In the event CMS collects insufficient reinsurance contributions to meet all of
        the statutory obligations, however, a predetermined order of funding allocation that
        prioritizes full commitment to reinsurance pool payments is not improperly using funds
        intended for the U.S. Treasury to make reinsurance payments instead. Rather, CMS’
        proposed approach merely applies all reinsurance contributions toward reinsurance pool
        payments until the statutory reinsurance pool payment obligation is fulfilled before
        directing funds to the U.S. Treasury in fulfillment of this additional obligation.

        CMS’ proposed approach also prioritizes the use of dollars for the statutory purpose of
        the reinsurance program – stabilizing premiums by addressing the potential risk of
        enrollees with high medical costs – over use of dollars for the U.S. Treasury. Although
        the latter is a mandatory expenditure under § 1341, it is a separate and distinct
        obligation from the purpose of the reinsurance program. Accordingly, CMS would be
        acting within the scope of the Chevron doctrine when the agency, faced with the
        statute’s silence regarding use of funds in the event of insufficient reinsurance
        contributions, construes the statute so as to meet the goals of the reinsurance program
        and to fulfill the other purposes of the statute as well.

       CMS may adjust its interpretation of a statute so long it explains its position.

        CMS’ proposal to prioritize distribution of monies towards reinsurance pool payments
        before allocating dollars to the U.S. Treasury reflects a change in approach relative to
        the 2014 Notice of Benefit and Payment Parameters. In March 2013, the agency
        indicated that in the event it did not collect sufficient reinsurance contributions to satisfy
        the statutory payment obligations, the agency would allocate each reinsurance dollar
        according to the following approach: 83.2 percent to reinsurance payments, 16.6 percent
        to the U.S. Treasury, and .2 percent to administrative expenses.7 Although the proposal
        in the NPRM reflects a change in the agency’s approach, such a change in position does
        not preclude judicial deference to the agency’s interpretation. Deference would still be
        afforded if the agency explains its change of position,8 which CMS does in the NPRM:
        “Due to the uncertainty in our estimates of reinsurance contributions to be collected and


6
  Norwegian Nitrogen Prods. Co. v. United States, 288 U.S. 294, 315 (1933), cited in, e.g., Zenith Radio
Corp. v. U.S., 437 U.S. 443, 450 (1978); Washington Water Power Co. v. FERC, 775 F.2d 305, 322
(1985).
7
  U.S. Department of Health and Human Services, “Patient Protection and Affordable Care Act; CMS
Notice of Benefit and Payment Parameters for 2014 and Amendments to the CMS Notice of Benefit and
Payment Parameters for 2014; Final Rules; Patient Protection and Affordable Care Act; Establishment of
Marketplaces and Qualified Health Plans; Small Business Health Options Program; NPRM” 78 Fed. Reg.
15410, 15460 (Mar. 11, 2013).
8
  Nat’l Cable & Telecomm. Ass’n v. Brand X Internet Serv., 545 U.S. 967, 981-2 (2005).


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          to help assure that the reinsurance payment pool is sufficient to provide the premium
          stabilization benefits intended by the statute…”9

         Reducing the 2015 attachment point or prorating up the coinsurance rate to ensure that
          all available dollars are spent in 2015.

          Given the continued uncertainty in the insurance marketplace caused by such factors as
          the extension of the Administration’s transitional policy, lowering the 2015 attachment or
          prorating up the coinsurance rate to ensure that all available dollars are spent in 2015
          would ensure that the reinsurance program works to mitigate risk as intended.
          Additional funding may be required to mitigate premium increases for 2015, including
          eliminating the exchange user fee for 2015.

6. Provisions for the Risk Corridors Program (§ 153.500)

      Issue:

      CMS is considering adjustments to the risk corridors formula to help mitigate additional
      administrative costs and uncertainties resulting from transitions to the 2014 market rules
      and the Administration’s transition policies. Unlike the 2015 Notice of Benefits and
      Payment Parameters, which would apply these adjustments only in states that allowed
      individuals to extend coverage in non-ACA compliant policies, this rule applies to QHP
      issuers in all states. The modifications are as follows:

         An increase in the administrative cost ceiling from 20% to 22% for 2015.
         An increase in the profit margin floor from 3 percent to 5 percent.

      CMS intends to implement this program in a budget-neutral manner, and may make future
      adjustments to program parameters, upwards or downwards, as necessary to achieve this
      goal.

      Recommendation #1: BCBSA supports the proposed changes to the risk corridors
      program. However, we recommend increasing the administrative cost ceiling to 25%
      for 2015.

      Rationale:

      BCBSA agrees that these changes are needed to help mitigate additional administrative
      costs and uncertainties. We believe that an administrative cost ceiling of 25% would be
      more appropriate given the significant amount of back-end functionality that health plans
      have assumed and the potential for higher than anticipated administrative costs into 2015.

      Recommendation #2: BCBSA opposes application of budget neutrality to the risk
      corridor program.

      BCBSA opposes the stated intention of CMS to implement the risk corridors program in a
      budget-neutral manner. While we appreciate the issuance of the April 11 FAQ indicating
      that budget neutrality would apply over the 3 years of the ACA’s risk corridors program, we
9
    NPRM at 15820.


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   do not believe that this will provide adequate assurances to health plans that they can rely
   on the risk corridors program. We recommend that risk corridors parameters only be
   changed prospectively and that final risk corridors parameters for a benefit year should be
   published well in advance of the QHP filing deadline.

   Rationale:

   The risk corridors program is intended to increase competition by encouraging participation
   in the marketplaces. Potential QHP issuers need to be able to evaluate the parameters of
   the program and have confidence that the program will make payments and assess charges
   according to the published parameters before making their decision to participate in the
   marketplaces.

   Implementing the risk corridors program in a budget-neutral manner is a reversal from the
   position that CMS took last year in the 2014 Benefit and Payment Parameter final rule,
   where it stated, “The risk corridors program is not statutorily required to be budget neutral.
   Regardless of the balance of payments and receipts, CMS will remit payments as required
   under § 1342 of the Affordable Care Act.” 78 Fed. Reg. 15,473 (March 11, 2013). QHPs
   relied on the agency’s 2013 non-neutrality in setting their rates for 2014 and participating in
   marketplaces.

   The statute imposes an obligation on the Secretary to make risk corridors payments to
   QHPs that meet the statutory criteria, even if those payments exceed the Secretary’s risk
   corridors collections from QHPs. The statute expresses congressional intent to designate
   the Treasury as the source of funds for any shortfall in the ACA risk corridors program.
   Congress did so through its direction in § 1342(a) that the ACA risk corridors program “shall
   be based on” the similar program under Medicare Part D. ACA § 1342(a). The Medicare
   Part D program likewise authorized risk corridors collections, and, in addition, specified the
   Treasury as the source of funds for any shortfall between risk corridors collections and
   payments.

   While the 3-year interpretation of budget neutrality in the April 11 CMS FAQ permits the
   carryover of an obligation from one year to the next, it does not provide adequate
   assurances that adequate dollars will be available due to the time-limited nature of the
   ACA’s risk corridors program. If issuers cannot rely on the availability of funding under the
   risk corridors program, then they will need to be more conservative in their pricing of QHPs.

   We urge the administration to revert to the previous interpretation that the risk corridors
   program is not statutorily required to be budget neutral given the uncertainty in implementing
   this new law.


PART 155 – EXCHANGE ESTABLISHMENT AND RELATED STANDARDS

Subpart C – General Functions of an Exchange

7. Navigator, Non-navigator Assistance Personnel and Certified Application Counselor
   Program Standards (§§§ 155.210, 155.215 and 155.225)

   Issue #1:


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   The Rule proposes to preempt certain types of state laws applicable to Navigators, non-
   Navigator assistance personnel, and certified application counselors (“CACs”) that CMS
   considers to conflict with or prevent the marketplaces from implementing these consumer
   assistance programs or make it impossible for assisters to perform their duties. Some, but
   not all, of the proposed provisions would apply in state marketplaces.

   The Rule also proposes to makes several changes to update the standards applicable to
   these consumer assistance entities and individuals, such as prohibiting them from specified
   marketing or solicitation activities.

   Recommendation: BCBSA supports this provision, and supports its application to
   state-based marketplaces.

   Rationale:

   Application of this provision to state-based marketplaces would provide consistency
   throughout the consumer assistance programs and minimize confusion if a state transitions
   from the FFM to a state-based marketplace.

   Issue #2:

   The Rule proposes to prohibit Navigators and other assisters from providing gifts including
   gift cards or cash, unless they are of nominal value, which it defines as $15 or less.

   Recommendation: BCBSA supports CMS’ approach on defining nominal value for
   gifts but we urge CMS to prohibit offering gift cards or cash entirely.

   Rationale:

   We are concerned that the use of gift cards or cash alternatives could lead to improper
   conduct or be viewed as a direct inducement for application assistance or enrollment to
   potential enrollees. Gift cards or cash, regardless of how nominal the amount, would be an
   improper use of Navigator and CAC funds and may inappropriately influence consumers’
   choices

8. Certified Application Counselors (§ 155.225)

   Issue:

   The Rule proposes to require that CACs be recertified on at least an annual basis, and
   successfully complete marketplace-approved recertification training. Each marketplace
   would establish its own recertification standards.

   Recommendation:

   BCBSA supports including a recertification requirement and training standards for CACs.

   Rationale:

   This requirement will help ensure that individuals are qualified to assist consumers applying
   for marketplace and other types of coverage.

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9. Payment of Premiums (§ 155.240)

   Issues:

   To provide flexibility for marketplaces to establish a standardized methodology for partial
   month premiums or rely on issuers to prorate premiums in accordance with state law and
   issuer policies, the Rule proposes to permit marketplaces to establish one or more standard
   processes for premium calculation. The NPRM proposes to apply the FF-SHOP premium
   proration rule to the FFM.

   Recommendation:

   BCBSA strongly recommends that the FF-SHOP premium proration rule be limited to SHOP.
   All marketplaces, including FFMs, should continue to rely on issuers to prorate premiums in
   accordance with state law and issuer policies as they currently do for the 2014 benefit year.

   Rationale:

   Following the operational guidance for the 2014 benefit year, and the procedures in
   existence prior to 2014, any requirement on premium proration should continue to be a
   business decision made by issuers in accordance with state laws. The allowance is
   especially important as CMS continues to formalize the appropriate effective dates for SEPs;
   otherwise implementing formulaic premium proration rules would be difficult to
   operationalize given that the SEP effective dates have not yet been specified.

10. Privacy and Security of Personally Identifiable Information (§ 155.260)

   Issue:

   The Rule proposes to add a provision specifying that any person who knowingly and willfully
   uses or discloses information in violation of ACA § 1411(g) will be subject to civil money
   penalties described § 155.285. The Preamble states that the agency is proposing this
   reference “to clearly link these two regulatory provisions [§ 155.260 and § 155.285] and to
   ensure that readers fully understand how civil money penalties will be assessed for any
   improper use or disclosure of information.” (Emphasis added)

   Recommendation:

   BCBSA does not support amending § 155.260(g) to add a reference to §155.285, which
   establishes the civil money penalties (CMPs).

   Rationale:

   The proposed amendment is duplicative of the proposed provisions in § 155.285 defining
   the scope of CMPs. The CMPs should be defined just in § 155.285. Further, the application
   of § 155.260 regarding what information is confidential and how it must be kept confidential
   may, in some cases, be broader than the specific prohibitions on disclosure in ACA
   §1411(g) and should not be linked here.



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11. Bases and Process for Imposing Civil Money Penalties for Provision of False or
    Fraudulent Information to an Exchange or Improper Use or Disclosure of Information
    (§ 155.285)

   Issues:

      Inclusion of QHP issuers in definition of a “person.” The NPRM specifies the
       grounds for imposing CMPs on a person if CMS determines that the person has
       provided false or fraudulent information during the process of applying for enrollment in a
       QHP offered through a marketplace. It defines “person” to include QHP issuers (among
       others). Including QHP Issuers in the definition of person potentially creates confusion
       regarding the source of required application information provided to establish eligibility to
       purchase the QHP.

      Overly Broad Scope. In attempting to define the scope of prohibitions under § 1411(g),
       the Rule proposes a link back to the privacy and security language in 45 CFR § 155.260.
       In doing so, the CMP may potentially have the effect of expanding the prohibitions under
       § 1411(g) on use and disclosure of applicant information and exacerbating existing
       uncertainties and ambiguities in § 155.260. Specifically:

       o Use limitations not properly defined. The Preamble’s discussion acknowledges that
         § 1411(g) “limits the ways in which information provided by an applicant or from a
         Federal agency can be used,” but this is not reflected in the proposed regulation. (79
         Fed. Reg. at 15835 (emphasis added)).

       o “Marketplace PII” not defined. The Preamble provides a definition of “Marketplace
         PII” as “information required to be provided by an applicant” or “information from a
         Federal agency that has been verified as being consistent or inconsistent with the
         records of that Federal agency.” (79 Fed. Reg. at 15835) The Preamble states that §
         1411(g) applies to disclosures of “Marketplace PII” but that is not reflected in the
         proposed regulation, which instead refers to “any information.”

       o Scope of affected information is ambiguous. The NPRM defines any violation of
         privacy and security standards under § 155.260 as a violation of § 1411(g). However,
         § 155.260(b) may potentially be read to extend more broadly than §1411(g), to other
         personally identifiable information, beyond the application information subject to §
         1411(g). § 155.260 is arguably ambiguous as to what information it covers, how such
         information may be used and disclosed, and whether information gathered from or on
         behalf of an applicant who ultimately enrolls can then be used/disclosed in the same
         way as similar information can be used or disclosed about an enrollee who did not
         come through an marketplace.

      Application information appears to maintain its “Marketplace PII” status
       indefinitely. CMS does not clarify whether the limitations under § 1411(g) on use and
       disclosure, even if limited to application information, would continue to apply to such
       information after the individual enrolls in a QHP. This ambiguity is particularly
       concerning given the discussion in the Final Exchange and QHP Establishment Rule
       that CMS received comments recommending that the term applicant be limited to those
       individuals who do not ultimately become enrollees, but CMS did not adopt this
       recommendation.


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      Use of an incorrect evidentiary standard for CMP violations. The NPRM references
       imposing CMPs based on “credible evidence” and a “reasonable determination” by the
       agency. However, CMPs for violations of §1411(g) are potentially significant and should
       be based on a “preponderance of the evidence” standard.

   Recommendation #1: Clarify application of CMPs.

   Clarify that the CMP for providing false or fraudulent application information applies only to
   persons that provided the application information to CMS, and that nothing in the CMP
   provision is intended to suggest that QHP issuers have an obligation to verify application
   information provided by applicants. Further, QHP issuers should operate within a safe
   harbor for the collection and transmission of such information.

   Rationale:

   The process for determining whether a CMP should be applied to individuals providing false
   or fraudulent information during the application process should not in any way imply that
   QHP issuers have an obligation or responsibility to provide application information to a
   marketplace. In the enrollment process, QHP issuers provide many types of data to a
   marketplace. There is a significant amount of data transferred between the issuer, a
   marketplace, CMS and other entities, with each transaction increasing the risk for
   compromised data integrity and reliability.

   Recommendation #2: Eliminate ambiguities about the scope of ACA § 1411(g).

   CMS should revise § 155.285(a)(1)(iii) to simply state that CMS may impose CMPs for a
   “knowing and willful use or disclosure of information in violation of § 1411(g) of the
   Affordable Care Act” and delete the remainder of § 155.285(a)(i)(iii), including (A)-(C), which
   attempt to summarize what constitutes a violation of § 1411(g).

   Rationale:

   As proposed, § 155.285(a)(iii) establishing CMP for violations of § 1411(g), attempts to
   define the scope of the prohibitions under § 1411(g) and links back to the privacy and
   security language in 45 CFR § 155.260. In doing so, the CMP may potentially have the
   effect of expanding § 1411(g)’s prohibitions on use and disclosure of applicant information
   and exacerbating existing uncertainties and ambiguities in § 155.260.

   Recommendation #3: Correct the ambiguity that application information maintains its
   “Marketplace PII” status indefinitely.

   BCBSA recommends that CMS define “Marketplace PII” to make clear that once an
   individual enrolls in a QHP, any information a QHP issuer has received from or on behalf of
   that individual in connection with applying for an marketplace product (i.e., “Marketplace
   PII”) is no longer considered to have come from an “applicant.”

   In addition, the provision should state that a QHP issuer may use or disclose “Marketplace
   PII” pertaining to an enrollee in any way permitted by HIPAA. The agency should include a
   sentence in the definition of “Marketplace PII” explaining that “Marketplace PII” does not
   include any information received by a QHP issuer from individuals who are enrolled in a
   QHP offered by the QHP issuer, whether such information was received prior to or after the

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   individual’s enrollment. The definition should also define what constitutes “marketing”
   activities consistent with HIPAA privacy regulations.

   Rationale:

   The NPRM does not clarify whether the limitations under § 1411(g) on use and disclosure,
   even if limited to application information, would continue to apply to such information after
   the individual enrolls in a QHP or to those individuals who do not ultimately become
   enrollees. Also, neither the Preamble statement regarding the use of PII for marketing
   purposes nor the proposed regulatory language define what is considered “marketing,” so it
   is not clear what activities would require applicant consent. Without this clarification, it’s
   possible that issuers could be out of compliance for something as unlikely as providing a
   summary report stating that 15 percent of its members have incomes between 150 and 200
   percent of the federal poverty level.


   Recommendation #4: Establish “preponderance of the evidence” as the correct
   evidentiary standard for CMP violations.

   Rationale:

   CMPs for violations of § 1411(g) should be consistent with evidentiary standards under the
   Administrative Procedures Act, which results in most administrative cases being decided on
   the “preponderance of the evidence” standard. References to imposition of penalties based
   on “credible evidence” and a “reasonable determination” by the agency should be
   eliminated.

   Recommendation #5: Extend the good faith compliance standard for actions that
   could result in CMPs for 2014 and 2015.

   Rationale:

   While BCBSA recommended earlier in this comment letter that CMS extend a good faith
   compliance standard for conduct relating to 2014 and 2015 benefit years, the new proposed
   155.285 illustrates the need for an extension of the good faith safe harbor in the Rule.

   The NPRM specifies additional grounds for imposing CMPs, including with respect to §
   1411(g) as discussed above. The new proposed CMP for violations of § 1411(g) ties back to
   the recently revised § 155.260, which in turn sets standards that must be encapsulated in
   issuer agreements for 2015 that have not yet been issued by the FFM or state-based
   marketplaces. As the standards are continuing to evolve, issuers as well as CMS are still
   solidifying procedures and standards, making an extension of the good faith compliance
   safe harbors to 2015 entirely appropriate.

   We note that the existing good faith compliance safe harbor in §156.800(c) only applies to
   HHS enforcement in the FFM under §§ 156.805 and 810. The good faith compliance
   standard would not extend to HHS enforcement under § 155.285, which applies whether the
   Issuer is operating in a FFM or state-based Marketplace. For that reason, HHS should
   adopt a separate good faith compliance standard with respect to HHS enforcement of the
   privacy and security standards under § 155.285, analogous to the approach taken in
   adopting a separate good faith compliance standard in § 153.740(a) for the premium

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   stabilization programs. As with those data submission standards, the good faith compliance
   standard in § 158.800(c) does not reach the enforcement provisions applicable to §155.285.

   In the enrollment process, QHP issuers provide many types of data to a marketplace. There
   is a significant amount of data transmitted between the issuer, the marketplace, CMS and
   potentially other entities. Each transaction increases the risk of compromised data integrity
   and reliability, leading to a situation where the data could be false simply due to an error.

Subpart E - Exchange Functions in the Individual Market: Enrollment in QHPs

12. Enrollment of Qualified Individuals in QHPs (§ 155.400)

   Issue:

   The Rule proposes to require marketplaces to provide instructions to issuers regarding
   payment of the first month’s premium for enrollments. It proposes that marketplaces may,
   and the FFM will, require payment of the first month’s premium in order to effectuate an
   enrollment.

   Recommendation:

   BCBSA strongly recommends that marketplaces not provide instructions to issuers
   regarding payment of the first month’s premium for enrollments. Instead, marketplaces
   should allow issuers to establish their own business rules on first month’s premium for
   enrollments.

   Rationale:

   Decisions regarding payment of the first month’s premium for enrollment have traditionally
   been a business decision made by issuers. Although for the 2014 open enrollment period
   issuers were originally required to have received and processed initial payment no later than
   the day before coverage was effectuated, CMS later reversed this requirement and instead
   allowed issuers the flexibility to establish later initial premium payment cut-off dates in order
   to encourage enrollment and support consumers who had difficulty enrolling in marketplace
   coverage. BCBSA strongly recommends that issuers continue to have such flexibility to
   establish their own payment guidelines for enrollment, provided the rules are implemented in
   a non-discriminatory manner.

13. Initial and Annual Open Enrollment Periods (§ 155.410 – in Preamble only)

   Issue:

   CMS plans to modify the timing of the notice of annual open enrollment period (OEP) and
   annual redetermination. CMS indicates that it believes it will be necessary to change the
   date that the marketplace will send a written notification for the 2015 open enrollment to
   enrollees. Because the annual enrollment period was moved to November from October for
   2015, CMS is considering shifting the required timeframe for such notice to October 1
   through October 31, or October 1 through November 15.

   Recommendation:


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   BCBSA supports modifying the timing of the notice of annual open enrollment period and
   annual redetermination through November 15. Consumers should receive detailed
   information from a marketplace on their eligibility changes, new subsidy amounts, and what
   action they need to take, if any, and by what date, to maintain their existing coverage.

   Rationale:

   BCBSA looks forward to continuing to work with CMS on processes for redetermination and
   enrollment in 2015. Notification timeframes should be coordinated among states, issuers
   and CMS to ensure consumers are not receiving multiple notices at different times
   throughout the year. Processes should also be streamlined to ensure a consumer that
   prefers to maintain their existing coverage will be able to keep it the next year.

   If the FFM were to send an eligibility redetermination notice in October, the notice would not
   include changes in their Advanced Premium Tax Credit (APTC) amount for 2015. In order
   to calculate someone’s 2015 APTC amount, CMS will need to continue to determine the
   second lowest-cost silver QHP on the marketplace. However, final QHPs will not be
   determined until as late as November 3 on the FFM. Without including this information in
   the notice, the FFM would either need to send a separate notice after all the QHPs have
   been finalized, or require all consumers to come back to healthcare.gov to receive their
   APTC information. The latter two approaches would create a lot of additional work for
   marketplaces and individuals, which could create confusion and high demands on
   marketplace websites and call centers.

   Further, extending the allowable time into November would provide additional time to
   develop a master enrollment database with necessary information to ensure individuals
   receive an annual eligibility redetermination notice based on correct information from 2014.

14. Special Enrollment Periods (§ 155.420)

   Issue:

   The NPRM amends provisions related to special enrollment periods (“SEPs”), effective
   dates for certain SEPs and the length of SEPs. The proposed changes would provide
   marketplaces with broad authority to establish enrollment periods and retroactive effective
   dates without specifying in detail the circumstances that would trigger the SEPs.

   Currently, for SEPs for errors, contract violations, and exceptional circumstances, coverage
   must be effective on an appropriate date based on the circumstances of the SEP. CMS
   guidance provides that coverage must be effective on either the date of the SEP-triggering
   event or the regular effective date for SEPs. The Rule proposes to expand the ability of
   marketplaces to establish the lengths of the SEPs and to establish retroactive effective
   coverage dates based on whatever the marketplace deems appropriate to the
   circumstances.

   In addition, CMS proposes that the marketplace may permit a qualified individual or enrollee
   to have a later date of coverage in the event of birth, adoption or placement for adoption or
   placement in foster care. Current regulations require that the effective date of coverage is
   the date of the life event in the previous sentence.



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   Recommendation #1: To ensure that SEPs do not undermine the risk pool, CMS
   should clarify the circumstances that trigger SEPs, effective dates and lengths of
   SEPs.

   The FFM and state-based marketplaces (SBM), as applicable, must clarify the criteria for
   “data” and “systems errors,” “misconduct” and “exceptional circumstances” SEPs listed in
   various bulletins and guidance, before an FFM (or SBM) may apply such a SEP. These
   criteria must be clarified and made public, so policies can be applied consistently across
   marketplaces and issuers. Further, the criteria should not permit individuals with health
   conditions to wait until they are sick or need medical attention to enroll in coverage.

   Rationale:

   Issuers need clarification to ensure that SEP policies can be applied consistently across
   marketplaces and issuers. Absent clear and generally applicable guidelines, the availability
   of SEPs may vary by marketplace case manager, marketplace and potentially by issuer—
   which would be unfair to participants and risk destabilizing the risk pool if SEPs are not
   applied uniformly. Consistent application will avoid inconsistent or even arbitrary application
   of SEPs.

   Just as important, however, is that the SEPs should not be so flexible as to be effectively an
   open enrollment period. Issuers have not set current premiums with the expectation that the
   SEPs would effectively allow unlimited open enrollment and CMS recognized that without
   limited enrollment periods, individuals would have no incentive to enroll in coverage until the
   individual was sick or needed medical attention. CMS should not permit the SEPs to
   undermine the clear enrollment boundaries that are necessary to ensure that the
   marketplace markets—and the individual markets generally—are robust and healthy.

   As CMS considers what constitutes a data display error, we encourage CMS to make
   reasonable determinations that consider the information an issuer makes available to
   consumers through their plan materials. The healthcare.gov website provides a simplified
   way of shopping and comparing QHPs, and consumers should be encouraged through
   disclaimers to refer to issuer documents for official information when making their selections.

   We look forward to continuing to work together to ensure information displayed to
   consumers on marketplace portals is clear and accurate for 2015. As BCBSA has
   suggested in previous comments, this goal will be accomplished if issuers, states, and CMS
   clearly understand all certification and recertification criteria before the QHP application
   process begins, there is sufficient time for issuers to validate their data that will eventually
   be displayed to consumers in the marketplace portal, and sufficient time for issuers to
   preview the data in the marketplace portal as it will appear to consumers.

   Ensuring issuers can preview, verify, and easily address issues with Plan information before
   it is provided to consumers will be critical. This process will minimize the burden on issuers
   by mitigating the need for subsequent data changes, and alleviate validation problems that
   issuers encountered during the application window last April. Also, as BCBSA has
   previously recommended, CMS should allow issuers to create their own testing scenarios for
   how data will display in “plan preview.” During the last plan certification window, the use of
   standardized scenarios in “plan preview” verification limited the ability of CMS and issuers to
   adequately test the information displayed to consumers.


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   Recommendation #2: The Final Rule should codify specific criteria and processes for
   consumers to provide proof of an SEP qualifying event, including validating that they
   were impacted by a “data error,” “misconduct” or “exceptional circumstance.”

   Rationale:

   Given the number of SEPs, and the varying circumstances under which an individual may
   qualify for an SEP, the FFM and SBM, as applicable, should establish clear and
   understandable validation processes to ensure issuers, consumers and marketplaces all
   have a common understanding of the circumstances and related proof that qualify an
   individual for an SEP.

   Requiring proof and validation processes will help ensure that SEP policies can be applied
   consistently across marketplaces and issuers, and expedite the process of SEP enrollment
   so that coverage is not delayed and so that issuers and participants are not subject to
   retroactive coverage unnecessarily. Retroactive coverage is costly for issuers, difficult to
   administer correctly, and leaves individuals facing unnecessary out-of-pocket (OOP) costs
   until coverage is effective. Efficient processes should help ensure that retroactive coverage
   is required only when it is unavoidable.

   Relying solely on consumer attestations to determine whether a qualifying event has
   occurred without requiring any proof could undermine the purposes of the defined
   enrollment periods, and undermine the integrity of the exchange enrollment processes.

   If SEPs are solely based on attestations, we are concerned that consumers incentives to
   enroll during defined enrollment periods would be weakened, leading to adverse selection
   and unpredictable costs for issuers. HHS recognized the importance of exchanges putting
   into place verification standards and processes in the March 27, 2012 Final Rule on the
   Establishment of Exchanges. Distinguishing between eligibility for an SEP and eligibility for
   regular enrollment, CMS recognized that SEPs require additional verification standards and
   processes, “Given that the eligibility criteria for some of the special enrollment periods in §
   155.420 do not directly align with the criteria to establish eligibility for coverage through the
   Exchange or insurance affordability programs in § 155.315, we expect Exchanges will use
   other verification standards and processes to determine eligibility for those particular special
   enrollment periods.” Therefore, where an SEP is based on information not available through
   the general application, additional verification is required, and the processes and proof
   should be specified by CMS in the Final Rule.

   Exchanges or issuers are permitted to terminate coverage for purposes of fraud or
   misrepresentation. However, clear and consistent requirements should be established so
   states, exchanges, issuers and CMS can avoid the administrative costs and consumer
   dissatisfaction associated with rescissions due to fraud or misrepresentation. Generally, if
   consumers are provided subsidized coverage when they are not eligible, they will be liable
   for any tax credits through IRS processes. It is also not in the consumer’s interest to incur
   an IRS debt because an exchange fails to properly conduct an eligibility determination.

   Clear validation processes also will ensure that consumers eligible for SEPs are quickly and
   properly enrolled and that consumers not eligible for SEPs are quickly and accurately
   informed of their ineligibility and when they may enroll in coverage.



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   Recommendation #3: The Final Rule should clarify the processes for notifying
   consumers affected by an error, including who should be sending the notification.
   Specifically, we recommend the following:

      The notification requirements should ensure that only individuals immediately affected by
       a data or process error receive a notification.

      When such individuals are notified, the notice should clearly inform the individuals of
       their options, how long they have to select a QHP (if they choose to change QHPs) and
       the earliest date any change would be effective.

      The source of the notice (FFM or issuer) should vary depending on whether the error
       triggers an SEP:

       o If the error triggers an SEP (regardless of the source of the error), the FFM should
         notify the affected members of their options and the process and timelines.

       o If the error does not trigger an SEP (regardless of the source of the error), the issuer
         should notify the affected members of the correction. Issuers should have the
         flexibility to determine the form and content of such notification.

   Rationale:

   Because of the numerous SEPs that are currently available to consumers, and because the
   media coverage of such SEPs does not necessarily fully explain the circumstances under
   which consumers may be eligible for coverage, it is critically important not only that criteria
   and processes are established to ensure the accuracy of SEP enrollment going forward, but
   that these criteria and processes are communicated quickly and accurately to affected
   individuals.

   These recommendations will ensure that SEP policies can be applied consistently across
   marketplaces and issuers. Further, clear and concise consumer communications are
   needed to reduce consumer confusion and to make marketplace enrollment and processes
   more transparent and user-friendly.

   Recommendation #4: CMS should avoid allowing an open-ended enrollment period
   following birth, adoption or placement for adoption or placement in foster care.
   Instead, CMS should establish that the effective date can be no later than the first of
   the month following the qualifying birth/adoption/placement in foster care event.

   Rationale:

   Unless CMS establishes timeframes for an SEP triggered by the relevant qualifying event,
   parents could be encouraged to wait to purchase coverage for the child until significant
   claims are incurred. This would lead to adverse selection, which would increase costs for
   other marketplace enrollees.

   Recommendation #5: Clarify that SEPs conclude at the end of the regulatory period
   or when an individual selects a QHP, whichever is sooner, and that the new coverage
   will start after the existing coverage terminates.


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   Rationale:

   The Rule proposes that a marketplace permit qualified individuals and their dependents to
   enroll in or change from one QHP to another if they are enrolled in a non-calendar year
   individual health insurance policy, even if such non-calendar year policies are renewing.
   Similarly, individuals who lose pregnancy-related coverage are permitted to enroll in a QHP
   when the pregnancy-related coverage ends, as are individuals who lose minimum essential
   coverage. The Final Rule should be clear that for the new SEPs, as well as current SEPs,
   the period for enrollment concludes at the end of the SEP regulatory period (usually 60
   days) or when an individual selects coverage, whichever is sooner.

   Adding this clarification to the regulatory language will ensure that once an individual selects
   a QHP, his or her SEP is no longer open. The clarification will ensure that issuers,
   marketplaces and consumers have a clear understanding that over the potential 120-day
   enrollment period available to certain individuals, they cannot change their QHP selection.
   As marketplaces and issuers work to operationalize the SEP criteria in the most consumer-
   friendly manner, allowing multiple changes to a QHP selection could be problematic and
   create additional errors.

   Without providing this clarification, we are concerned that individuals could change from one
   metal level to another within the enrollment period based on when a medical need arises.

   Recommendation #6: Direct issuers and marketplaces to work together to identify
   root cause of “data errors” and develop processes to ensure issuers are not
   financially liable for FFM mistakes.
   Rationale:

   BCBSA supports the FFM’s efforts to ensure that all eligible individuals are enrolled in their
   preferred, and appropriate, coverage. However, to the extent that individuals were enrolled
   in coverage they did not select or that was not appropriate because of data errors caused by
   FFM systems, issuers may be required to bear the operational and administrative cost for
   outreach and correction of these errors. CMS should work closely with issuers to ensure
   that to the extent that errors are the result of FFM systems or processes, issuers are made
   whole.

   Recommendation #7: Change the end date in § 147.104(b)(2) from “ the policy year
   ends in 2014” to “coverage under the policy ends at the end of the transitional
   program”.

   Rationale:

   Section 155.420(d)(1) as written references § 147.104(b)(2), which includes a limited open
   enrollment period for non-calendar year plans during 2014. Given that the new transitional
   program extends coverage at least into 2017, the end date in § 147.104(b)(2) needs to be
   modified to ensure persons enrolled in pre-ACA non-calendar year individual market
   coverage can maintain continuous coverage when the transitional program ends.

15. Termination of Coverage (§ 155.430)

   Issue:


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   The Rule outlines a proposed process for when consumers discontinue enrollment in one
   QHP and move to another. Generally, the former QHP issuer would be required to refund or
   credit any premiums paid by the enrollee, reverse claim payments based on the date
   enrollment ends, and refund OOP payments made based on the date enrollment
   ends. CMS would provide the new issuer any advance payments of the APTC and/or CSR
   based on the retroactive effective date, which would be subject to CSR reconciliation based
   on the retroactive coverage date. The new issuer would be required to collect enrollee
   premium for all months of coverage, adjudicate enrollee claims incurred during the
   retroactive period, and provide any applicable CSRs.

   However, the Rule does not clarify the impact of a retroactive termination and effective date
   on deductibles and accumulators. In addition, while the Rule proposes that a consumer
   would be refunded premiums and OOP expenses with respect to terminations for retroactive
   enrollments, it is unclear how the process will work for point-of-sale prescription drug
   expenses.

   Recommendation #1: BCBSA supports the process for changing QHP issuers under
   retroactive SEPs.

   Rationale:

   The proposed process should ensure that consumers receive the benefit of the APTCs and
   CSRs to which they are entitled, while also ensuring that the retroactive SEPs do not require
   issuer-to-issuer data transfers.

   Recommendation #2: Clarify that the process for changing QHP issuers does not
   apply to consumers enrolling in a different QHP with the same issuer.

   If a consumer enrolls in a different QHP with the same issuer, the issuer should not be
   required to follow the retroactive SEP issuer change process described above, as it would
   not be necessary. If the consumer enrolls with the same issuer, the QHP issuer will
   reconcile premiums paid by the enrollee (as necessary), but should not be required to
   reverse claim payments. Similarly, the QHP should not be required to refund OOP
   payments, but could apply any cost-sharing paid to the new QHP’s OOP maximums. CMS
   could adjust the advance payments of the APTC and CSR as necessary.

   Rationale:

   If a consumer remains with the same issuer, there will be no need for the issuer to follow the
   processes laid out above. Following the proposed process would be unnecessarily
   disruptive for consumers and issuers. Consumers would receive the benefits of the APTCs
   and CSRs to which they were entitled, and receive credit for any OOP costs incurred,
   without the delay and cost associated with repayments and re-adjudication of claims.

   Recommendation #3: Clarify the treatment of prescription drugs reimbursed at the
   point of sale in termination situations.

   Rationale:

   The Rule suggests that the new issuer must adjudicate enrollee claims incurred during the
   retroactive period; however, such requirement will not work for point-of-sale prescription

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   drug expenses. The Rule is silent on how prescription drugs—most of which are
   adjudicated at the point of sale—will be handled in the case of a change in QHP issuers with
   a retroactive effective date. CMS should issue guidance providing that prescription drugs
   reimbursed at the point of sale should be reconciled with CMS during the annual financial
   payment reconciliation process.

   Because of the unique nature of prescription drug point-of-sale claims, the simplest and
   most straightforward way to address point-of-sale adjudication is for the first QHP issuer to
   continue to process these claims until the issuer is notified that coverage has been
   terminated. At that point, the new QHP issuer may begin adjudicating prescription claims.
   Following the end of the benefit year, both QHP issuers will receive appropriate adjustments
   for such claims during the annual CSR reconciliation process.


Subpart H - Exchange Functions: Small Business Health Options Program

16. Functions of a SHOP (Employee Choice) (§ 155.705)

   Issues:

   BCBSA appreciates that the Rule gives state regulators the option to provide transitional
   relief for employee choice in the SHOP for 2015. The Rule proposes to maintain state
   requirements for SHOP to provide “employee choice,” allowing employers to allow their
   employees to choose any health plan within a metal tier. However, the Rule would provide
   a one-year transition policy under which a SHOP could choose to opt out of implementing
   employee choice in 2015 only if one of the two circumstances is found to exist by the
   SHOP:

   1) If employee choice would result in significant adverse selection in the state’s small
      group market resulting in market disruptions that could not be fully remediated by the
      premium stabilization programs or the single risk pool; or

   2) If there is insufficient number of issuers offering QHPs or SADPs to allow for meaningful
      plan choice among QHPs or SADPs for all AV levels in the SHOP.

   BCBSA is concerned that the process for opting out of employee choice is too narrowly
   crafted and would create additional complexity and timing issues because it requires data on
   adverse selection and choice among QHPs and SADPs even though necessary evidence
   would not be available. In addition, the proposed process creates the following key timing
   issues:

      The proposal indicates that CMS anticipates SHOPs would reach a decision about
       employee choice no later than “early Fall 2014.” Fall starts September 22, the same day
       that data is scheduled to be “locked down” for the FFM.

      Issuers would be required to submit rates for approval months before a state receives
       opt-out approval from the SHOP (or CMS for the FF-SHOPs). Even though CMS
       considers providing the opportunity for issuers to modify QHP applications, it is unclear
       how issuers would file rates without knowing whether employee choice is required.



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      In addition, CMS discusses providing QHP issuers the option to withdraw products prior
       to the close of the initial QHP application window. However, Blue Plans are required in
       almost all FFM states to participate on the FF-SHOP under the “tying” provision in 45
       CFR 156.200(g).

   Further, almost all SHOPs continue to confront barriers to implementing employee choice.
   While the Rule proposes a high burden of proof standard for state regulatory agencies
   (requiring them to provide “concrete evidence” that the above criteria are met), we are very
   concerned that the proposed waiver process does not discuss requirements for a SHOP to
   demonstrate operational readiness. For example, for the FF-SHOP, there are no concrete
   assurances that employee choice can be ready for November’s open enrollment period,
   even if a state with an FF-SHOP seeks to implement an employee-choice approach. While
   we appreciate the information that the CMS policy team is providing to issuers on the design
   of the FF-SHOP through weekly webinars and other venues, CMS has yet to provide issuers
   with operational progress reports, system specifications, or testing timeframes for the FF-
   SHOP.

   Also, whether a SHOP can successfully attract employers, issuers and key consumer
   assistance stakeholders will depend heavily on outreach and education about the SHOP
   and whether it can provide a better experience than traditional approaches. Assurances of
   transitional relief are needed as soon as possible to ensure states and issuers know the
   small group market criteria for purposes of rate approval and QHP certification, and prevent
   any confusion among all stakeholders.

   Since CMS is in a unique position to both establish federal criteria for SHOPs and then
   determine whether either a state SHOP or FF-SHOP are capable of sufficiently meeting
   such regulatory requirements, we recommend that the Final Rule provide maximum
   flexibility for state marketplaces and the FF-SHOPs as follows:

   Recommendation #1: In State-based Marketplaces or a SHOP-only state, CMS should
   extend through 2015 the current 2014 transitional policy, as follows:

      CMS should avoid requiring the Rule’s proposed state recommendation and SHOP opt-
       out process.

      Instead, CMS should continue to allow states to determine the process that works best
       for their state, allowing them as an option.

   Rationale:

   Last June, CMS issued the Exchange Establishment rule, which finalized a transitional
   policy that was proposed last March. In providing support for the transitional policy, CMS
   explained in the Preamble that the approach was supported by “serious concerns that
   issuers would not be operationally ready to offer QHPs through the SHOP if [it] implemented
   employee choice for 2014.” 78 Fed. Reg. 33233, 33235. CMS has clear authority to extend
   the 2014 transitional policy relating to employee choice an additional year. CMS has fully
   recognized its authority to phase in ACA requirements through extension of the one-year
   Transitional Policy issued on November 14, 2013 to a three-year Transitional Policy in the
   March 5, 2014 guidance.



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   CMS codified the 2014 transitional relief in order to give issuers: 1) “experience under the
   new small group rating methodology”; 2) “significantly more time to design and implement
   the modifications to their systems necessary for employee choice and premium
   aggregation”; and 3) “additional time for education and outreach about employee choice.”
   78 Fed. Reg. 33233, 33235.

   The issues summarized in last year’s Final Rule have not been resolved over the past year
   and therefore warrant an extended employee-choice transitional policy. Almost all the same
   exigencies that existed in advance of 2014 continue for 2015. Across federal and state
   SHOPs, BCBS Plan participation is greater than that of any other issuer. However, in
   advance of the 2015 benefit year, our Plans do not have a complete understanding of the
   full impact of the new small group rating methodology, this year’s enrollment, or the 2014
   premium stabilization programs. For example, while Plans are currently preparing products
   and rates for the 2015 benefit year, the impact of this year’s premium stabilization programs
   will not be known until June, 2015.

   In addition, enrollment and payment systems for employee choice and premium aggregation
   have yet to be built and implemented in a scalable form across many states. The vast
   majority of state-based marketplace SHOPs are not fully functional despite a multi-year
   effort and hundreds of millions of dollars spent. For example:

      California announced in February a suspension of their online SHOP enrollment
       capability which is necessary for employee choice.

      Massachusetts abandoned employee choice due to extraordinary complexities of
       systems development for no perceived value to employers.
           o Half of the very small number of small businesses that enrolled in their
             employee-choice pilot were solo-businesses.

      Utah has less than 3,000 employees enrolled in their choice program after six years of
       operation.

      While some have pointed to D.C. as an example of early SHOP success, almost all of
       the 12,000+ enrollees are Members of Congress and their staff who are required to
       purchase through a marketplace. Even for these members, enrollment has been largely
       manual.

   Looking ahead to 2015, issuers, states and CMS need clarity on the roles each will be
   performing. We are concerned that if CMS does not extend the transitional policy as
   recommended as soon as possible, the proposed process in the Rule would create
   additional complexity for states, issuers and CMS, add new timing issues for product
   approvals, and potentially confuse assistors and employers interested in SHOP.

   Adding another layer of timing complexity to allow for SHOP review of a state regulatory
   agency’s recommendation would likely create unintended ambiguities for issuers, states and
   CMS. Declaration letters from states for a state-based marketplace, or SHOP-only
   marketplace must be sent by May 1, 2014, if a state intends to submit an application. A
   complete Marketplace Blueprint is due no later than June 1, 2014, with CMS conditional
   approval scheduled by June 15, 2014. These timeframes are already out of alignment with
   the QHP certification timelines, which could require an issuer to apply to a different entity for


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   QHP approval. The federal blueprint review may or may not coordinate with a state’s
   underlying product approval timelines. Finalizing the transitional policy as we have
   recommended will allow both states and issuers to know what the criteria will be in a small
   group market for purposes of rate approval and QHP certification.

   In addition, continuing the transitional policy will allow states to continue building and
   phasing-in SHOP capabilities. States could ensure that their SHOPs can provide an
   automated shopping and enrollment experience for employers and have additional time to
   prepare for the automated premium aggregator billing system, which is required for an
   employee choice model to work as designed. Even if CMS requires states to provide choice
   among QHPs offered by an issuer, the transitional approach will ensure that SHOPs and
   issuers can work together to establish automated enrollment before integrating the
   complexities of automated billing and payment through a premium aggregator.

   States that demonstrate operational capabilities to offer employee choice would continue to
   have the flexibility to choose the method by which employers could offer plans for their
   employees.

   Recommendation #2: In FF-SHOPs, CMS should extend the current 2014 transitional
   policy into 2015 for the reasons recommended above. However, in 2015, CMS should
   provide states with the flexibility to phase-in employee choice as follows:

      A state regulatory agency should be required to notify CMS of its determination among
       the two options below, or default to the approach CMS determines. The FF-SHOP
       would be considered sufficient if it allows employers to choose to offer:
       1) All QHPs at a metal level or a single QHP or
       2) A single QHP (transitional policy)

      Similar to the proposal in the Rule, a state would need to affirmatively opt out of
       implementing employee choice (#2). However, we recommend avoiding complex review
       processes and timing issues for issuers, states and FF-SHOPs, as follows:

          o   A state regulatory agency would be required to certify to CMS that continuing the
              existing transitional policy best meets the needs of its small group market.

          o   However, rather than CMS requiring “concrete evidence,” a state’s certification
              would have to enumerate the reasons for its decision, which could include one of
              the following factors:
                 Adverse selection
                 Meaningful choice;
                 Operational readiness
                 Other critical factors a state deems to be material to their determination.

          o   For 2015, CMS should use a deferential standard to accept the state’s
              certification as sufficient for the FF-SHOP.

          o   Issuers should be notified of whether employee choice is required prior to the
              end of the initial QHP application submission window so they have sufficient time
              to adjust rates, if needed, get state approval and minimize the need for state re-
              review. If extended to subsequent years, decisions should be made in January
              of the year prior to the plan year.

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   Rationale:

   BCBSA appreciates that CMS continues to seek to provide states with flexibility in the
   design and operation of their marketplaces to ensure states are implementing sustainable
   marketplaces that best meet the needs of their population.

   In states where CMS acts as the FF-SHOP, it will be critical to ensure states have the
   flexibility to determine what best meets the needs of their population. Our recommended
   approach advances the implementation of employee choice on FF-SHOPs by allowing
   states to either implement employee or employer choice. Unlike the process in 2014 where
   the FF-SHOP was required to only offer employer choice, states would have the flexibility to
   determine if employee choice would be in the interest of employers, employees and other
   stakeholders in their small group market.

   Providing the proposed flexibility to states will ensure any state that later seeks to transition
   to a state-based SHOP with employee choice has the opportunity to begin building the
   necessary operational and regulatory experience to eventually support its own employee-
   choice approach.

   As the FF-SHOP, CMS would continue to act in its capacity to ensure QHP criteria and other
   SHOP eligibility criteria are met. CMS would, however, provide deference to states to
   determine what is in the best interest of their populations. CMS has previously deferred to
   state findings or recommendations in implementing the ACA. Consider the following
   examples:

         Premium Rate Review. Under the premium rate review regulations, CMS will adopt
          a state’s determination of whether a rate increase is an unreasonable rate increase,
          as long as the state: 1) has an effective rate review program; and 2) within five days
          of its determination, provides its final determination of whether a rate increase is
          unreasonable, including a brief explanation of how its analysis of the regulation’s
          relevant factors caused it to arrive at its determination. CMS Reg. § 154.210.

         Annual Limit Waiver Process. For the annual limit waiver process, OCIIO provided
          (through sub-regulatory guidance) that states could submit requests for waiver of the
          otherwise applicable restricted annual limits for state-mandated policies. The state
          was generally required to explain the policy’s benefit design, and to provide an
          “estimate or analysis” of how compliance with the restricted annual limit would result
          in: 1) a significant decrease in access to benefits; or 2) a significant increase in
          premiums. The state could satisfy this latter requirement by either providing an
          attestation from the issuer’s CEO, or submitting a statement from the state’s
          insurance commissioner or another state official that 1) or 2) would occur. OCIIO
          2010 – 1A (Nov. 5, 2010).

   If the Rule were implemented as proposed, we are concerned that employers and
   employees would experience significant technical glitches in the FF-SHOP due to a lack of
   tested and verified functionality.

   Automated processes are necessary in employee choice to ensure billing, payment and
   enrollment systems are coordinated. Issuers have been flexible in implementing numerous
   work-arounds to make enrollment work through the individual marketplaces. However,

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   these manual approaches are not transferable to employee choice. IT automation is
   necessary to ensure employers receive an accurate bill (consolidated from employees
   enrolling in multiple QHPs) and issuers receive an accurate and timely payment
   (consolidated from multiple employers choosing their plans).

   As explained in the previous recommendation, extending the CMS 2014 transitional policy
   into 2015 makes sense because almost all the same exigencies that existed in advance of
   2014 continue for 2015. In particular, the systems and processes required for employee
   choice are very complicated, and the processes are no further along in their implementation
   on the FF-SHOP than they were at this time last year. Key progress reports, system
   specifications, and testing timeframes for the FF-SHOP have yet to be released to issuers.

   One of the key factors CMS provided for last year’s transitional policy was that it would
   provide issuers time to “design and implement the modifications to their systems necessary
   for employee choice and premium aggregation.” However, this would be impossible for an
   issuer in an FF-SHOP state to do given the lack of available specifications to date.

   Unless transitional policies are provided again for 2015 or criteria for employee choice are
   relaxed, we are very concerned that employer and employees could encounter the same
   types of issues in SHOPs this November that individuals encountered last October.

17. Enrollment Periods Under SHOP (§ 155.725)

   Issue:

   The NPRM maintains rolling enrollment in SHOPs. However, it proposes to set the start of
   annual employer election periods in all SHOPs for plan years beginning in 2015 to be no
   earlier than November 15, the same date as the start of open enrollment in the
   corresponding individual market marketplace for the 2015 benefit year.

   While the NPRM provides changes to the enrollment period, it does not specify criteria for
   Members of Congress enrolling through SHOP.

   Recommendation:

   The Final Rule should provide flexibility for Members of Congress and their staff to work with
   the Office of Personnel Management and SHOP to align enrollment timeframes with those in
   the Federal Employees Health Benefits Program.

   Rationale:

   As Members of Congress and their staff consider their coverage options, it would provide a
   more consumer-friendly experience if their enrollment periods are aligned with the
   timeframes they are accustomed to for making their coverage decisions.

Subpart O – Quality Reporting Standards for Exchanges

18. Quality Rating System (§ 155.1400)

   Issue:


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   This proposed provision would require that Marketplaces publically report quality rating
   information. In the Preamble, CMS indicates that starting in 2016 Marketplaces will display
   a quality rating calculated by CMS using a five star scoring criteria in a similar style and
   format to that of Medicare Advantage (MA). As we noted in our comments on the November
   2013 QRS Notice, drawing on the MA experience makes sense because of the depth of
   knowledge and expertise that CMS has accrued in the process. However, several aspects
   of the MA Star program’s methodology should not be replicated in the QRS.

   Recommendation #1: Use the formal notice and comment rulemaking process to
   announce and implement changes to plan ratings.

   Any revisions to the QRS should be done through the formal notice and comment
   rulemaking process.

   Rationale:

   The formal rulemaking process, which allows all industry stakeholders the opportunity to
   comment on the proposed changes for at least 60 days after publication of the proposed
   changes in the Federal Register, provides CMS with the most complete information and
   meaningful analysis of the proposals on which to base revisions to the QRS. Using the
   formal notice and comment rulemaking process would be consistent, for example, with CMS’
   procedures for making changes to the Physician Quality Reporting System (PQRS): when
   CMS announced changes to the 2013 PQRS in the 2013 Medicare Physician Fee Schedule
   NPRM published in the Federal Register on July 30, 2012, it received and considered public
   comment, and announced the final changes in the 2013 Medicare Physician Fee Schedule
   Final Rule, which was published in the Federal Register on November 16, 2012. The
   changes became effective on January 1, 2013. As such, all stakeholders were notified of
   the final changes before they took effect and before data for the measures was collected.

   Recommendation #2: Maintain consistency in performance thresholds (including
   performance classification values and peer groups) year over year, and publicize in
   advance of the data collection period.

   When CMS feels that a benchmark-related factor must be changed, we recommend that
   such an edit be announced in advance of the change, and prior to the collection of data
   relating to the modified factor.

   Rationale;

   Announcing changes in advance will help QHPs in their quality improvement activities – one
   of the QRS’ guiding principles – by giving QHPs knowledge as to the evaluation standards,
   and it will promote transparency within the QRS.

   Recommendation #3: Provide sufficient time between the finalization of a change to
   the QRS and its implementation.

   Because the effectiveness of the QRS will depend on providing meaningful information to
   beneficiaries, we recommend that CMS finalize each measure no fewer than twelve months
   before the data collection period begins.



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   Rationale:

   Sufficient lead-time will ensure that the QRS is not based on stale data that was collected
   before the measure was finalized. If QHP issuers are not provided advance notice of a
   measure or change before the data collection period begins, the measure effectively would
   become a report on QHP performance before the issuer knew it was to be evaluated. This
   would undermine the fairness and transparency of the QRS.

19. State Flexibility (§ 155.1400)

   Issue:

   In addition to prominently displaying quality rating information for each QHP, as calculated
   by CMS in accordance with the QRS, in the Preamble CMS indicates that state
   marketplaces may display additional QHP quality-related information. CMS believes this
   proposed approach would ensure that standardized information on the quality of health care
   would be collected and displayed across marketplaces but also provide flexibility for state
   marketplaces to incorporate additional information on their web sites to support the plan
   comparison and selection process by consumers. We agree that some flexibility is
   important to enable states to tailor quality-related information to reflect local characteristics
   and priorities. However, it is not clear whether state marketplaces may use the additional
   QHP quality-related information to adjust the QRS global quality rating, or go as far as
   calculating their own QRS ratings independent of CMS. Moreover, the NPRM is silent on
   whether any parameters will apply to the state flexibility.

   Recommendation:

   CMS should clarify that state marketplaces will not be able to adjust the global quality rating
   calculated by CMS or create a separate QRS rating. Moreover, CMS should establish as
   governing principles for state flexibility that if states display additional information, states
   must: 1) only use measures that have been endorsed by the NQF or required of health
   plans as part of QHP accreditation; 2) emulate CMS in aiming to align the measures with
   measures health plans currently report in the commercial markets and public programs; 3)
   only display additional quality information to complement the CMS global rating; and 4) take
   into account the administrative burden and cost of requiring additional information, as well
   as the other measure selection criteria that CMS intends to follow (such as those identified
   in the QRS notice of importance, performance gap, reliability and validity, feasibility).

   Rationale:

   An overarching goal of quality reporting for public and private programs should be
   consistency in measurement to limit administrative and cost burdens on payers and
   providers, to avoid consumer confusion, and to permit standardized comparisons across the
   country. Consistency requires aligning with the general QRS principles that CMS used to
   guide the design of the QRS, and with CMS’s measure selection criteria, as indicated in the
   November 2013 QRS Notice. Consistency would be undermined by allowing states to
   adjust the HHS-calculated QRS ratings, which would cause needless consumer confusion,
   especially in multi-state metropolitan areas (such as Philadelphia) if an insurance issuer’s
   QHP in one state (e.g., DE) had a different rating from its QHP in another state (e.g., PA).

20. Review Period (§ 155.1400)

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   Issue:

   In the Preamble, CMS indicates it intends to offer QHP issuers that participate in the
   Federally-facilitated marketplace the opportunity to review their QHPs’ quality rating
   information before the data become public to identify any discrepancies or errors with the
   data submitted. However, CMS will only “encourage” state marketplaces to have a similar
   plan review period. Moreover, the NPRM does not describe the review process, nor indicate
   whether QHP issuers will have an opportunity to appeal.

   Recommendation:

   CMS should require that all marketplaces give QHP issuers a plan review period, to cover
   data submitted for the QRS and any additional quality-related information the state
   marketplace requires. In addition, CMS should model the review process on the
   administrative review process for Star ratings in Medicare Advantage, under which QHP
   issuers may request an administrative review of their global quality rating as well as of the
   underlying data.

   Rationale:

   As all marketplaces, Federally-facilitated and state, will be displaying CMS-calculated QRS
   ratings, it stands to reason that all QHP issuers regardless of marketplace type should be
   treated fairly and equally with an identical plan review period, and that CMS has the
   authority to require (not simply encourage) an identical review period. Whether data are
   submitted for the QRS or as part of additional quality-related information required by the
   state marketplace, a review period will ensure that public data are not skewed by
   discrepancies or errors.

   Explicitly adding an administrative review process would align the QRS with the Medicare
   Advantage Star system (which is the basis for the QRS), giving QHP issuers an opportunity
   to check and raise questions not only about the underlying data, but also about the
   calculation of the synthesized global quality rating.

21. Display of Enrollee Satisfaction Survey (§ 155.1405)

   Issue:

   The NPRM requires that marketplaces display results from the enrollee satisfaction survey
   (ESS). In the Preamble, CMS calls for this to start in 2016. CMS believes that
   marketplaces will meet the requirement to display the ESS by virtue of displaying QRS
   information because CMS intends to incorporate ESS data into the QRS, and will require
   that the QRS allow for drill-down to the underlying data. However, CMS anticipates
   providing results to the full ESS survey to a marketplace on an annual basis and allowing
   marketplaces to choose to display all ESS results, including those scores not used as part of
   the QRS.

   Recommendation:

   CMS should establish a uniform policy for displaying ESS results, either requiring that all
   marketplaces display only QRS information with a drill-down to underlying ESS data, or that

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   all marketplaces display all ESS results. In addition, CMS should consider deleting
   questions from the ESS that are not incorporated into the QRS, and clarifying that even
   though the QRS rating is by product type and not by metal level – meaning that the ESS
   data that feed into the QRS will be aggregated by metal level – enrollees will still be able to
   drill down to survey data by their metal level (assuming that sample sizes are sufficient).

   Further, while we support in general the capability to drill down (to ESS and QRS individual
   measures), we urge CMS to offer guidance as soon as possible concerning: 1) simple ways
   of displaying the measures (e.g., instead of all measures appearing at once, allowing
   consumers to see only those measures associated with a composite chosen from a drop-
   down box); and 2) how to take into account the implications of the half-scale rule where
   different measures may be displayed for QHPs for the same composites.

   Rationale:

   Consistency across marketplaces is important to avoid consumer confusion and minimize
   administrative burden on QHP issuers. If CMS decides that marketplaces need only display
   QRS information, then including ESS questions that are not incorporated into the QRS
   seems needless. And even if CMS requires that all marketplaces display all ESS results, if
   certain ESS questions are not considered important enough to be part of a QHP’s
   synthesized global quality rating, then it stands to reason that CMS should reconsider
   whether the added costs of including those questions is worth the benefit.

   When enrollees drill down to ESS data, it will only be meaningful if broken down by metal
   level because satisfaction is likely to vary with different levels of benefits.

   Finally, to mitigate confusion and make it as easy as possible for consumers to use the QRS
   and ESS information to make good choices, simplicity and clarity in explaining what is being
   displayed is essential.

22. State Flexibility (§ 155.1405)

   Issue:

   In the Preamble, CMS seeks comment on whether state marketplaces should have flexibility
   to display the ESS 2015 beta test results prior to the scheduled public display of the federal
   ESS in 2016, to encourage state flexibility and innovation with respect to enrollee
   satisfaction information.

   Recommendation:

   Do not allow state marketplaces to display the ESS 2015 beta results: all marketplaces
   should be on a level playing field.

   Rationale:

   There are two primary arguments against allowing state marketplaces to display ESS 2015
   beta results: one is philosophical, the other operational. First, the purpose of beta testing is
   to see if problems appear in any step of the process, including the final global rating
   calculation, which will require correction before final implementation. It is highly likely that
   CMS will need to make at least a couple of modifications to the QRS based on the beta

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   testing, which makes it risky to give testing results to consumers. Allowing state
   marketplaces to display beta testing results goes against the very nature of what beta
   testing stands for—an opportunity to work out the kinks before going “live.” The 2015 beta
   results may well result in unfair assessments of issuers, in part because of the high
   likelihood that they will be affected by continuing operational challenges with marketplaces
   that are only partially if at all under the control of issuers.

   Second, it is highly unlikely that final data displays will be ready by the November 2015 open
   season. As explained below, we do not believe the time period for beta data submission is
   sufficient, and QHP issuers should have until August 15, 2014, not June 15, 2014, to submit
   validated data. In addition, CMS needs to factor in a period for administrative review of the
   underlying data if QHP issuers need to check and raise questions about those data, a not
   unlikely occurrence for data from 2014. It is critical that CMS finalize its plans and issuer
   requirements with respect to beta testing as soon as possible so that all issuers are
   prepared to conduct such testing.


PART 156: HEALTH INSURANCE ISSUER STANDARDS

Subpart B - Essential Health Benefits Package

23. Prescription Drug Benefits (§ 156.122 – language in Preamble only)

   Issue:

   In the Preamble to the NPRM, CMS indicates that the agency is considering amending the
   formulary exceptions standards under § 156.122(c) to require expediting the exceptions
   processes when necessary based on exigent circumstances, such as when an enrollee is
   suffering from a serious health condition or an enrollee is in a current course of treatment
   using a non-formulary drug. For example, CMS could mandate that an issuer render a
   decision regarding exception requests within 24 hours of receipt of request.

   Recommendation:

   CMS should not amend the formulary exceptions standards to require expedited exceptions
   processes. Further, BCBSA strongly believes that any changes to the prescription drug
   requirements must be done through notice-and-comment rulemaking.

   Rationale:

   As noted in our comments to the Annual Issuer Letter, most commercial plans already have
   exceptions processes in place that have been used for years and have been developed and
   vetted by P&T committees that includes providers, pharmacists, and other clinical experts.
   Because issuers in the commercial market are responsible for both prescription drug and
   medical claims, they have a significant incentive to prevent the negative outcomes (and
   increased costs) that could arise if enrollees do not obtain medications that are appropriate
   for their health conditions. As a result, issuers have historically had in place effective
   exceptions and appeals processes to ensure that patients receive appropriate medications.
   For example, issuers have processes in place that allow those requests identified by the
   physician as urgent to be reviewed within 72 hours, but have average turnaround times for
   urgent requests within 6 hours. Therefore, it is not clear to us what issue or problem CMS is

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   seeking to address, as issuers do in fact already have expedited exceptions processes in
   place.

   In the Preamble, CMS expresses concern “that some enrollees, particularly those with
   certain complex medical conditions, are having trouble accessing in a timely fashion
   clinically appropriate prescription drugs…” During the CCIIO April Pharmacy Stakeholders
   call, CCIIO staff said that they were receiving complaints that some people were not able to
   access needed medications in a timely fashion. As noted in the Preamble, “Section
   156.122(c) requires issuers that provide EHB to have procedures in place that allow an
   enrollee to request and gain access to clinically appropriate drugs not covered by the plan.”
   Rather than promulgating new regulations in an area where CMS already has requirements
   in place, and where currently the problem appears to be anecdotal, CMS should use its
   oversight authority to determine the extent of the problem and whether this can be corrected
   by working with issuers to ensure the current requirements are implemented in an
   appropriate manner, or if additional regulations are needed.

   Further, the process for the exceptions process that CMS is considering appears to be
   imported from Medicare Part D. By statute, the Part D process preempts all state laws,
   whereas with respect to the marketplace-based coverage, the implementation of the
   suggested process would necessitate a review to see whether it is inconsistent with state
   law, and if so, there would be major uncertainty as to which standard would apply.

   Additionally, formulary information is available so that potential enrollees can compare
   coverage among plans for the drugs they are currently prescribed, or may be prescribed,
   and use such information to make an informed choice of which plan best suits their drug
   coverage needs prior to enrollment.

   Finally, as we noted in previous comments, any changes to the prescription drug
   requirements must be done through notice-and-comment rulemaking. CMS exercised its
   authority to define the essential health benefits, in part, by specifically defining the
   prescription drug essential health benefit to require certain minimum prescription drug
   coverage (see 45 C.F.R. § 156.122). If CMS wants to also require that non-formulary drugs
   be covered during the first 90 days of a new enrollee’s coverage, it must amend the
   requirements in § 156.122. Appalachian Power Co. v. E.P.A., 208 F.3d 1015, 1024 (D.C.
   Cir. 2000) (“It is well-established that an agency may not escape the notice and comment
   requirements . . . by labeling a major substantive legal addition to a rule a mere
   interpretation”). CMS cannot require non-formulary drug coverage through informal
   guidance.

24. Small Group Maximum Deductible Limitations (§ 156.130(b))

   Issue:

   On April 1, 2014, President Obama signed the Protecting Access to Medicare Act of 2014,
   which included a repeal of the small group maximum deductible limits, effective immediately.

   Recommendation:

   In light of this new legislation, BCBSA recommends that 45 CFR § 156.130(b) be eliminated
   from the regulation.


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   Rationale:

   According to 45 C.F.R. § 156.130(b)(3): “A health plan’s annual deductible may exceed the
   annual deductible limit if that plan may not reasonably reach the actuarial value of a given
   level of coverage. . . without exceeding the annual deductible limit.” As a result of the
   change in the law, this accommodation is no longer necessary.

Subpart C - General Functions of an Exchange

25. Enrollment Process for Qualified Individuals – Premium Payment (§ 156.265(d))

   Issue:

   The Rule proposes to require issuers in FFM to collect initial premiums no later than the day
   before the coverage effective date, codifying the requirement noted in the draft FFM
   Enrollment Guide for 2014 issued on October 3, 2013.

   Recommendation:

   BCBSA strongly recommends that issuers be provided the flexibility to establish their own
   business rules regarding first month’s premium for enrollment provided the rules are
   implemented in a non-discriminatory manner.

   Rationale:

   Decisions regarding payment of the first month’s premium for enrollment have traditionally
   been a business decision made by issuers. Although for the 2014 open enrollment period
   issuers were originally required to have received and processed initial payment no later than
   the day before coverage was effectuated, CMS later reversed this requirement and instead
   allowed issuers the flexibility to establish later initial premium payment cut-off dates in order
   to encourage enrollment and support consumers who had difficulty enrolling in marketplace
   coverage. Issuers need flexibility to establish business rule on premium payment in light of
   the SEPs and retroactive effective dates. Such allowance will enable issuers to meet the
   universal goal of increasing consumer enrollment in marketplaces.

Subpart G - Minimal Essential Coverage

26. Other Coverage that Qualifies as MEC [Expatriate Coverage] (§ 156.602)

   Issue:

   The Rule proposes to:

      Codify the treatment of certain types of foreign group health coverage for expatriates as
       minimum essential coverage (MEC). Specifically, the Rule would treat as MEC group
       health coverage for citizens or nationals of the U.S. working abroad, provided by either
       of the following: a foreign, self-insured group health plan; health insurance regulated by
       a foreign government; or health coverage provided by a foreign national health plan.




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      Permit expatriates who are physically present in the U.S. for an entire month to have
       their foreign group coverage treated as MEC if the coverage provides benefits in the
       U.S. and meets the requirements above.

      Define “expatriates” as individuals for whom there is a good-faith expectation that they
       will reside outside of their home country for at least 6 months of a 12-month period,
       including any covered dependents.

   Recommendation #1: BCBSA supports the proposed definition of “expatriate.”

   Rationale:

   A requirement that a person spend at least 6 months of a 12- month period outside of their
   home country ensures persons using expatriate coverage as MEC really spend a significant
   amount of time out of the U.S.

   Recommendation #2: Clarify that expatriate coverage should not count as MEC for
   any longer than six months in any given year.

   Rationale:

   The time limit for foreign coverage as MEC for U.S. expatriates should correspond to the
   amount of time a person is not required to be abroad in a 12-month period in order for their
   expatriate coverage to be considered MEC.

   Because an expatriate is defined as an individual who is reasonably expected to reside
   outside of their home country for at least 6 months in a 12-month period, it makes sense to
   say that if the U.S. expatriate stays in the U.S. more than six months, the foreign coverage
   would no longer be considered MEC.

Subpart I - Enforcement Remedies in FFEs

27. Notice of Non-compliance (§ 156.806)

   Issue:

   The Rule proposes to add a provision requiring CMS to provide a written notice to issuers
   describing the potential violation and providing a 30-day period for the issuer to respond and
   to provide additional information to refute an alleged violation. Thirty days is a short time
   period for refuting allegations given the broad range of potential issues that are subject to
   CMPs under § 156.805 and the potential scope of the issues.

   Recommendation:

   BCBSA recommends that CMS provide issuers with 60 days to respond and provide
   additional information to refute an alleged violation. We also recommend that CMS adopt
   processes for QHP issuers to request an extension to respond to a notice of non-
   compliance consistent with other related programs, as follows:

       Extension Language:


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      “In circumstances in which a QHP issuer cannot prepare a response to CMS within the
      60 days provided in the notice, the QHP issuer may make a written request for an
      extension from CMS detailing the reason for the extension request and showing good
      cause. If CMS grants the extension, the QHP issuer must respond to the notice within
      the time frame specified in CMS' letter granting the extension of time.”

   Rationale:

   This extension language is based on the MLR notice of non-compliance regulation at
   § 158.603 and the PHSA notice of non-compliance regulation at § 150.307. The MLR
   regulations and PHSA enforcement regulations both contain provisions describing a process
   for requesting an extension to respond to the agency. CMS did not propose a similar
   provision for these marketplace regulations despite the potential scope of the basis for CMP,
   e.g., substantial failure to meet the minimum QHP certification standards.

28. Bases and Process for Decertification of a QHP Offered by an Issuer through a FFE
    (§ 156.810)

   Issue:

   CMS proposes to extend expedited decertification to any situation where a QHP issuer no
   longer meets the QHP certification standards. The Preamble states that expedited
   decertifications are for violations that will put “QHP enrollees’ ability to access necessary
   medical items or services “at risk” or substantially compromise the FFE.” (79 Fed. Reg. at
   15848). However, the text of the proposed regulation does not include this limitation.

   Recommendation:

   The Final Rule should clarify that expedited decertification is reserved for violations that put
   QHP enrollees’ ability to access necessary medical items or services at risk or substantially
   compromise the operation of the marketplace.

   Rationale:

   This change would reflect the intention CMS described in the Preamble.

Subpart L – Quality Standards

29. ESS Vendor Monitoring (§ 156.1105)

   Issue:

   In the Preamble, CMS indicates that starting in 2015 it will monitor CMS-approved enrollee
   satisfaction survey vendors to ensure ongoing compliance with the application and approval
   standards – if CMS determines that an approved vendor is non-compliant with the
   standards, CMS will take remedial actions that may include making the submitted survey
   results ineligible to be included for ESS results. If this were to happen, CMS may not be
   able to calculate a global rating score for the QHP issuer who contracted with that vendor
   (under the current proposed hierarchy), or the global rating score will not be comparable to
   the score for QHP issuers for whom CMS includes ESS results.


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   Recommendation:

   CMS should clarify how, if it determines that survey results are ineligible to be included for
   ESS results, it will calculate or require marketplaces to display the affected QHP issuer’s
   global quality rating. Furthermore, if CMS takes disciplinary action against a vendor and
   thereby invalidates the survey results, QHPs should not be penalized or put at a
   disadvantage when calculating the global rating score.

   Rationale:

   Consistency in rules for reporting quality information, across QHP issuers and across
   marketplaces, is critical to avoiding consumer confusion and minimizing administrative
   burden and unnecessary costs. Addressing this issue in the Final Rule will preclude such
   confusion and cost

30. Child-Only QRS (§ 156.1120)

   Issue:

   CMS has previously proposed developing a separate child-only QRS measure set applying
   to QHPs that provide child-only coverage, and a child-only ESS. The Preamble indicates
   that CMS continues to monitor the number of child-only QHP offerings on marketplaces, and
   that a limited number of child-only QHPs and enrollees may prohibit reliable child-only QHP
   rating calculations.

   Recommendation:

   CMS should clarify that a child-only QRS/ESS will be a future consideration, to be assessed
   in the same way that CMS intends to consider developing a QRS/ESS applicable to other
   marketplace offerings, such as stand-alone dental plans, catastrophic plans, and health care
   savings accounts.

   Rationale:

   A limited number of child-only QHPs raises questions not only about the reliability of rating
   calculations, but also about the value of spending resources on a process with limited
   application. It is not as if the limited number of child-only QHPs will lack any quality
   information if CMS pushes off a child-only QRS/ESS to future consideration because the
   QRS and ESS include measures, composites, and domains that are relevant to all QHPs,
   child-only or not. As currently worded, the NPRM would create unnecessary ambiguity (i.e.,
   what constitutes a “limited number,” and when will CMS determine that the number is too
   limited to proceed further?) that is not beneficial for QHP issuers’ business planning.

31. QRS Measures (§ 156.1120)

   Issue:

   In the November 2013 QRS notice, CMS proposed a set of measures for the QRS. In the
   Preamble, CMS indicates it intends to finalize these measures, and provide measure
   specifications, in future guidance, to give QHPs time to collect/submit data for the 2015 beta
   test. (The recently released draft guidance, “QRS Scoring Specifications,” still refers to the

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   proposed QRS measure set as it appears in the QRS notice.) In addition, CMS seeks
   comment to inform future rulemaking on how best to align QRS measures reporting
   requirements with the accreditation standards for QHP issuers.

   Recommendation:

   Since the NPRM calls for current QHP issuers to prepare to submit the required validated
   data elements for QRS beta testing in 2014, we urge CMS to finalize the QRS measure set
   as soon as possible. We are reattaching our response to the QRS notice, which includes
   numerous recommendations for measures selection, individual measures, and the
   organization and hierarchical structure of the QRS measure. In addition, to align the QRS
   and accreditation, CMS should amend the process for recognizing accrediting entities to
   require use of a common, core set of clinical quality measures based on the QRS, and a
   common set of auditing procedures.

   Rationale:

   It will be difficult to align QRS measures reporting requirements with the accreditation
   standards for QHP issuers if CMS continues to allow recognized accrediting entities “to use
   a diverse measurement set” (in the final rule on “Recognition of Entities for the Accreditation
   of Qualified Health Plans, CMS rejected BCBSA’s recommendation to require that
   recognized accrediting entities use a common, core set of clinical quality measures). If more
   and more accrediting entities become recognized, the diversity of measurement sets may
   increase, thus compounding the difficulty of ever achieving alignment.

   A core set of uniform measures for the QRS and for accreditation would minimize the
   burden and expense of data collection, data validation (i.e., the NPRM requires a QHP
   accredited by URAC to pay to validate the URAC accreditation measures and to pay again
   to validate QRS measures that belong to NCQA or another measure steward), and enable
   more expeditious implementation of these provisions. Further, a common set of auditing
   procedures will ensure data integrity and allow an inherently streamlined, efficient process
   for reporting data.


32. Data Validation (§ 156.1120)

   Issue:

   The NPRM would require that QHP issuers submit data that has been validated. In the
   Preamble, CMS indicates that in the “initial years” (period not specified) it intends to direct
   QHP issuers to follow the process specified by the quality measure steward for validation of
   its quality measures that are incorporated into the QRS, or provide technical guidance on a
   validation process for any measures for which the measure steward has not defined a
   validation process – which could lead to multiple validation and audit processes. In “the
   future,” CMS is considering establishing an application and approval process for
   independent third-party data validators.

   Recommendation:

   CMS should move swiftly to establish an application and approval process for independent
   third-party data validators – to be implemented no later than for data that QHP issuers must

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   submit in 2016 – and not wait for an unspecified future date. Ideally, this same process
   would apply to accrediting entities as well for their data validation processes so that there
   would not be multiple independent audit requirements (one for QRS, one for accrediting
   entities).

   Rationale:

   An independent third-party validator would simplify administration and, as noted above,
   better ensure data integrity and allow an inherently streamlined, efficient process for
   reporting data.

33. Product Level (§ 156.1120)

   Issue:

   In the Preamble, CMS calls for QHP issuers to collect and submit data for enrollees in each
   product type offered by a QHP issuer in each state for which the QHP operates (for
   example, HMO, POS, PPO). However, as we noted in our comments on the QRS notice,
   neither CMS nor CMS has defined product level. The lack of clarity in simply offering as
   examples “at the Health Maintenance Organization or Preferred Provider level” is
   problematic because of the possibility that the QRS will compare apples with oranges,
   depriving consumers of meaningful comparative information about products that may differ
   in their degree of network composition and management and geographic coverage–and
   possibly also creating opportunities for health plans to be selective in product offerings in an
   attempt to maximize their ability to score high on the global rating.

   Recommendation:

   We urge CMS to clarify as soon as possible how it intends to define “product level”
   reporting. Moreover, CMS should clarify it intends to account for differences in QHP
   products subject to the QRS to ensure a level playing field. Since the marketplace
   population is likely to vary across QHPs, we recommend that CMS examine differences in
   health plan quality that may be driven by socioeconomic status, race/ethnicity, or other
   population characteristics, and develop clear language for how this will be addressed prior
   to implementing the QRS.

   Initially, we recommend aligning reporting with the process used by accreditors; that is, the
   QRS would group each QHP issuers’ QHPs into pre-defined product types and require
   aggregated reporting for each product type. However, CMS would also have to include–as
   part of its future technical guidance identifying further details regarding the rating
   methodology component, elements, and measure specification–details on how CMS intends
   to avoid inadvertently designing a QRS that creates an un-level playing field that skews
   incentives regarding network composition or geographic coverage.

   Rationale:

   Knowing the direction CMS plans to take will help QHP issuers prepare, and will also
   elucidate the types of additional data that CMS will have to collect and analyze to ensure an
   apples-to-apples methodology (e.g., to what extent and how will the rating system take into
   account differences between products with tightly managed networks versus products with


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   broad access networks, or products offered in selected counties/geographic areas versus
   products offered in broader areas/statewide). For example, one unintended consequence of
   the Medicare Star system is that it incentivizes cherry-picking and participation in
   metropolitan counties. By addressing these concerns, CMS will enable a system to reward
   QHP issuers for more meaningful QHP choices across a state, and thereby better serve
   QHP consumers. Aligning reporting with the accreditation process is consistent with CMS’
   interest in aligning align QRS measures reporting requirements with the accreditation
   standards for QHP issuers.

34. QRS for QHPs Outside Exchanges (§ 156.1120)

   Issue:

   In the Preamble, CMS indicates it intends to allow a QHP issuer to collect data for the QRS
   based on enrollees of QHPs offered through and outside of the marketplace if the QHPs are
   identical as outlined in the Program Integrity Final Rule.

   Recommendation:

   CMS should eliminate the ambiguity created by the word “allow,” and require either that:
   1) all QHP issuers collect/submit data for enrollees of identical QHPs offered through and
   outside the marketplace; or 2) all QHP issuers collect/submit data only for QHPs offered
   through the marketplace. If the former, CMS should allow for data to be tagged by QHP
   status and engage as soon as possible in studying whether variations in socioeconomic
   status, race/ethnicity, or other population characteristics affect the quality measures.

   Rationale:

   If QHP issuers have discretion over whether to include enrollees of QHPs offered outside
   the marketplace, consistency will be lost. Results from one QHP to another may be skewed
   by significant population differences. In addition, allowing discretion opens the system to
   gaming.


35. QRS Timeline (§ 156.1120(b))

   Issue:

   In the Preamble, CMS indicates it will phase in implementation of the QRS over time to give
   issuers time to collect, validate, and report quality measure data. In general, the data
   reporting period begins the first month of a calendar year through the middle of the sixth
   month of the calendar year. Current QHP issuers will need to prepare the required validated
   data elements for QRS beta testing in 2014, and submit the validated data for eligible QHP
   enrollees covered during 2014 for beta testing on or around June 15, 2015.

   Recommendation:

   In general we support the timeline laid out in the Preamble. However, we recommend that
   CMS lengthen the time period of data submission for QRS beta testing to allow for final data
   submission by August 15, 2015.


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   Rationale:

   As it is already April, and: 1) QHP issuers are still finalizing true, effectuated enrollments; 2)
   CMS has not finalized the QRS measure set; 3) CMS has not specified in technical
   guidance a validation process for any measures for which the measure steward has not
   defined a validation process; and 4) CMS has not yet clarified how it will define “product
   level” reporting, the time frame for beta testing seems dangerously short. The extra two
   months will create an added margin of safety for plans to collect and validate required data.

36. Marketing Materials (§ 156.1120(b))

   Issue:

   The Preamble would allow QHP issuers to use quality ratings and ESS results in its
   marketing materials. CMS intends to provide details regarding display of QRS/ESS results
   in technical guidance that it anticipates releasing in 2015.

   Recommendation:

   We support allowing QHP issuers to use QRS/ESS results in marketing materials, and
   suggest that CMS generally follow the marketing guidelines for Medicare Advantage.

   Rationale:

   Standards for marketing in Medicare Advantage have struck a good balance between
   meeting plans’ marketing needs while not presenting information in a misleading manner to
   consumers.

37. Data Submission by ESS Vendors (§ 156.1125)

   Issue:

   The NPRM would require QHP issuers to contract with a CMS-approved ESS vendor to
   administer the ESS. In the Preamble, CMS indicates that, starting in January 2015, QHP
   issuers would submit validated data to the vendor to administer the ESS, and then QHPs
   must ensure that their contracted ESS vendors submit the data collected from the ESS
   survey to CMS. Though the Rule calls for CMS to monitor ESS vendors to ensure ongoing
   compliance, it leaves open to question the responsibility of the QHP issuer when the vendor
   is responsible for missing a deadline.

   Recommendation:

   BCBSA supports adding a “hold harmless” clause to § 156.1125(a): If a QHP issuer relies
   reasonably and in good faith on a representation by the ESS vendor that it will be able to
   submit the data collected from the ESS survey to CMS in the form, manner, and time
   specified by CMS, and this representation is later determined to be incorrect, the QHP
   issuer is considered to comply with any requirement under § 156.1125(b) to submit ESS
   data.

   Rationale:

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   Including a “hold harmless” provision in the Final Rule would significantly alleviate any legal
   ambiguity concerning the extent to which a QHP issuer may rely on a vendor who is later
   determined to be non-compliant.

38. ESS for QHPs Outside Exchange (§ 156.1125)

   Issue:

   The Preamble indicates that CMS is considering an approach similar to the QRS, allowing a
   QHP issuer to include enrollees of QHPs offered through and outside of the marketplace, to
   ensure a reliable ESS sample size, as long as they are considered the same plan as
   established in § 153.500.

   Recommendation:

   We recommend the same changes as to the QRS: CMS should either:

   1) Require all QHP issuers to include enrollees of identical QHPs offered outside of the
      marketplace; or

   2) Prohibit including enrollees outside the Marketplace.

   If the former, CMS should allow for data to be tagged by QHP status, and start analyzing as
   soon as possible whether variations in socioeconomic status, race/ethnicity, or other
   population characteristics affect any ESS results. In addition, CMS should modify this
   provision so that inclusion of enrollees in identical QHPS offered outside the marketplace
   would apply only if the non-marketplace plan had at least 500 enrollees.

   Rationale:

   Just as for the QRS (under #33 above), if QHP issuers have discretion over whether to
   include enrollees of QHPs offered outside the Exchange, consistency will be lost; results
   from one QHP to another may be skewed; and the system will become susceptible to
   gaming.


PART 158 – ISSUER USE OF PREMIUM REVENUE: REPORTING AND REBATE
REQUIREMENTS

Subpart A - Disclosure and Reporting

39. ICD-10 Conversion Expenses (§ 158.150)

   Issue:

   This provision would extend the timeframe for which issuers can include their ICD-10
   conversion costs in their MLR calculation as quality improvement activity expenses. It would
   permit issuers to report their 2014 ICD-10 conversion costs as QIA expenses in the 2014
   reporting year, up to 0.3 percent of an issuer’s earned premium in the relevant state and

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   market. This treatment will extend through the first reporting year in which the Secretary
   requires ICD-10 as the standard medical data code set.

   Recommendation:

   BCBSA supports this proposed provision and recommends the Final Rule retain the
   proposed policy.

   Rationale:

   This is not a new policy; rather, it is an extension of a previous policy as a result of the delay
   in ICD-10, meaning issuers will incur costs related to the conversion in 2014. In addition,
   this provision will have a minimal impact on consumers.

Subpart B - Calculating and Providing the Rebate

40. Accounting for Special Circumstances (§ 158.221)

   Issue:

   The Rule proposes to modify the MLR regulations to account for the special circumstances
   of issuers in the individual and small group markets that offered transitional coverage or
   participated in the state and federal marketplaces (e.g., unanticipated costs due to high call
   center volume in January 2014). The proposed changes would allow issuers that:

      Offered transitional coverage to multiply the incurred claims and expenses for quality
       improving activities incurred in 2014 in the MLR numerator by 1.0001. The multiplier
       would be applied to the issuer’s entire experience in 2014, which may include plans
       other than transitional coverage.

      Participate in marketplaces to multiply the incurred claims and expenses for quality
       improving activities incurred in 2014 in the MLR numerator by 1.0004. The multiplier
       would be applied to the issuer’s entire experience in 2014, which may include off-
       marketplace plans.

   Recommendation:

   BCBSA appreciates CMS’ efforts to compensate issuers for the extensive time, expenses,
   and resources spent on improving the consumer experience for the marketplace rollout.
   However, we believe the adjustment is too small to offset the additional costs issuers have
   and will incur.

   Rationale:

   The amount of MLR relief issuers will obtain as a result of the proposed adjustment would
   account for a very small fraction of the unanticipated costs issuers have and will face. If an
   issuer were to qualify for both the adjustment for transitional policy and for marketplace
   readiness this would only provide .04% of MLR relief, which is far below the amount issuers
   will incur.



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   Relief is deserved for issuers, who provided significant assistance to CMS and states at their
   own expense when unanticipated issues arose. For example:

      Issuers invested a significant amount of resources, time and manpower to protect
       consumers from the disruptions caused by HealthCare.gov.

      Issuers upgraded their IT systems, staffed call centers and adjusted operations to
       mitigate issues with the rollout.

      Issuers spent significant money renewing and extending policies for 2014, working with
       state regulators to obtain approval for the extension of these policies by January 1,
       2014. Further, they priced their ACA-compliant plans assuming that lower-risk persons
       currently enrolled in the plans which were extended would move to the ACA compliant
       plans during 2014, which will have a significant negative impact on claims cost and thus
       their financials.

41. Distribution of De Minimis Rebates (§ 158.243)

   Issue:

   The Rule proposes to clarify how issuers must distribute rebates where: 1) all of an issuer’s
   rebates are de minimis; or 2) distribution of de minimis rebates to enrollee(s) whose rebates
   are not de minimis would result in an enrollee’s receiving a rebate that exceeds the
   enrollee’s annual premium. In these two situations, the issuer must distribute de minimis
   rebates to enrollees in the policies that generated the de minimis rebates.

   Note: current rules allow issuers not to distribute de minimis rebates to enrollees in the
   policies that generated those rebates, but instead to aggregate such rebates and distribute
   them to other enrollees whose rebates are not de minimis.

   Recommendation:

   BCBSA opposes the proposed changes to the de minimis rules and recommends the Final
   Rule not include them. However, if the proposed changes are included in the Final Rule,
   issuers should be allowed to provide the de minimis rebates to the state to use for health
   education.

   Rationale:

   The administrative expense associated with sending very small rebates exceeds the amount
   of rebate itself. Given that the intent of the MLR is to contain the costs of health coverage, it
   would be counterproductive to require these administratively costly practices. As CMS notes
   in the December 10, 2010 Interim Final Rule on medical loss ratios
   http://www.gpo.gov/fdsys/pkg/FR-2010-12-01/pdf/2010-29596.pdf:

       “Without a minimum threshold, each enrollee would receive the rebate owed to him or
       her, but the cost of processing and distributing the rebate might be greater than the
       amount of the rebate.”

       “We agree that it does not make sense for issuers to provide rebates when the
       administrative cost of providing them exceeds their value to enrollees.”

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   The changes proposed to this provision are inconsistent with the policy position articulated
   above.

   In addition, the MLR provisions were developed in consultation with the NAIC. The NAIC’s
   Issue Resolution Document (IRD) 56 indicated that “an issuer need not pay rebates below a
   particular amount, to avoid the payment of minimal sums, as well as avoiding the
   administrative expense of processing those payments…If there are payments that are not
   made because they are de minimis…”

   There was careful deliberation about all provisions of the MLR through this process,
   including the de minimis provision. This unilateral modification by CMS ignores that
   deliberative process.

   Since the vast majority of rebates paid are only in a single market segment (of issuers owing
   rebates in 2012, 89% owed rebates in a single market segment), the requirement to send a
   rebate for a market segment that is de minimis in effect means that de minimis rebates will
   be distributed to all enrollees in the market segment, which in the vast majority of instances
   would negate the reason to have a de minimis rebate provision.

   We urge CMS to leave the de minimis provisions unchanged to ensure that MLR policies
   embrace the goals of the ACA and lead insurers to pay claims appropriately while reducing
   the administrative burden issuers. Requiring the distribution of de minimis rebates would
   add an unjustified and costly administrative burden on insurers, with costs in excess of the
   benefit it provides. However, if CMS does make changes to the requirements, issuers
   should be allowed to provide the de minimis rebates to the state where the rebates
   originated to be used for health education, as opposed to issuing checks to members for
   small amounts and incurring administrative cost that exceed the amount of the check.




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             United States Court of Appeals
                 for the Federal Circuit

                                 17-1994

                      MODA HEALTH PLAN, Inc.,

                                      Plaintiff-Appellee,

                                     v.

                            UNITED STATES,

                                    Defendant-Appellant.

    Appeal from the United States Court of Federal Claims in No. 16-649

BRIEF OF AMERICA’S HEALTH INSURANCE PLANS, INC. AS AMICUS
         CURIAE IN SUPPORT OF REHEARING EN BANC


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                         CERTIFICATE OF INTEREST
     As called for by Federal Circuit Rule 47.4, Counsel for Amicus Curiae
America’s Health Insurance Plans, Inc. certifies the following:

   1. The full name of every party or amicus represented by me is:

      America’s Health Insurance Plans, Inc.

   2. The name of the real party-in-interest (if the party named in the caption is
not the real party in interest) represented by me is: Not applicable.

   3. All parent corporations and any publicly held companies that own 10 percent
or more of the stock of the party or amicus curiae represented by me are:

      None. America’s Health Insurance Plans, Inc. has no parent corporation and
      is a trade association whose members have no ownership interests.

   4. The names of all law firms and the partners or associates that appeared for
the party or amicus now represented by me in the trial court or agency or are
expected to appear in this Court are:

      AKIN GUMP STRAUSS HAUER & FELD LLP: Leslie B. Kiernan, Pratik
      A. Shah, and Robert K. Huffman.

      DEUTSCH HUNT PLLC: Hyland Hunt and Ruthanne M. Deutsch.

      Ralph C. Nash, Professor Emeritus, George Washington University Law
      School.

   5. The title and number of any case known to counsel to be pending in this or
any other court or agency that will directly affect or be directly affected by this
court’s decision in the pending appeal:

      Federal Circuit

      Land of Lincoln Mutual Health Insurance Co. v. United States, No. 17-1224

      Blue Cross and Blue Shield of North Carolina v. United States, No. 17-2154

      Maine Cmty. Health Options v. United States, No. 17-2395



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Alliant Health Plans, Inc. v. United States, No. 16-1491C (Braden, J.)

BCBSM, Inc. v. United States, No. 16-1253C (Coster Williams, J.)

Blue Cross and Blue Shield of Alabama v. United States, No. 17-347C
(Campbell-Smith, J.)

Blue Cross and Blue Shield of Kanas City v. United States, No. 17-95C
(Braden, J.)

BlueCross BlueShield of Tennessee v. United States, No. 17-348C (Horn, J.)

Blue Cross of Idaho Health Service, Inc. v. United States, No. 16-1384C
(Lettow, J.)

Common Ground Healthcare Cooperative v. United States, No. 17-877C
(Sweeney, J.)

EmblemHealth, Inc. v. United States, No. 17-703C (Wheeler, J.)

Farmer v. United States, No. 17-363C (Campbell-Smith, J.)

First Priority Life Ins. Co. v. United States, No. 16-587C (Wolski, J.)

Health Alliance Medical Plans, Inc. v. United States, No. 17-653C
(Campbell-Smith, J.)

Health Net, Inc. v. United States, No. 16-1722C (Wolski, J.)

Health Republic Ins. Co. v. United States, No. 16-259C (Sweeney, J.)

HPHC Ins. Co., Inc. v. United States, No. 17-87C (Griggsby, J.)

Medica Health Plans v. United States, No. 17-94C (Horn, J.)

Minuteman Health Inc. v. United States, No. 16-1418C (Griggsby, J.)

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Dated: August 10, 2018                      By:   /s/Leslie B. Kiernan
                                                  Leslie B. Kiernan




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             STATEMENT OF INTEREST OF AMICUS CURIAE1
      America’s Health Insurance Plans, Inc. (“AHIP”) is the national trade

association representing the health insurance community. AHIP advocates for

public policies that expand access to affordable healthcare coverage to all Americans

through a competitive marketplace that fosters choice, quality, and innovation.

AHIP’s members provide health and supplemental benefits through employer-

sponsored coverage, the individual insurance market, and public programs such as

Medicare and Medicaid. As a result, AHIP’s members have broad experience

working with other healthcare stakeholders, including medical providers as well as

state and federal government agencies, to ensure that patients have access to needed

treatments and medical services.

      That experience gives AHIP extensive first-hand knowledge about the

Nation’s healthcare and health insurance systems and a unique understanding of how

those systems work. Given the pervasive role of the federal government in those

systems, including as a result of the Patient Protection and Affordable Care Act, Pub.

L. No. 111-148, 124 Stat. 119 (2010), amended by the Health Care and Education

Reconciliation Act of 2010, Pub. L. No. 111-152, 124 Stat. 1029 (“ACA”), AHIP’s


1
  No counsel for any party authored this brief in whole or in part, and no person or
entity other than the amicus, its members, or its counsel made a monetary
contribution intended to fund the brief’s preparation or submission. All parties have
consented to the filing of this brief, which is accompanied by a motion for leave to
file. See Fed. R. App. P. 29(b); Fed. Cir. R. 35(g).

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experience is that those systems can function as intended only when the government

meets its obligations as a reliable business partner. AHIP supports en banc review

because the panel opinion, by upending decades of Federal Circuit and Supreme

Court precedent, jeopardizes the reliability of health insurance providers’ ongoing

business relationships with the federal government.

            INTRODUCTION AND SUMMARY OF ARGUMENT
      Insurers across the country made the decision to enter into, and continue

participating in, the new, risky insurance exchanges because of a clear statutory

promise that—as all members of the panel agreed—unambiguously “created an

obligation of the government to pay … the full amount indicated by the statutory

formula … under the risk corridors program.” Slip Op. at 19, Docket No. 87. A

divided panel nonetheless concluded that an appropriations rider precluding the use

of only certain funding sources impliedly suspended this statutory obligation. Id. at

20. AHIP agrees with Judge Newman and the petitioning health plans that this

holding conflicts with Federal Circuit and Supreme Court precedent. See Dissent at

8, 14-17, Docket No. 87; Moda Health’s Pet. for Reh’g En Banc at 6-11, Docket No.

89; Land of Lincoln’s Pet. for Reh’g En Banc at 6-14, Land of Lincoln Mut. Health

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2018).2 AHIP writes to emphasize the critical need for en banc review because the

panel majority’s holding calls into question years of precedent holding the

government to its obligations, thereby casting doubt on whether private health care

providers can rely upon the federal government as a fair business partner—a

question of urgent and increasing importance given the government’s recent conduct

in connection with other ACA programs.

       This Court has long recognized that no entity would partner with the

government if it did not expect the government to adhere to its commitments.

Whether the commitments stem from statute or contract, the ability to rely upon the

government’s word is of paramount importance to health care programs, which

depend upon partnerships with private providers to serve the consumers, patients,

and beneficiaries who receive needed medical care. Federal Circuit precedent has—

until now—guaranteed those commitments in the absence of explicit and clear

congressional intent to repudiate them. The panel majority’s opinion, however, now

makes it a risky business to rely upon the government’s assurances. That deals a

crippling blow to health insurance providers’ business relationships with the

government, which depend upon the providers’ ability to trust that the government

will act as a fair partner.


2
 AHIP also supports the rehearing petitions filed in Maine Community Health
Options v. United States, No. 17-2395, and Blue Cross & Blue Shield of North
Carolina v. United States, No. 17-2154.

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      The risk corridors default is just one example among many where the

government has not acted as a reliable and fair partner committed to promoting a

stable and sustainable market. For example, in 2017 the government ceased making

cost sharing reduction payments mandated by ACA—well into the plan year and

long after plans had set premiums based on clear statutory terms mandating payment.

And in June 2018, the government took the unusual step of declining to defend key

provisions of ACA in litigation—again, long after health insurance providers had

designed plans in reliance on clear statutory provisions the government has now

abandoned. En banc rehearing is needed to forestall even greater harm.

                                    ARGUMENT

EN BANC REVIEW IS NECESSARY BECAUSE THE PANEL OPINION
JEOPARDIZES HEALTH INSURANCE PROVIDERS’ ONGOING
BUSINESS RELATIONSHIPS WITH THE GOVERNMENT

             The Panel Majority’s Decision Undercuts the Government’s
             Reliability as a Business Partner, Which Is of Critical Importance
             in the Health Care Industry
      The panel opinion has damaging effects that reach beyond the specific harm

to the insurance market, the ACA exchanges, and consumers from the government’s

failure to meet its risk corridor obligations. As Judge Newman recognized, the panel

majority’s holding also “undermines the reliability of dealings with the

government.” Dissent at 19. That causes harm not only to those who partner with

the government, but also to the government itself, whose “ability to benefit from

participation of private enterprise depends on [its] reputation as a fair partner.” Id.

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      The harm caused by the government’s failure to meet its obligations has long

been recognized by the Supreme Court and this Court. If “the Government could be

trusted to fulfill its promise to pay only when more pressing fiscal needs did not

arise, would-be contractors would bargain warily—if at all—and only at a premium

large enough to account for the risk of nonpayment.” Salazar v. Ramah Navajo

Chapter, 567 U.S. 182, 192 (2012).            Accordingly, the law safeguards the

“Government’s own long-run interest as a reliable contracting partner in the myriad

workaday transaction of its agencies.” United States v. Winstar Corp., 518 U.S. 839,

883 (1996) (plurality op.). Were it otherwise, “willing partners [would become]

more scarce.” Salazar, 567 U.S. at 192. For that reason, the law has long secured

payment of governmental obligations even in the absence of appropriated funds,

because “the Government’s valid obligations will remain enforceable in the courts.”

Id. at 191 (internal citation and quotation omitted).

      This is true for obligations created by statute as well as contract. The “mere

failure of Congress to appropriate funds … does not in and of itself defeat a

Government obligation created by statute.” Greenlee Cty. v. United States, 487 F.3d

871, 877 (Fed. Cir. 2007). Nor does a congressional appropriations restriction,

unless it “modified or repealed the previous law” “expressly or by clear implication.”

United States v. Langston, 118 U.S. 389, 394 (1886); see Dissent at 7-8. There was

no such manifest intent here, only temporary restrictions on particular sources of



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appropriated funds enacted in the context of unsuccessful efforts to repeal. See

Dissent at 6. The upshot of treating such mere funding-source restrictions as an

implied suspension of the obligation goes beyond contravening Federal Circuit

precedent. Allowing the government to default on its obligations means that—after

receiving the direct financial benefit from the risk corridors program—the

government has walked away from billions owed to health insurance providers, who

had set premiums and participated in the exchanges in reasonable reliance on the

clear statutory mandate and the government’s repeated assurances. See Dissent at

4-5.

       Retroactively relieving the government of its clear statutory obligations based

on funding-source restrictions directly harms health insurance providers that

participated in the first years of the ACA exchanges, as well as the consumers they

serve. Beyond that, it also puts at risk the government’s long-term interest in being

trusted to act as a reliable business partner. There are few industries in which that

interest matters more than health care, where the government relies heavily upon

partnerships with private providers for the delivery of services. Of $944.1 billion

dollars spent by the federal government on health care in 2016, across all programs,

more than $738.2 billion (78%) involved services delivered through partnerships

with doctors, hospitals, insurance providers, and other entities through programs




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such as Medicare, Medicaid, and the ACA health insurance exchanges.3 Tens of

millions of Americans receive health care through such programs, including over 9

million Americans who obtained subsidized health plans on ACA’s exchanges,4 over

20 million Americans who receive Medicare benefits through private health plans,5

and over 65 million Americans who receive health care through Medicaid managed

care programs.6

      The panel decision imperils these sorts of partnerships in health care. As

Judge Newman emphasized, the panel majority permitted the government to

repudiate its obligations even after health insurance providers had performed their

part of the bargain. Dissent at 17. If it is perceived that the federal government can

walk away from statutory obligations made to encourage private sector participation

in new programs—and the courts will not secure those relied-upon obligations

through the Judgment Fund—partnering with the federal government becomes a

venture fraught with risk.




3
  See Ctrs. for Medicare & Medicaid Servs. (“CMS”), Nat’l Health Expenditure
Data, Table 05-3 & n.2, https://www.cms.gov/Research-Statistics-Data-and-
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                Rehearing Is Vitally Important Now Because the Risk Corridors
                Program Is Only One of Many in Which the Government Has Not
                Acted as a Reliable Business Partner
      Public-private partnerships in health care generally, and in the ACA

individual and small-group markets specifically, depend upon clear, consistent, and

consistently enforced rules governing the mutual obligations between private health

insurance providers and the government.        The need to safeguard the reliable

performance of the government’s part of the bargain is ever more pressing. The

failure to pay risk corridors obligations was just one of several recent actions taken

by the government that have undercut the strength of ACA’s many public-private

partnerships.

      In 2017, for example, the government announced that it would no longer

reimburse health insurance providers for the reductions in cost-sharing (e.g., co-pays

and deductibles) that insurance providers are required to provide to certain low-

income exchange beneficiaries, notwithstanding a clear statutory mandate to make

these cost sharing reduction (“CSR”) payments. See 42 U.S.C. § 18071(c)(3)(A);

Trump v. California, 267 F. Supp. 3d 1119 (N.D. Cal. 2017). Once again, the

abandonment of payment obligations occurred in the middle of a plan year and long

after health plans had set premiums. The decision to terminate CSR payments

caused immediate harm to health insurance providers, as evidenced by the cases

pending in the Court of Federal Claims seeking to recover monies owed from 2017,



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the year of the government’s mid-year about-face. See, e.g., Common Ground

Healthcare Coop. v. United States, 137 Fed. Cl. 630 (2018) (certifying class).

      Thus far, the harm to many (though not all) consumers—particularly for

2018—has been much less than it could have been. This is because states and

insurance providers worked hard to implement a strategy centered around so-called

“silver loading,” which sought to lessen the costly effects for consumers associated

with the government’s termination of CSR payments. See Trump, 267 F. Supp. 3d

at 1133-35. But the government—doubling down on its nonpayment of amounts

owed under an unambiguous statutory mandate—has signaled an interest in

eliminating or prohibiting such efforts. See, e.g., Margot Sanger-Katz, Republicans

Couldn’t Knock Down Obamacare. So They’re Finding Ways Around It, N.Y.

TIMES, The Upshot (Apr. 11, 2018) (reporting that the Centers for Medicare &

Medicaid Services is considering barring states from using silver loading); Katie

Keith, Insurers Can Continue Silver Loading for 2019, Health Affairs (Jun. 13,

2018),       https://www.healthaffairs.org/do/10.1377/hblog20180613.293356/full

(reporting that at a June 2018 hearing before the House Education and Workforce

Committee Department of Health and Human Services, Secretary Azar did not rule

out banning silver loading in the future). These statements continue to inject

significant uncertainty into the market and call into question the government’s

commitment to stable and reliable rules.



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       The continued uncertainty surrounding CSR payments is not the only recent

development that raises questions regarding the long-term reliability of the

government as a business partner in health care. In response to litigation by Texas

and other states seeking to enjoin ACA in its entirety, the government in June 2018

took the highly unusual step of declining to defend a congressional enactment.

Although opposing an injunction, the government agreed with the plaintiffs that

zeroing out the penalty for noncompliance with the individual mandate rendered that

provision unconstitutional and required the invalidation of two key ACA market

reforms, guaranteed issue and community rating, as of 2019 (the effective date of

zeroing out of the penalty).7 See Fed. Defs. Br., Texas v. United States, No. 4:18-

cv-167, Docket No. 92, (N.D. Tex. filed June 7, 2018).           Once again, this

development came only after plans had already developed products and submitted

rates for 2019 that were based on the policies and rules that the government now

jettisons.

       The uncertainty and instability wrought by the government’s repeated

repudiation of prior positions and commitments, particularly in the health care

context, shows the pressing need for en banc review here. This Court should restore

Federal Circuit precedent recognizing that the government must act as a reliable


7
 Guaranteed issue “bar[s] insurers from denying coverage to any person because of
his health,” and community rating “bar[s] insurers from charging a person higher
premiums for the same reason.” King v. Burwell, 135 S. Ct. 2480, 2485 (2015).

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business partner and keep its promises, which in this particular case means the

government must meet its risk corridor payment obligations.

                                CONCLUSION
      The Court should grant rehearing en banc.

Dated: August 10, 2018               Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE
      Pursuant to Federal Rule of Appellate Procedure 32(g) and Federal Circuit

Rule 32(b), the undersigned hereby certifies that this brief complies with the type-

volume limitation of Federal Rule of Appellate Procedure 29(b)(4) and Federal

Circuit Rule 35(g).

      1.     Exclusive of the exempted portions of the brief, as provided in Federal

Rule of Appellate Procedure 32(f) and Federal Circuit Rule 32(b), the brief

contains 2,359 words.

      2.     This brief has been prepared in proportionally spaced typeface using

Microsoft Word 2016 in 14-point Times New Roman font. As permitted by

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                         CERTIFICATE OF SERVICE
      I hereby certify that I filed the foregoing proposed brief with the Clerk of the

United States Court of Appeals for the Federal Circuit via the CM/ECF system this

10th day of August, 2018, and served a copy on counsel of record by the CM/ECF

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Dated:    August 10, 2018                           /s/ Leslie B. Kiernan
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            MODA HEALTH PLAN, INC., ET AL., Petitioners,
                              v.
                  UNITED STATES, Respondent.

         LAND OF LINCOLN MUTUAL HEALTH INSURANCE CO.,
                                  Petitioner,
                              v.
                   UNITED STATES, Respondent.

                     On Writ of Certiorari to the
        United States Court of Appeals for the Federal Circuit

         BRIEF OF AMERICA’S HEALTH INSURANCE
         PLANS AS AMICUS CURIAE IN SUPPORT OF
                     PETITIONERS

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                  INTEREST OF AMICUS CURIAE1
             America’s Health Insurance Plans, Inc. (“AHIP”)
        is the national trade association representing health
        insurance providers. AHIP advocates for public
        policies that expand access to affordable health care
        coverage to all Americans through a competitive
        marketplace that fosters choice, quality, and
        innovation. AHIP’s members provide health and
        supplemental benefits through employer-sponsored
        coverage, the individual insurance market, and public
        programs such as Medicare and Medicaid. As a result,
        AHIP’s members have broad experience working with
        other health care stakeholders, including medical
        providers as well as state and federal government
        agencies, to ensure that patients have access to needed
        treatments and medical services.
             That experience gives AHIP extensive first-hand
        knowledge about the Nation’s health care and health
        insurance systems and a unique understanding of how
        those systems work. Given the pervasive role of the
        federal government in those systems, including as a
        result of the Patient Protection and Affordable Care
        Act, Pub. L. No. 111-148, 124 Stat. 119 (2010),
        amended by the Health Care and Education
        Reconciliation Act of 2010, Pub. L. No. 111-152, 124
        Stat. 1029 (“ACA”), AHIP’s experience is that those
        systems can function as intended only when the
        government meets its obligations as a reliable

              1 Counsel of record for all parties consent to the filing of this
        brief. S. CT. R. 37.3(a). No counsel for any party authored this
        brief in whole or in part, and no person or entity other than
        amicus curiae or its counsel made a monetary contribution
        intended to fund the brief’s preparation or submission.

                                         (1)
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                                        2

        business partner.
              AHIP writes to emphasize that all relevant
        stakeholders, including the responsible government
        agency, agreed that the risk corridors program
        represented an unambiguous commitment by the
        government to share in a portion of the losses incurred
        by health insurance providers in the first years of the
        health insurance exchanges. The Federal Circuit’s
        decision permitting the government to walk away from
        that clear commitment based on ambiguous
        appropriations riders years later jeopardizes ongoing
        and future public-private partnerships that are
        critically important to the Nation’s health care system.
                        INTRODUCTION
                  AND SUMMARY OF ARGUMENT
             Health insurance providers across the country
        decided to enter into the new and risky insurance
        exchanges because of a clear obligation Congress
        created in the ACA: “an obligation of the government
        to pay … the full amount indicated by the statutory
        formula … under the risk corridors program.” Pet.
        App. 20.2 Both the majority and dissenting judges on
        the Federal Circuit recognized that statutory
        obligation as unambiguous. The Federal Circuit
        nonetheless concluded that an appropriations rider
        precluding the use of only certain funding sources
        impliedly “suspended” that obligation, thereby
        depriving health insurance providers of billions of
        dollars in promised reimbursements.


              2 All citations to the Petition Appendix are to the appendix
        in No. 18-1028.
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                                   3

             AHIP agrees with Petitioners that the Federal
        Circuit’s decision finds no support in this Court’s
        precedents. AHIP writes separately to emphasize that
        the Federal Circuit’s holding also casts serious doubt
        on the ability of private entities to rely on the federal
        government as a fair business partner. Given the
        extensive participation of health insurance providers
        in the Nation’s health care programs, that concern is
        one of grave importance.
             This Court has long recognized that no entity
        would partner with the government if it did not expect
        the government to adhere to its commitments.
        Whether the government’s monetary commitments
        stem from statute or contract, courts have—until
        now—guaranteed them in the absence of explicit and
        clear congressional intent to repudiate them. But the
        Federal Circuit’s decision, which lets the government
        “suspend” (i.e., repudiate) its clear substantive
        obligations on the basis of an at-best ambiguous
        appropriations rider, makes it a risky business to rely
        upon the government’s assurances.
             This case is particularly egregious because the
        Federal Circuit approved the government repudiating
        its obligation after it had reaped the benefit of its
        bargain. When they started, the ACA exchanges
        represented a new and uncertain market. Congress
        supported that market—inducing health insurance
        providers to participate and set lower premiums—
        with an express statutory command for the
        government to share in any substantial losses those
        providers might suffer. All relevant stakeholders,
        including actuaries, health insurance providers, and
        the Department of Health and Human Services
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                                   4

        (“HHS”), understood that the risk corridors program
        would distribute risk between the federal government
        and health insurance providers—not just among
        providers. Health insurance providers reasonably
        relied on that understanding, and the agency
        repeatedly confirmed it.
              As a result, in the early years of the exchanges,
        health insurance providers set lower premiums than
        market conditions would otherwise warrant, and
        many suffered significant losses. Indeed, even if the
        government      had     made     full  risk    corridors
        reimbursements as the statute requires, those health
        insurance providers still would have borne substantial
        losses. As it stands, although health insurance
        providers did their part—saving the government
        billions in reduced premium tax credit expenditures—
        they have been left covering the additional $12 billion
        of losses that the government had promised to
        reimburse.
             Affirming the Federal Circuit’s rule, which offers
        a roadmap for the government to dodge its
        commitments through snippets of legislative history
        buried in an after-the-fact appropriations rider, will
        necessarily damage business relationships between
        health insurance providers and the government. Such
        partnerships extend well beyond the ACA exchanges
        and are vitally important. Those partnerships deliver
        health care to tens of millions of Americans, and they
        depend upon the ability of insurance providers to trust
        that the government will act as a fair partner. This
        Court should reverse the judgment below to avoid
        significant and lasting damage to those partnerships
        and the benefits they bestow.
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                                   5

                             ARGUMENT
        THE   FEDERAL   CIRCUIT’S DECISION
        THREATENS THE DEEP PARTNERSHIP
        BETWEEN HEALTH INSURANCE PROVIDERS
        AND THE GOVERNMENT.
              A.    The Decision Below Undercuts The
                     Government’s Reliability As A
                     Business Partner.
              The Federal Circuit failed to hold the government
        to its “unambiguously mandatory” obligation to
        reimburse health insurance providers for over $12
        billion in losses. Pet. App. 16. That failure evokes this
        Court’s recognition of the serious damage that results
        from allowing the government to renege on its
        obligations. If “the Government could be trusted to
        fulfill its promise to pay only when more pressing
        fiscal needs did not arise, would-be contractors would
        bargain warily—if at all—and only at a premium large
        enough to account for the risk of nonpayment.”
        Salazar v. Ramah Navajo Chapter, 567 U.S. 182, 191-
        192 (2012).
              The law thus safeguards the “Government’s own
        long-run interest as a reliable contracting partner in
        the myriad workaday transaction of its agencies,”
        United States v. Winstar Corp., 518 U.S. 839, 883
        (1996) (plurality op.)—an interest that is all the more
        critical for major new programs that depend upon
        inducing private participation for their success. Were
        it otherwise, “willing partners [would become] more
        scarce.” Salazar, 567 U.S. at 192. That is why, even
        in the absence of appropriated funds, it has been
        settled law—at least until now—that “the
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        Government’s     valid   obligations  will    remain
        enforceable in the courts.” Id. at 191 (citation and
        internal quotation marks omitted).
              As recognized by the judges dissenting from
        denial of rehearing en banc, the Federal Circuit’s
        decision creates just this sort of harm. By holding that
        “the Government can abrogate its obligation to pay
        through appropriations riders, after it has induced
        reliance on its promise to pay,” the ruling “severely
        undermines the Government’s credibility as a reliable
        business partner.”       Pet. App. 83 (Wallach, J.,
        dissenting). That, in turn, impairs “[o]ur system of
        public-private partnership,” which “depends on trust
        in the government as a fair partner.” Pet. App. 67
        (Newman, J., dissenting). The resulting harm is
        widespread. It hurts not only those who partner with
        the government, but the government itself and, most
        critically, the consumers who depend upon vital
        services      provided       through      public-private
        partnerships.
              Whether the repudiated obligation is viewed as a
        contractual promise or a statutory command makes no
        difference. Statutory obligations, like contractual
        ones, bind the government despite Congress’s failure
        to appropriate sufficient funds to satisfy them.
        Belknap v. United States, 150 U.S. 588, 594 (1893)
        (“mere failure to appropriate” is “not, in and of itself
        alone, sufficient to repeal the prior act”). And a
        congressional appropriations restriction does not alter
        the nature of the government’s obligation unless it
        “modified or repealed the previous law” “expressly, or
        by clear implication.” United States v. Langston, 118
        U.S. 389, 394 (1886).
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             There was no such repeal here, only restrictions
        on particular sources of appropriated funds that were
        enacted in the context of unsuccessful efforts to repeal.
        See 18-1028 Pet. Br. 30-33, 37-38. Making matters
        worse, the Federal Circuit relied on inconclusive
        snippets of legislative history in construing the
        appropriations rider. Id. at 33-35; see Pet. App. 26.
        What’s more, the appropriations restriction was first
        enacted in December 2014, after health insurance
        providers had already provided coverage for nearly all
        of 2014 and had set premiums and committed to
        participate in the ACA exchanges for 2015. 3 No
        matter the doctrinal lens, the upshot is that the
        Federal Circuit’s rule allows the government to
        default on its obligations based on an at-best
        ambiguous appropriations rider, after receiving the
        direct financial and other benefits from the risk
        corridors program. See Part C, infra.
             That default has real consequences: Some health
        insurance providers suffered the dire threat of
        insolvency from the government’s retroactive
        repudiation. Petitioner Moda Health Plan is owed
        more than $210 million; it escaped receivership and
        was able to continue providing coverage in Oregon
        only by raising a major influx of private capital. 18-

              3 Although the precise deadline varies by state, insurers
        generally must file premiums for approval in the spring or
        summer preceding the year in which they intend to offer the
        coverage. See, e.g., AHIP, 2017 QHP Rate Filing—Key Dates
        (Apr. 18, 2016) (“Key Dates”), available at https://ahip.org/2017-
        qhp-rate-filing-key-dates. Final decisions regarding participation
        in the federal exchange must generally be made the September
        before the plan year starts. Id.
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                                        8

        1028 Pet. Br. 18. Petitioner Blue Cross Blue Shield of
        North Carolina, too, suffered financial losses of over
        $300 million for just 2014 and 2015. Id. at 18-19.
             Nor is the harm limited to the Petitioners before
        the Court.      Insurance providers in Illinois, for
        example, have been required to pay assessments
        levied by the state guaranty fund because of the
        insolvency of Petitioner Land of Lincoln Mutual
        Health Insurance Company.4 See, e.g., 2017 OFFICE OF
        THE SPECIAL DEPUTY RECEIVER ANN. REP. 12-13
        (noting the Illinois guaranty association has paid out
        $45 million to cover medical care provided to Land of
        Lincoln’s enrollees, and that the association can be
        reimbursed only if Land of Lincoln recovers the risk
        corridors reimbursements owed).5
             It follows that if the Federal Circuit’s holding is
        not reversed, health insurance providers and other
        private enterprises will doubt their ability to rely on
        the government’s unambiguous promises. And that

              4 In many instances, an insurance provider licensed in a
        state is required to join the state’s guaranty association. When
        an insolvent company is liquidated, the state’s guaranty
        association may be called upon to provide continuing coverage
        and benefits to the insolvent company’s policyholders. In the
        event an insolvent company’s assets are insufficient to cover the
        cost of providing those benefits (which is often the case),
        assessments may be imposed on insurance providers
        participating in the state’s guaranty association. In this way, all
        insurance providers share the risk and costs of another provider’s
        insolvency. See Nat’l Org. of Life & Health Ins. Guar. Ass’ns, The
        Safety Net at Work, available at https://www.nolhga.com/
        policyholderinfo/main.cfm/location/systemworks.
              5Available at https://www.osdchi.com/PDF%20Files/
        Scanned%20Orders/osd/2017OSDAnnualReport.PDF.
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                                  9

        doubt will deter future public-private partnerships—
        to the detriment of all, including consumers who
        depend on the vital services those partnerships make
        possible.
              B.    Both the Government And Health
                     Insurance Providers Expected That
                     Risk Under The Program Would Be
                     Shared Between Them, Not Just
                     Among Insurance Providers.
             When they made decisions about participating in
        the ACA’s new exchanges, there was no reason for
        health insurance providers to doubt the unambiguous
        risk-sharing commitment Congress made on behalf of
        the government in enacting the risk corridors
        program. Indeed, the government expected health
        insurance providers to rely on that commitment—
        despite the absence of an advance appropriation—
        because that is the only way the risk corridors
        program could achieve its objective. To that end, HHS
        repeatedly represented that it interpreted the statute
        in the same way that the industry did: mandating
        government reimbursement to insurance providers for
        partial losses per the statutory formula, regardless of
        amounts collected under the program.
             Health insurance providers faced enormous
        uncertainty in deciding whether to participate in the
        exchanges and in setting premiums for 2014 “because
        insurers had only limited experience data on
        individuals who would be newly insured in the post-
        reform market.” Am. Acad. of Actuaries, Issue Br.,
        Drivers of 2015 Health Insurance Premium Changes,
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        at 2 (June 2014).6 That uncertainty would ordinarily
        demand a higher premium due to a “risk margin”;
        under actuarial principles, “[g]reater levels of
        uncertainty typically result in higher risk margins and
        higher premiums.” Id. at 5.
             But insurance providers were induced to
        participate in the exchanges—and to set lower
        premiums than otherwise would have been
        warranted—by a promise that even the Federal
        Circuit recognized was unambiguous, Pet. App. 16-17:
        the government would reimburse health insurance
        providers (in part) for any losses resulting from
        higher-than-expected costs to cover patient care
        during the first three years of the exchanges. From
        the outset, all stakeholders understood that the risk
        corridors program would thereby share risk between
        health insurance providers and the government, not
        simply spread risk among health insurance providers.
             As Petitioners explain (18-1028 Pet. Br. 5-6), the
        statute’s plain text requires that the Secretary “shall
        pay” an amount dictated by a formula that is neither
        qualified nor capped by the amount collected from
        insurance providers under the program. 42 U.S.C.
        § 18062(b)(1). Because the payment amounts are not
        linked to amounts collected, the statute “permits the
        Federal government and [qualified health plans] to
        share in … losses resulting from inaccurate rate
        setting.” 78 Fed. Reg. 15,410, 15,412 (Mar. 11, 2013).
        That is very different from the two other premium
        stabilization programs, which were expressly designed

             6  Available   at   http://www.actuary.org/files/2015_
        Premium_Drivers_Updated_060414.pdf.
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                                    11

        to be limited to amounts of collections from health
        insurance providers or third-party administrators on
        behalf of group plans. See id. at 15,411 (describing
        risk adjustment as a program in which “funds are
        transferred from issuers with lower-risk enrollees to
        issuers with higher-risk enrollees”); 42 U.S.C.
        §   18061(b)(1)(A)-(B)   (establishing   reinsurance
        program whereby entity “collects payments under
        subparagraph (A),” i.e., from “health insurance
        issuers, and … on behalf of group health plans,” and
        “uses amounts so collected to make reinsurance
        payments to health insurance issuers”).
             If it were not clear enough from the statute’s text,
        the agency made clear in 2013 that the program
        required payments from the Treasury if collections
        were insufficient to cover amounts owed: The “risk
        corridors program is not statutorily required to be
        budget neutral. Regardless of the balance of payments
        and receipts, HHS will remit payment as required
        under section 1342 of the Affordable Care Act.” 78
        Fed. Reg. at 15,473. Health insurance providers
        shared this understanding of the program as
        “protect[ing] health insurance issuers against …
        pricing uncertainty of their plans, [by] temporarily
        dampening gains and losses in a risk-sharing
        arrangement between issuers and the federal
        government.” Doug Norris, et al., Risk Corridors
        under the Affordable Care Act, Society of Actuaries,
        Health Watch at 5 (Oct. 2013).7 Because the program
        shared risk between the government and health

             7   Available at http://us.milliman.com/uploadedFiles/
        insight/2013/Risk-corridors-under-the-ACA.pdf.
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                                  12

        insurance providers, it was not “symmetric,” and the
        industry recognized from the early days that having
        “losses … balance the gains … would be more a
        coincidence than a certainty.” Id. at 6.
             This shared understanding was so strong that
        after announcing for the first time—without
        opportunity for prior comment—that it intended to
        “implement this program in a budget neutral
        manner,” 79 Fed. Reg. 13,744, 13,787 (Mar. 11, 2014),
        the agency reversed course just two months later. As
        the American Academy of Actuaries explained, the
        budget neutrality proposal “changes the nature of the
        risk corridor program from one that shares risk
        between issuers and CMS to one that shares risk
        between competing issuers.” Am. Acad. Actuaries,
        Comment Letter, Exchange and Insurance Market
        Standards for 2015 and Beyond, at 3 (Apr. 21, 2014).
        Without risk-sharing by the government, however, the
        program would “not fully achieve its goal of mitigating
        risk due to mispricing,” and health insurance
        providers would need to “build in additional risk
        margin”—i.e., raise premiums. Id. at 3-4; see also
        AHIP, Comment Letter, Exchange and Insurance
        Market Standards for 2015 and Beyond, at 5 (Apr. 21,
        2014) (expressing “significant concerns with the
        impact that such a [budget neutrality] policy would
        have on the risk corridors program’s statutory goal of
        stabilizing premiums”).
             Responding to these comments, the agency
        explained that budget neutrality meant that the
        agency would offset collections against payments over
        the three-year life of the program, but it returned to
        its considered prior view that in the “event of a
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        shortfall … the Affordable Care Act requires the
        Secretary to make full payments to issuers.” 79 Fed.
        Reg. 30,240, 30,260 (May 27, 2014). 8 And the next
        year—even after the first appropriations rider was
        adopted—the agency again reiterated “that the
        Affordable Care Act requires the Secretary to make
        full payments to issuers,” stating that it “will use other
        sources of funding for the risk corridors payments” in
        the event of a shortfall in collections. 80 Fed. Reg.
        10,750, 10,779 (Feb. 27, 2015).
              As these statements reflect, no one in the
        industry or the government thought that the absence
        of an upfront appropriation for risk corridors within
        the ACA converted “shall pay” into “may or may not
        pay.” In fact, the very uncertainty that led Congress
        to enact the risk corridors program made it
        impractical (if not impossible) to determine the
        amount of funds to appropriate in advance. All of “the
        values used in the risk corridor calculation are actual
        experienced values,” meaning they could not be known
        for 2014 until well into 2015. Norris, supra, at 6
        (noting plans were required to submit data by July 31
        of the year following the benefit year). Accordingly,
        the total amounts owed under the program for just its
        first year of operation—and thus the amount of any
        appropriation needed for one year—could not be
        determined until late 2015.



              8The agency stated that its ability to make full payments
        would depend upon identifying “other sources of funding …
        subject to the availability of appropriations,” but not that the
        statutory “obligation” was so constrained. 79 Fed. Reg. at 30,260.
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              The need for post hoc calculations—and later
        corresponding appropriations—is not unique to the
        risk corridors program, which was enacted in 2010 but
        under which the amounts due could not be calculated
        until 2015.     See 1 GAO, Principles of Federal
        Appropriations Law, at 2-54 (4th ed. 2016) (“Nor does
        organic legislation typically provide any form of an
        appropriation.”). That practical timing reality does
        not render such statutory payment obligations illusory
        or contingent on later appropriations.               All
        stakeholders so agreed here: the statute created a risk-
        sharing program health insurance providers could
        count on regardless of a later congressional
        appropriation.9
                 C.   The      Government          Reaped
                       Substantial Benefits At The Expense
                       Of Health Plans From Its Broken
                       Promise On Risk Corridors.
             The bargain that health insurance providers had
        accepted—participating in the exchanges with the
        understanding that if they set premiums too low, there

             9  Tellingly, when HHS announced the prorated payment
        amounts for 2014, it stated that it was “recording those amounts
        that remain unpaid … as … obligation[s] of the United States
        Government for which full payment is required.” Ctrs. for
        Medicare & Medicaid Servs., Risk Corridors Payments for the
        2014 Benefit Year (Nov. 19, 2015). The agency could record such
        obligations without violating the Antideficiency Act only by
        determining that the statute mandates payment regardless of
        available appropriations. See 2 GAO, Principles of Federal
        Appropriations Law, 6-91 (3d ed. 2006) (Congress “may implicitly
        authorize an agency” to “obligate in excess of the amounts
        appropriated … by virtue of a law that necessarily requires such
        obligations.”).
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        would be a federal backstop for part of their losses—
        still left much risk on their shoulders. For its part, the
        government received a substantial benefit in the form
        of lower premiums—and therefore reduced payments
        for premium subsidies—in exchange for agreeing to
        cover just part of the losses for some providers. The
        Court should not endorse a rule that allows the
        government to keep the sweet while dodging the
        bitter.
             The statute sets forth a formula for determining
        when the government “shall pay” money to a health
        insurance provider, and how much.           42 U.S.C.
        § 18062(b)(1). The calculation is based on the ratio of
        the “target amount”—generally, premiums net of
        administrative costs—to “allowable costs”—generally,
        the cost of providing benefits. Id.
             Any health plan that suffered losses of 3% or
        less—i.e., in statutory terminology, its “allowable
        costs” were 103% or less of its “target amount”—bore
        the entirety of its loss, without any reimbursement by
        the government. Likewise, all plans—even those
        entitled to receive a risk corridors reimbursement—
        were required to cover that 3% loss in full. 42 U.S.C.
        § 18062(b)(1).
              Any plan that suffered more than a 3% loss was
        entitled to government reimbursement for a portion of
        the loss exceeding 3%. Specifically, the government
        was required to reimburse plans 50% of any loss
        falling between 3% and 8%. 42 U.S.C. § 18062(b)(1)(A).
        And the government was required to reimburse plans
        80% of any losses exceeding 8%. Id. § 18062(b)(1)(B).
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                                     16

        The figure below graphically depicts the statutory
        formula:




        Am. Acad. of Actuaries, Fact Sheet: ACA Risk-Sharing
        Mechanisms at 2 (2013).10
             To illustrate, imagine a health plan that collects
        $100 million in premium revenue, net of
        administrative costs, and pays out $110 million to
        cover health care for its enrollees. Under the statute,
        the government promised to reimburse the plan for
        $4.1 million of its $10 million loss, reducing its 10%
        loss to a 5.9% loss.11 As this example shows, a plan
        incurring a loss that triggers the highest

             10  Available   at  https://www.actuary.org/files/ACA_
        Risk_Share_Fact_Sheet_FINAL120413.pdf.
             11  The $4.1 million payment equals 50% of the amount
        representing the loss between 3% and 8% (50% of $5 million, or
        $2.5 million), plus 80% of the loss exceeding 8% (80% of $2
        million, or $1.6 million).
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        reimbursement rate would still often bear the majority
        of the loss—even if the government had satisfied its
        risk corridors obligations in full. And, by definition,
        any plan with an 8% loss or less would bear well more
        than half of the loss on its own.
              Conversely, by requiring health plans to pay the
        government an equivalent share of the amount of
        premium revenues exceeding allowable costs, the
        statute limited their upside return in situations where
        premiums exceeded costs. Needless to say, while
        failing to meet its own obligations, the government has
        held health plans to theirs, requiring payment of the
        mandated amounts in full. See Pet. App. 13-14.
             As discussed above, the stated purpose of this
        (limited) sharing of risk between health plans and the
        government was to induce insurance providers to set
        lower premiums. 78 Fed. Reg. at 15,413 (stating that
        the risk corridors program permits “issuers to lower
        rates by not adding a risk premium to account for
        perceived uncertainties in the 2014 through 2016
        markets”). Throughout the life of the program, the
        government stressed the link between its commitment
        to make payments and lower premiums. In the
        summer of 2015, for example, the government recited
        that the ACA “requires the Secretary to make full
        payments to issuers” when it urged state regulators to
        hold the line against premium increases and to take
        risk corridor “payments … into account before
        decisions are made on final rates” for 2016. Letter
        from Kevin J. Counihan, Ctrs. for Medicare &
        Medicaid Servs., to Insurance Commissioners (July
        21, 2015).
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             Taking the government at its word (backed by the
        statute and precedent), health insurance providers
        delivered lower premiums that benefitted consumers
        and the government alike. At the outset of the new
        exchanges, health insurance providers set premiums
        at competitive levels that were ultimately lower than
        expected. Laura Skopec et al., Dep’t of Health &
        Human Servs., Market Competition Works: Silver
        Premiums in the 2014 Individual Market Are
        Substantially Lower than Expected, at 1-2 (Aug. 9,
        2013).12 Premiums in the exchange marketplace later
        increased significantly—by 37% from 2015 to 2017,
        the first year after the end of the program—with the
        sunset of the program often cited as a major factor
        (particularly for 2017). See Daniel W. Sacks et al., The
        Effect of the Risk Corridors Program on Marketplace
        Premiums and Participation, at 36 (Nat’l Bureau of
        Econ. Research, Working Paper No. 24129, 2017,
        revised 2019);13 Aaron S. Wright et al., Milliman, Ten
        potential drivers of ACA premium rates in 2017, at 4
        (Dec. 2015).14 An NBER paper found that premiums
        would likely have increased by only 10% over that
        period if the risk corridor program had been in place
        and allowed to operate as intended under the statute.
        Sacks, supra, at 36.
            These lower premiums directly reduced the
        amounts the government was required to pay in

             12Available at https://aspe.hhs.gov/system/files/pdf/76701/
        ib_premiums_update.pdf.
             13   Available at https://www.nber.org/papers/w24129.
             14  Available at http://www.milliman.com/uploadedFiles/
        insight/2015/2140HDP_20160107.pdf.
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                                     19

        premium tax credits, which are tied to the amount of
        premiums. See 26 U.S.C. § 36B. More than 85% of
        people who obtained health insurance on the
        exchanges received a premium tax credit in 2014, with
        similar percentages in subsequent years. See CMS,
        Quarterly Marketplace Effectuated Enrollment
        Snapshots by State, December 2014 Effectuated
        Tables; id. December 2015 Effectuated Tables (84%).15
        The lower premiums saved the government billions in
        reduced tax credits from 2014 to 2016. Lower
        premiums also encouraged more individuals who did
        not qualify for premium tax credits to sign up for
        coverage on the exchanges; that, in turn, increased the
        pool of participants and allowed them to obtain greater
        coverage at lower cost.
             The Court should not adopt a rule that allows the
        government to reap the benefits of its bargain while
        repudiating billions of dollars of unambiguous
        obligations based on unclear language in an
        appropriations bill—or, worse yet, in legislative
        history accompanying that bill. That is untenable
        both as a matter of law and basic fairness.
                  D.   Permitting The Government To
                        Renege On Its Clear Statutory
                        Obligations Would Harm Public-
                        Private Health Care Partnerships.
             Allowing the sort of maneuver the government
        undertook here will inject uncertainty into other vital
        health care programs. There are few industries in

             15 Available at https://www.cms.gov/Research-Statistics-
        Data-and-Systems/Statistics-Trends-and-Reports/Marketplace-
        Products/Effectuated_Quarterly_Snapshots.html.
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        which the government acting as a reliable business
        partner matters more than health care. Aside from a
        few specialized examples (such as military treatment
        facilities), the federal government rarely delivers
        health care services itself. Instead, the government
        relies heavily on public-private partnerships to do so.
        Of the $982 billion spent by the federal government on
        health care in 2017, more than $764 billion (78%)
        involved services delivered through partnerships with
        doctors, hospitals, insurance providers, and other non-
        federal entities through programs such as Medicare,
        Medicaid, and the ACA health insurance exchanges.16
             Health insurance providers are essential and
        reliable partners in public programs offering coverage
        to nearly 100 million Americans. For instance, the
        Medicare Advantage program serves more than 22
        million Medicare beneficiaries—one in three—
        through private health plans that partner with the
        federal government. See CMS, Medicare Advantage,
        Cost, PACE, Demo and Prescription Drug Plan
        Contract Report, Monthly Summary Report (Aug.



               16 See CMS, National Health Expenditure Data, Table 05-3

        &     n.2,     https://www.cms.gov/Research-Statistics-Data-and-
        Systems/Statistics-Trends-and-Reports/NationalHealthExpend
        Data/NationalHealthAccountsHistorical.html. The table reports
        $217.7 billion of spending on “Other Federal Health Insurance
        and Programs” that covers some additional private partnerships
        (like the Children’s Health Insurance Program), but also some
        health care services delivered directly by the government (such
        as some Department of Defense and Department of Veterans
        Affairs expenditures). Id.
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        2019); 17 Gretchen Jacobson et al., Kaiser Family
        Found., A Dozen Facts about Medicare Advantage,
        Nov. 13, 2018.18
             Similarly, nearly 46 million people are enrolled in
        Medicare Part D coverage, a voluntary prescription
        drug benefit for Medicare beneficiaries that is
        provided through private health insurance plans
        approved by the federal government. CMS, Monthly
        Summary Report, supra. That number includes over
        25 million individuals enrolled in stand-alone
        prescription drug plans and more than 19 million
        individuals enrolled in drug benefit coverage through
        a Medicare Advantage plan. Id.
             In addition, states and private Medicaid health
        plans depend on the federal government’s Medicaid
        funding commitments to provide coverage to almost 55
        million Medicaid beneficiaries.       CMS, Medicaid
        Managed      Care     Enrollment      and    Program
        Characteristics, 2016, at 5 (2018).19 For example, in
        2016, 38 states utilized Medicaid managed care
        arrangements for at least some portion of their
        Medicaid programs, and 21 of those states saw at least


             17 Available at https://www.cms.gov/Research-Statistics-

        Data-and-Systems/Statistics-Trends-and-Reports/
        MCRAdvPartDEnrolData/Monthly-Contract-and-Enrollment-
        Summary-Report-Items/Contract-Summary-2019-08.html.
               18  Available    at   https://www.kff.org/medicare/issue-
        brief/a-dozen-facts-about-medicare-advantage/.
              19   Available   at   https://www.medicaid.gov/medicaid/
        managed-care/downloads/enrollment/2016-medicaid-managed-
        care-enrollment-report.pdf.
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                                      22

        75% of their Medicaid populations enrolled in
        managed care organizations. MACPAC, MACStats:
        Medicaid & CHIP Data Book, Ex. 29 (2018).20
             Finally, over 10 million Americans           enrolled in
        health plans offered on ACA exchanges             in 2019, of
        which over 9 million received subsidies.           See Kaiser
        Family Found., Marketplace Effectuated            Enrollment
        and Financial Assistance (2019).21
              Permitting the government to repudiate its
        obligations even after health insurance providers did
        what was asked of them imperils these sorts of health
        care partnerships. If the federal government can walk
        away from statutory obligations made to encourage
        private sector participation in new programs, at least
        without repealing those obligations openly and clearly,
        partnering with the federal government becomes a
        venture fraught with intolerable risk. And then
        everyone—the government, private partners, and
        citizens alike—loses.




             20   Available at https://www.macpac.gov/wp-content/
        uploads/2018/05/EXHIBIT-29.-Percentage-of-Medicaid-Enrollees
        -in-Managed-Care-by-State-July-1-2016.pdf.
             21      Available    at    https://www.kff.org/other/state-
        indicator/effectuated-marketplace-enrollment-and-financial-
        assistance/.
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                          CONCLUSION
            This Court should reverse the judgment of the
        Federal Circuit.


                                     Respectfully submitted.


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          Ruthanne M. Deutsch
          DEUTSCH HUNT PLLC

         September 6, 2019
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                                   No. 2017-1224
                                        In the
         United States Court of Appeals
                             for the Federal Circuit

LAND OF LINCOLN MUTUAL HEALTH INSURANCE COMPANY, an Illinois
              Non-Profit Mutual Insurance Corporation,

                                                                      Plaintiff-Appellant,

                                           v.

                                   UNITED STATES,

                                                                     Defendant-Appellee.

                  _______________________________________
                               Appeal from the United States
                   Court of Federal Claims, Case No. 1:16-cv-00744-CFL.
                    The Honorable Charles F. Lettow, Judge Presiding.


 CORRECTED BRIEF OF AMICUS CURIAE KATE BUNDORF, SCOTT
  HARRINGTON, MARK PAULY, MICHAEL CHERNEW, THOMAS
MCGUIRE, LEEMORE DAFNY, AND KOSALI SIMON IN SUPPORT OF
 PLAINTIFF-APPELLANT’S PETITION FOR REHEARING EN BANC


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FORM 9. Certificate of Interest                                                                          Form 9
                                                                                                       Rev. 10/17
          UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
            Land of Lincoln Mutual Health Insurance Company
                                                              v.   United States of America
                                           Case No.    17-1224
                                      CERTIFICATE OF INTEREST

Counsel for the:
  (petitioner) (appellant)           (respondent)        (appellee)     (amicus)     (name of party)


Kate Bundorf, Scott Harrington, Mark Pauly, Michael Chernew, Thomas McGuire, Leemore Dafny, Kosali Simon
certifies the following (use “None” if applicable; use extra sheets if necessary):

                                         2. Name of Real Party in interest         3. Parent corporations and
       1. Full Name of Party            (Please only include any real party         publicly held companies
        Represented by me                   in interest NOT identified in           that own 10% or more of
                                         Question 3) represented by me is:              stock in the party
         Kate Bundorf                                   N/A                                 None
       Scott Harrington                                  N/A                                None
          Mark Pauly                                     N/A                                None
       Michael Chernew                                   N/A                                None
       Thomas McGuire                                    N/A                                None
       Leemore S. Dafny                                  N/A                                None
         Kosali Simon                                    N/A                                None
4. The names of all law firms and the partners or associates that appeared for the party or amicus now
represented by me in the trial court or agency or are expected to appear in this court (and who have not
or will not enter an appearance in this case) are:
None
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FORM 9. Certificate of Interest                                                                        Form 9
                                                                                                     Rev. 10/17

5. The title and number of any case known to counsel to be pending in this or any other court or agency
that will directly affect or be directly affected by this court’s decision in the pending appeal. See Fed. Cir.
R. 47. 4(a)(5) and 47.5(b). (The parties should attach continuation pages as necessary).

See Attachment A.




               8/13/2018                                    /s Stephen A. Swedlow
                         Date                                      Signature of counsel

Please Note: All questions must be answered
                                                            Stephen A. Swedlow
                                                                   Printed name of counsel

cc:


                                                 Reset Fields
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                               Attachment A
Federal Circuit

   Blue Cross and Blue Shield of North Carolina v. United States, No. 17-2154

   Maine Cmty. Health Options v. United States, No. 17-2395

   Moda Health Plan, Inc. v. United States, No. 17-1994

Court of Federal Claims

   Alliant Health Plans, Inc. v. United States, No. 16-1491C (Braden, J.)

   BCBSM, Inc. v. United States, No. 16-1253C (Coster Williams, J.)

   Blue Cross and Blue Shield of Alabama v. United States, No. 17-347C
   (Campbell-Smith, J.)

   Blue Cross and Blue Shield of Kanas City v. United States, No. 17-95C
   (Braden, J.)

   Blue Cross Blue Shield of Tennessee v. United States, No. 17-348C (Horn,
   J.)

   Blue Cross of Idaho Health Service, Inc. v. United States, No. 16-1384C
   (Lettow, J.)

   Common Ground Healthcare Cooperative v. United States, No. 17-877C
   (Sweeney, J.)

   EmblemHealth, Inc. v. United States, No. 17-703C (Wheeler, J.)

   Farmer v. United States, No. 17-363C (Campbell-Smith, J.)

   First Priority Life Ins. Co. v. United States, No. 16-587C (Wolski, J.)

   Health Alliance Medical Plans, Inc. v. United States, No. 17-653C
   (Campbell-Smith, J.)

   Health Net, Inc. v. United States, No. 16-1722C (Wolski, J.)

   Health Republic Ins. Co. v. United States, No. 16-259C (Sweeney, J.)

   HPHC Ins. Co., Inc. v. United States, No. 17-87C (Griggsby, J.)
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Medica Health Plans v. United States, No. 17-94C (Horn, J.)

Minuteman Health Inc. v. United States, No. 16-1418C (Griggsby, J.)

Molina Healthcare v. United States, No. 17-97C (Wheeler, J.)

Montana Health CO-OP v. United States, No. 16-1427C (Wolski, J.)

Neighborhood Health Plan, Inc. v. United States, No. 16-1659C (Smith, J.)

New Mexico Health Connections v. United States, No. 16-1199C (Bruggink,
J.)

Ommen v. United States, No. 17-712C (Lettow, J.)

Sanford Health Plan v. United States, No. 17-357C (Bruggink, J.)
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                               INTEREST OF AMICI1

      Amici are distinguished economists and professors of health policy,

economics, and management.2 They occupy prominent positions at preeminent

universities and institutions, and are widely recognized as academic experts in

health policy and, in particular, the study of regulated health insurance markets.

They have no personal stake in the outcome of this case, but have an interest in

assisting this Court in understanding the problems that finding for the Government

in this case will create for the Government’s future ability to incentivize private

actors to achieve policy objectives.

                        SUMMARY OF THE ARGUMENT

      Regardless of one’s views of the Affordable Care Act (“ACA”) and the

many reforms it brought to the healthcare industry, the Government clearly sought

to create new health insurance markets and to incentivize private firms to provide

coverage to consumers within those markets. The use of incentives to influence

the behavior of private firms and individuals is one of the Government’s most

powerful tools for achieving policy objectives. The Government influences


1
   Pursuant to Fed. R. App. P. 29, counsel for amici represents that counsel and amici
authored this brief in its entirety and that none of the parties or their counsel, nor any
other person or entity other than amici or its counsel, made a monetary contribution
intended to fund the preparation or submission of this brief. Pursuant to Fed. R.
App. P. 29 and Fed. Cir. R. 29(c), all parties have consented to the filing of this brief.
Pursuant to Fed. Cir. R. 35(g), amici have filed a motion for leave to file this brief.
2
   A list of amici curiae is attached as Appendix A.

                                            1
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behavior through the use of incentives in a wide variety of markets and for a wide

variety of purposes, such as encouraging farmers to plant certain types of crops,

convincing young men and women to join the military, and, as here, encouraging

businesses to participate in markets. The ways in which the Government creates

the incentives for such private action vary, but they include (among others) risk

mitigation programs and financial subsidies.

      The key, however, to the Government’s ability to incentivize private actors

to achieve the goals of policymakers is the ability of those actors to rely on the

Government’s promises. If, as happened here, the Government induces private

parties to enter and/or more fully participate in a market using financial incentives,

but then chooses not to make the payments it promised, then the Government will

weaken its ability to influence the behavior of private actors in the same or

different markets in the future. To ensure its ability to promote and preserve well-

functioning markets, it is thus critical that the Government make good on payments

promised in situations like the ACA’s risk corridor program, or else it will

significantly compromise its ability to influence the behavior of firms. We believe

this is a non-partisan issue, as ensuring the credibility of governmental promises

vis a vis financial incentives bolsters the ability of any party to impact markets and

related behavior of various stakeholders.




                                            2
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                                   ARGUMENT

I.    Private Firms Make Decisions by Assessing the Costs and Benefits of
      Their Actions

      Private firms and individuals make decisions by assessing the benefits and

costs of potential alternatives, generally choosing the course of action which

maximizes their individual welfare. Private firms usually seek to maximize their

economic value, which depends on the expected magnitude and risk of future cash

flows. Risk that cannot be transferred to other entities or diversified away within

the firm represents a significant cost to many firms of engaging in productive

activity. This is especially true for insurance firms, which receive an upfront

payment, usually referred to as a premium, in exchange for covering a consumer’s

future health care expenditures for a given period of time. Firms facing greater

uncertainty in claim costs require greater amounts of capital to back their promises

to pay future claims, raising capital costs and increasing premiums.

II.   One of the Government’s Primary Tools for Achieving Policy
      Objectives is to Influence Firm Behavior Through the Use of Financial
      Incentives

      From an economic perspective, two of the key functions of government are

to set the rules that allow markets to work and to intervene when markets do not

function well. While policy makers and economists may disagree over the merits

of particular policies or whether government intervention is desirable in particular

situations, there is broad consensus that an essential economic role of government


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is to influence the behavior of private parties when market outcomes are likely to

be inefficient. For decades, the Government has used private citizens’ rational

self-interest to help spur action to achieve its policy objectives. For example, there

is a long history of the Government using subsidies, price supports, and crop

insurance to support various types of agricultural production. These programs

shape private action by both reducing the risks and increasing the benefits

associated with such production. Other examples of the numerous ways that the

Government has created incentives for private actors, include, among many others,

the use of emission reduction credits and cap-and-trade programs to promote more

environmentally-friendly technologies; federal excise taxes on tobacco products to

reduce smoking; federal tax credits to promote the adoption of electric vehicles;

and financial awards to relators (i.e., “whistleblowers”) in successful False Claims

Act cases.3 In each of these cases, the Government uses financial incentives to

influence the behavior of individuals or firms by altering the benefits and costs of

alternative courses of actions.



3
 See https://www.epa.gov/environmental-economics/economic-incentives#permit
(EPA cap and trade/credits); https://www.ttb.gov/main_pages/schip-
summary.shtml (federal excise tax);
https://www.energy.gov/eere/electricvehicles/electric-vehicles-tax-credits-and-
other-incentives (electric vehicle tax credits);
https://www.justice.gov/sites/default/files/civil/legacy/
2011/04/22/C-FRAUDS_FCA_Primer.pdf (False Claims Act relator financial
awards)

                                          4
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        While the Government intervenes throughout the economy in many different

ways, the ability of the Government to use these types of incentives is particularly

important in the context of health insurance markets. Health insurance markets

are highly regulated with regulations spanning a wide range of areas, including

financial (e.g., reserve requirements; medical loss ratio regulation) to customer

service (e.g., requirements for raising and resolving customer complaints) to access

(e.g., “network adequacy” rules). The ability of the Government to design and

implement regulation may help ensure that health insurance markets operate

effectively and that high risk and low-income consumers have access to coverage.

        The Government’s use of financial incentives in health insurance markets

has long predated the ACA. Focusing on the issue for this appeal, however, the

ACA’s risk corridors program helped shift the risk-benefit analysis for prospective

qualified health plan (“QHP”) issuers by reducing the risk of participation in the

ACA’s newly created health insurance exchanges.4 The program did so by

reducing the chance that QHP issuers would suffer outsized losses from

participating in the exchanges during their early years, when the health

characteristics and utilization of enrollees (and, thus, the issuers’ risk profile) were

still largely unknown. The lack of information on previously uninsured enrollees’

likely use of health care made it exceptionally difficult for insurers to determine


4
    See https://www.healthaffairs.org/do/10.1377/hblog20140514.038975/full/

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the level of premiums necessary to cover the costs of health care used by potential

enrollees. Significantly, the program also constrained profits in those early years,

so that insurers which happened to enroll people who were more healthy than

predicted would not receive windfalls. In other words, the program reduced the

risk to insurers of entering the new market by reducing the likelihood of both

excessive losses and profits due to unanticipated levels of medical costs. This

program had precedent in the context of the Medicare Part D prescription drug

program, in which the Government created similar incentives over a decade ago to

encourage private firms to participate in a newly created market for subsidized

insurance for prescription drugs for aged and disabled beneficiaries.

      By reducing the risk of participating in a newly created market, the

Government encouraged firms to enter a new market characterized by considerable

uncertainty in the risk profile of potential enrollees (and, thus, profitability). It is

also important to note that the risk corridors program was only one of a variety of

financial incentives created by the ACA intended to influence the behavior of both

firms and individuals. Other incentives included reinsurance, risk adjustment,

premium and cost-sharing subsidies, and the individual mandate. Taken together,

these policies created a complex set of financial incentives for insurers to navigate

as they evaluated the desirability of participating in the new market. While it was

unclear at the time that insurers chose whether to participate in the exchanges and



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set their premiums whether any given policy would have either its intended effects

or even create unintended negative consequences, it is clear that insurers had

strong incentives to consider how each of these policies would likely affect

demand for their products and their risk pool when making these decisions.

III.   The Government Damages its Ability to Use Financial Incentives to
       Achieve Policy Objectives by, After the Fact, Not Paying the Amounts it
       Promised

       A key requirement underlying the Government’s ability to create incentives

for private economic action is that the Government stand behind any financial

promises it makes to the actors whose behavior it wishes to affect. This is

particularly important when financial incentives are paid out only after the private

actor has committed to behaving in the way the Government prefers. In that

situation, the private actor takes actions and commits resources based on how the

incentives promised by the Government affect the benefits and costs of those

actions. If the Government does not honor those commitments, it has induced the

private actor to commit to a course of action based on inaccurate information

regarding the likely consequences.

       If the Government proves itself to be an unreliable counterparty, it creates a

clear disincentive in the future for private actors to participate in the Government’s

efforts to influence their behavior. Put differently, if the Government’s promises

to pay are unreliable and subject to “bait and switch” behavior—and private actors



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have limited ability to compel compliance with those promises, such as through

litigation like this—then the Government’s ability to achieve policy objectives

through incentivizing private action will be substantially undermined.

      This issue is not specific to the Affordable Care Act; it affects the more

general ability of the Government to incentivize private actors. If, as the

Government argues in this case, it can legally avoid its payment obligations to

private actors after it has already incentivized their market participation through

promises to make payments contingent upon particular outcomes, then it will

severely compromise its ability to use these types of incentives to achieve policy

objectives in the future. Such a result would remove one of the most powerful

tools the Government has to affect the nature and direction of the economy.

                                  CONCLUSION

      For the reasons discussed above, in order to preserve a sound system for

governments to use financial incentives to influence the actions of private parties –

particularly as it involves economic decisions, the Court should carefully consider

the adverse consequences of allowing the Government to fail to honor promises on

which private parties relied.




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Dated: August 13, 2018
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                                   Appendix A

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the word count limitation of Fed. Cir. R. 29(b)(4),

and contains 1,941 words, exclusive of the portions exempted by Fed. R. App. P.

32(f) and Fed. Cir. R. 32(b).

      The brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

and the type style requirements of Fed. R. App. P. 32(a)(6) because this brief has

been prepared in a proportionally-spaced typeface using Microsoft Word 2010 in

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                         CERTIFICATE OF SERVICE

      I, Rose E. Olejniczak, being duly sworn according to law and being over the

age of 18, upon my oath deposes and states that:

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Urquhart & Sullivan, LLP, Counsel for Amicus Curiae Kate Bundorf, Scott

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      On August 14, 2018, Mr. Swedlow authorized me to electronically file the

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August 14, 2018
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                 Nos. 18-1023, 18-1028, 18-1038

                            In the
     Supreme Court of the United States

Maine Community Health Options, Petitioner,
                       v.
         United States, Respondent.
             ––––––––––––––––––––––
   Moda Health Plan, Inc., et al., Petitioners,
                       v.
         United States, Respondent.
             ––––––––––––––––––––––
Land of Lincoln Mutual Health Insurance
  Company, an Illinois Nonprofit Mutual
     Insurance Corporation, Petitioner,
                       v.
         United States, Respondent.

         On Writs of Certiorari to the United States
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                     INTEREST OF AMICI CURIAE1
            Amici are distinguished economists and professors
        of health policy, economics, and management.2 They
        occupy     prominent     positions    at   preeminent
        universities and institutions, and are widely
        recognized as academic experts in health policy and,
        in particular, the study of regulated health insurance
        markets. They have no personal stake in the outcome
        of this case, but have an interest in assisting this
        Court in understanding the problems that allowing
        the decision below to stand would create for the
        government’s future ability to incentivize private
        actors to achieve policy objectives.
                       SUMMARY OF ARGUMENT
            Regardless of one’s views of the Affordable Care
        Act (“ACA”) and the many reforms it brought to the
        healthcare industry, the government clearly sought
        through the statute to create new health insurance
        markets and to incentivize private firms to provide
        coverage to consumers within those markets. The use
        of incentives to influence the behavior of private firms
        and individuals is one of the government’s most
        powerful tools for achieving policy objectives. The
        government influences behavior through the use of
        incentives in a wide variety of markets and for a wide
        variety of purposes, such as encouraging farmers to

            1 Pursuant to Supreme Court Rule 37.6, amici state that no
        counsel for a party authored this brief in whole or in part, and no
        one other than amici or their counsel made a monetary
        contribution intended to fund the preparation or submission of
        this brief. All parties have consented in writing to the filing of
        this brief.
            2   A list of amici curiae is attached as Appendix A.
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                                       2


        plant certain types of crops, convincing young men
        and women to join the military, and, as here,
        encouraging businesses to participate in markets.
        The ways in which the government creates the
        incentives for such private action vary, but they
        include (among others) risk mitigation programs and
        financial subsidies.3
            The key to the government’s ability to incentivize
        private actors to achieve the goals of policymakers,
        however, is the ability of those actors to rely on the
        government’s promises. If, as the decision below
        permits, the government can use financial incentives
        to induce private parties to enter and/or more fully
        participate in a market, but then turn around and not
        make the payments it promised, the government’s
        ability to influence the behavior of private actors in
        the same and even different markets in the future will
        be diminished.       As Judge Newman explained
        succinctly in dissent below, “the government’s ability
        to benefit from participation of private enterprise
        depends on the government’s reputation as a fair
        partner” but the majority’s decision “undermines the
        reliability of dealings with the government.” Moda
        Health Plan, Inc. v. United States, 892 F.3d 1311,
        1340 (Fed. Cir. 2018) (Newman, J., dissenting).


           3  For example, expansions of publicly financed insurance for
        low-income, high-cost adults can alleviate problems of adverse
        selection in private insurance markets by removing high risk
        consumers from the insurance pool. Jeffrey Clemens, Regulatory
        Redistribution in the Market for Health Insurance, 7(2) American
        Economic Journal: Applied Economics. 109-134 (2015) and John
        F. Cogan, R. Glenn Hubbard and Daniel P. Kessler, The effect of
        Medicare coverage for the disabled on the market for private
        insurance, 29(3) J. Health Econ. 418-25 (2010).
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            To ensure the government’s ability to promote and
        preserve well-functioning markets, it is thus critical
        that it make good on payments promised in situations
        like the ACA’s risk corridor program, lest it
        significantly compromise its ability to influence the
        behavior of firms. This is not only a highly important
        issue, but also a non-partisan one, as ensuring the
        credibility of governmental promises bolsters the
        ability of policymakers across the board to impact
        markets and related behavior of various stakeholders.
                            ARGUMENT
        I.    Private Firms Make Decisions by
              Assessing the Costs and Benefits of Their
              Actions
           Private firms make decisions by assessing the
        benefits and costs of potential alternatives, generally
        choosing the course of action which maximizes their
        economic value. That value depends on anticipated
        amounts and timing of future cash flows (revenues
        and expenditures). Very importantly, economic value
        also depends on the degree of risk (uncertainty)
        associated with future cash flows and the costs
        incurred in managing risk. This is especially relevant
        for insurance firms, which receive an upfront
        payment, usually referred to as a premium, in
        exchange for covering a consumer’s future health care
        expenditures for a given period of time. Insurance
        firms facing greater uncertainty in claim costs require
        greater amounts of capital to back their promises to
        pay future claims, raising capital costs and increasing
        premiums needed to provide coverage.
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        II.    One of the Government’s Primary Tools
               for Achieving Policy Objectives is to
               Influence Firm Behavior Through the Use
               of Financial Incentives
           From an economic perspective, two of the key
        functions of government are to set the rules that allow
        markets to work and to intervene when markets do
        not function well.       While policy makers and
        economists may disagree over the merits of particular
        policies or whether government intervention is
        desirable in particular situations, there is broad
        consensus that an essential economic role of
        government is to influence the behavior of private
        parties when market outcomes are likely to be
        inefficient. For decades, the government has used
        private citizens’ rational self-interest to help spur
        action to achieve its policy objectives. For example,
        there is a long history of the government using
        subsidies, price supports, and crop insurance to
        support various types of agricultural production.
        These programs shape private action by both reducing
        the risks and increasing the benefits associated with
        such production. Other examples of the numerous
        ways that the government has created incentives for
        private actors, include, among many others, the
        deductibility of mortgage interest to encourage people
        to purchase homes; the use of emission reduction
        credits and cap-and-trade programs to promote more
        environmentally-friendly technologies; federal excise
        taxes on tobacco products to reduce smoking; federal
        tax credits to promote the adoption of electric vehicles;
        and      financial   awards      to    relators     (i.e.,
        “whistleblowers”) in successful False Claims Act
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        cases.4 In each of these cases, the government uses
        financial incentives to influence the behavior of
        individuals or firms by altering the benefits and costs
        of alternatives.
            The government’s use of these types of
        mechanisms is particularly well established and
        important in the context of health insurance markets.
        The incentive at issue in this case – the risk corridors
        program – was designed to accomplish a
        straightforward and significant goal: to encourage
        insurers to participate in the new health insurance
        marketplaces by offering insurance products to a new
        population with highly uncertain prospects. The
        program did so by reducing the chance that
        prospective qualified health plan (“QHP”) issuers
        would suffer outsized losses from participating in the
        ACA’s newly expanded individual health insurance
        markets when the health characteristics and
        utilization of enrollees (and, thus, the issuers’ risk




            4   See U.S. ENVTL. PROT. AGENCY, Economic Incentives,
        https://www.epa.gov/environmental-economics/economic-
        incentives#permit (EPA cap and trade/credits); U.S. DEP’T OF
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        financial awards).
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                                       6


        profile) were still largely unknown.5 The lack of
        information on previously uninsured enrollees’ likely
        use of health care made it exceptionally difficult for
        insurers to determine the level of premiums necessary
        to cover the costs of health care used by potential
        enrollees. Significantly, the program also constrained
        profits in those early years, so that insurers which
        happened to enroll people who were healthier than
        predicted would not receive windfalls. In other words,
        the program reduced the risk to insurers of entering
        the new market by reducing the likelihood of both
        excessive losses and profits due to unanticipated
        levels of medical costs.6 This program had precedent
        in the context of the Medicare Part D prescription
        drug program, in which the government created
        similar incentives over a decade ago to encourage
        private firms to participate in a newly created market
        for subsidized insurance for prescription drugs for
        aged and disabled beneficiaries.
           By reducing the risk of participating in a newly
        created market, the government encouraged firms to
        enter a new market characterized by considerable
        uncertainty in the risk profile of potential enrollees
        (and, thus, profitability). The risk corridors program
        was only one of a variety of financial incentives
        created by the ACA intended to influence the behavior

           5     See Scott Harrington, Risk Corridors and Budget
        Neutrality,    HEALTH       AFFAIRS     (May     14,    2014),
        https://www.healthaffairs.org/do/10.1377/hblog20140514.03897
        5/full/.
           6    Using simulation analysis, Layton et al. (2016)
        demonstrate how risk corridors reduce the risk facing an insurer.
        Timothy J. Layton, et al., Risk Corridors and Reinsurance in
        Health Insurance Marketplaces, 2(1) Am. J. Health Econ. 66-95
        (2016).
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                                     7


        of both firms and individuals. Other incentives
        included reinsurance, risk adjustment, premium and
        cost-sharing subsidies, and the individual mandate.
        Taken together, these policies created a complex set of
        financial incentives for insurers to navigate as they
        evaluated the desirability of participating in the new
        market. While at the time insurers chose whether to
        participate in the exchanges and set their premiums
        it was unclear whether any given policy would have
        either its intended effects or even create unintended
        negative consequences, it is indisputable that, when
        making these decisions, insurers had every reason to
        take into account how each of these policies would
        likely affect demand for their products and their risk
        pool. Research demonstrates that insurers did
        respond to the incentives created by the risk corridor
        program in particular when setting premiums.7
        III.   The Government Undermines its Ability
               to Use Financial Incentives to Achieve
               Policy Objectives by, After the Fact, Not
               Paying the Amounts it Promised
           The government’s ability to create incentives for
        private economic action hinges on expectations that
        the government will stand behind any financial
        promises it makes to the actors whose behavior it
        wishes to affect. This is particularly important when
        financial incentives are paid out only after the private
        actor has committed to behaving in the way the

           7    Daniel W. Sacks, Khoa Vu, Tsan-Yao Huang and Pinar
        Karaca-Mandic, How Do Insurance Firms Respond to Financial
        Risk Sharing Regulations? Evidence from the Affordable Care
        Act,    NBER    Working     Paper   w24129     (July   2019),
        https://www.nber.org/papers/w24129.pdf (last visited Aug. 28,
        2019).
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                                  8


        government prefers. In that situation, the private
        actor takes actions and commits resources based on
        how the incentives promised by the government affect
        the benefits and costs of those actions. If the
        government fails to honor those commitments, it has
        induced the private actor to commit to a course of
        action based on inaccurate information.
            If the government proves itself to be an unreliable
        counterparty, it creates a clear disincentive in the
        future for private actors to modify their behavior
        based on government assurances. Put differently, if
        the government’s promises to pay are unreliable and
        subject to “bait and switch” behavior—and private
        actors have limited ability to compel compliance with
        those promises, such as through litigation like this—
        then the government’s ability to achieve policy
        objectives through incentivizing private action will be
        substantially undermined.
            This issue is not specific to the Affordable Care
        Act; it affects the more general ability of the
        government to incentivize private actors. As Judge
        Wallach recognized in his dissent to the denial of the
        petition for rehearing en banc, “[t]he majority’s
        holding casts doubt on the Government’s continued
        reliability as a business partner in all sectors.” Moda
        Health Plan, Inc. v. United States, 908 F.3d 738, 747
        (Fed. Cir. 2018) (Wallach, J., dissenting) (emphasis
        added). If, as the decision below held, the government
        can legally avoid its payment obligations to private
        actors after it has already incentivized their market
        participation through promises to make payments
        contingent upon particular outcomes, then it will
        severely compromise its ability to use these types of
        incentives to achieve policy objectives in the future.
        Such a result would remove one of the most powerful
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                                   9


        tools the government has to affect the nature and
        direction of the economy.
                           CONCLUSION
            For the reasons discussed above, in order to
        preserve a sound system for governments to use
        financial incentives to influence the actions of private
        parties – particularly as it involves economic
        decisions, the Court should reverse the judgment of
        the court of appeals, to make clear that the
        government should not be permitted to disavow
        promises on which private parties relied.



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         APPENDIX
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                                   1a


                             Appendix A

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